    Case 1:10-cv-01469-JDB             Document 3-2         Filed 08/30/10       Page 1 of 153




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


NASSER AL-AULAQI,

                Plaintiff,

        v.                                               No. 10-cv-______

BARACK H. OBAMA, et al.,

                Defendants.


                               DECLARATION OF BEN WIZNER

        I, Ben Wizner, under penalty of perjury declare as follows:

        1.      I represent Plaintiff Nasser al-Aulaqi in this action concerning the executive’s

asserted authority to carry out, far from any field of armed conflict, “targeted killings” of U.S.

citizens suspected of terrorism and, in particular, of Plaintiff’s son Anwar al-Aulaqi.

        2.      I submit this declaration in support of Plaintiff’s motion for a preliminary

injunction. The purpose of this declaration is to bring to the Court’s attention official

government disclosures, as well as information in the public domain, about the government’s

targeted killing policy, its specific standing authorization to kill Plaintiff’s son, and related

matters.

                             The United States’ Targeted Killing Policy

        3.      Since 2001 the United States has carried out many targeted killings outside of the

armed conflicts in Afghanistan and Iraq. The first reported targeted killing by the U.S.

government outside of the context of armed conflict occurred in Yemen in November 2002 and

was conducted by the CIA using a Predator drone. Among those killed was a U.S. citizen

wanted in connection with a terrorism investigation and prosecution in Buffalo, New York.
Case 1:10-cv-01469-JDB          Document 3-2        Filed 08/30/10      Page 2 of 153




          a.     Attached hereto as Exhibit A is a true and correct copy of David Johnston

  & David E. Sanger, Fatal Strike in Yemen Was Based on Rules Set Out by Bush, N.Y.

  Times, Nov. 6, 2002 (quoting several government officials acknowledging and defending

  the CIA’s targeted killing in Yemen and describing the strike as being “carried out under

  broad authority that President Bush has given the C.I.A. over the past year to pursue the

  terror network well beyond the borders of Afghanistan.”).

          b.     Attached hereto as Exhibit B is a true and correct copy of Michael Powell

  & Dana Priest, Officials: American Killed in Yemen Led New York Cell, Wash. Post,

  Nov. 10, 2002 (“The U.S. citizen killed by a missile launched from a drone aircraft over

  Yemen was the ringleader of an alleged terrorist sleeper cell in Lackawanna, N.Y.,

  administration officials said Friday.”).

          c.     Attached hereto as Exhibit C is a true and correct copy of Howard Witt,

  U.S.: Killing of al Qaeda Suspects Was Lawful, Chi. Trib., Nov. 24, 2002 (describing

  concerns about legality of 2002 targeted killing in Yemen that killed U.S. citizen, and

  quoting then-National Security Advisor Condoleezza Rice and then-Secretary of State

  Colin Powell defending the strike).

          d.     Attached hereto as Exhibit D is a true and correct copy of the relevant

  portions of Special Rapporteur on Extrajudicial, Summary, or Arbitrary Executions,

  Report of the Special Rapporteur, ¶¶ 37-39, delivered to the Commission on Human

  Rights, U.N. Doc. E/CN.4/2003/3 (Jan. 13, 2003) (“The Special Rapporteur is extremely

  concerned that should the information received be accurate, an alarming precedent might

  have been set for extrajudicial execution by consent of Government. . . . In the opinion of

  the Special Rapporteur, the attack in Yemen constitutes a clear case of extrajudicial

  killing.”)
                                             2
    Case 1:10-cv-01469-JDB            Document 3-2         Filed 08/30/10       Page 3 of 153




       4.      The Central Intelligence Agency (“CIA”) and the armed forces’ Joint Special

Operations Command (“JSOC”) both conduct targeted killings and maintain separate lists of

individuals who can be targeted and killed.

               a.      Attached hereto as Exhibit E is a true and correct copy of Greg Miller,

       From Memo to Missile: The CIA’s Hit List, L.A. Times, Jan. 31, 2010 (describing in

       detail the procedures surrounding the CIA’s targeting killing list and adding that “[t]he

       U.S. military, which has expanded its presence in Yemen, keeps a separate list of

       individuals to capture or kill.”).

               b.      Attached hereto as Exhibit F is a true and correct copy of Dana Priest, U.S.

       Military Teams, Intelligence Deeply Involved in Aiding Yemen on Strikes, Wash. Post,

       Jan. 27, 2010 (“Both the CIA and the JSOC maintain lists of individuals, called ‘High

       Value Targets’ and ‘High Value Individuals,’ whom they seek to kill or capture.”).

               c.      Attached hereto as Exhibit G is a true and correct copy of Ellen

       Nakashima, Intelligence Chief Acknowledges U.S. May Target Americans Involved in

       Terrorism, Wash. Post., Feb. 4, 2010 (quoting then-Director of National Intelligence

       Dennis Blair, testifying before the House Intelligence Committee: “We take direct action

       against terrorists in the intelligence community.”).

               d.      Attached hereto as Exhibit H is a true and correct copy of Scott Shane,

       U.S. Approves Targeted Killing of American Cleric, N.Y. Times, Apr. 6, 2010 (“Both

       the C.I.A. and the military maintain lists of terrorists linked to Al Qaeda and its affiliates

       who are approved for capture or killing, former officials said.”).

       5.      The CIA and JSOC targeted killing lists can include U.S. citizens.

               a.      Exhibit G, Ellen Nakashima, Intelligence Chief Acknowledges U.S. May

       Target Americans Involved in Terrorism, Wash. Post., Feb. 4, 2010 (quoting then-
                                                 3
Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10      Page 4 of 153




  Director of National Intelligence Dennis Blair, testifying before the House Intelligence

  Committee: “We take direct action against terrorists in the intelligence community. If

  that direct action, we think that direct action will involve killing an American, we get

  specific permission to do that.”).

         b.      Attached hereto as Exhibit I is a true and correct copy of Eli Lake, Dozens

  of Americans Believed to Have Joined Terrorists, Wash. Times, June 24, 2010 (quoting

  current Deputy National Security Adviser for Homeland Security and Counterterrorism

  John O. Brennan: “If an American person or citizen is in a Yemen or in a Pakistan or in

  Somalia or another place, and they are trying to carry out attacks against U.S. interests,

  they also will face the full brunt of a U.S. response. And it can take many forms.”).

         c.      Exhibit E, Greg Miller, From Memo to Missile: The CIA’s Hit List, L.A.

  Times, Jan. 31, 2010 (“Awlaki’s status as a U.S. citizen requires special consideration,

  according to former officials familiar with the criteria for the CIA’s targeted killing

  program.”).

         d.      Exhibit F, Dana Priest, U.S. Military Teams, Intelligence Deeply Involved

  in Aiding Yemen on Strikes, Wash. Post, Jan. 27, 2010 (“After the Sept. 11 attacks, Bush

  gave the CIA, and later the military, authority to kill U.S. citizens abroad if strong

  evidence existed that an American was involved in organizing or carrying out terrorist

  actions against the United States or U.S. interests, military and intelligence officials said.

  . . . The Obama administration has adopted the same stance. . . . Both the CIA and the

  JSOC maintain lists of individuals . . . whom they seek to kill or capture. The JSOC list

  includes three Americans, including Aulaqi, whose name was added late last year.”).

         e.      Attached hereto as Exhibit J is a true and correct copy of Keith Johnson,

  U.S. Seeks Cleric Backing Jihad, Wall St. J., Mar. 26, 2010 (“An order to kill an
                                            4
    Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10       Page 5 of 153




       American, however, ‘has to meet legal thresholds,’ the official said. He declined to be

       more specific.”)

       6.     Names are added to the JSOC and CIA lists after a secret bureaucratic process

conducted entirely within the executive branch.

              a.      Attached hereto as Exhibit K is a true and correct copy of Transcript of

       Press Briefing by Press Secretary Robert Gibbs, The White House (Aug. 3, 2010) (Press

       Secretary Robert Gibbs states that “[t]here’s a process in place that I’m not at liberty to

       discuss” in response to a question about whether “there is a process in place that we don’t

       know about” with regard to the targeted killing of U.S. citizens.)

              b.      Exhibit G, Ellen Nakashima, Intelligence Chief Acknowledges U.S. May

       Target Americans Involved in Terrorism, Wash. Post., Feb. 4, 2010 (“[Former Director of

       National Intelligence] Blair told members of the House intelligence committee that he

       was speaking publicly about the issue to reassure Americans that intelligence agencies

       and the Department of Defense ‘follow a set of defined policy and legal procedures that

       are very carefully observed’ in the use of lethal force against U.S. citizens.”).

              c.      Exhibit E, Greg Miller, From Memo to Missile: The CIA’s Hit List, L.A.

       Times, Jan. 31, 2010 (describing the CIA process in detail and stating that “From

       beginning to end, the CIA’s process for carrying out Predator strikes is remarkably self-

       contained. Almost every key step takes place within the Langley, Va., campus, from

       proposing targets to piloting the remotely controlled planes.”).

       7.     In order to add the name of a U.S. citizen to the CIA’s targeted killing list,

approval must be obtained from the National Security Council.

              a.      Attached hereto as Exhibit L is a true and correct copy of Greg Miller,

       Muslim Cleric Aulaqi Is 1st U.S. Citizen on List of Those CIA Is Allowed To Kill, Wash.
                                                  5
    Case 1:10-cv-01469-JDB            Document 3-2        Filed 08/30/10      Page 6 of 153




       Post, Apr. 7, 2010 (“Because he is a U.S. citizen, adding Aulaqi to the CIA list required

       special approval from the White House, officials said.”).

               b.      Attached hereto as Exhibit M is a true and correct copy of Adam Entous,

       U.S. Targets American-Born Cleric in Yemen: Officials, Reuters, Apr. 6, 2010 (“The

       decision to add Anwar al-Awlaki, of al Qaeda in the Arabian Peninsula, to the target list

       followed a National Security Council review prompted by his status as a U.S. citizen.”).

       8.      The names of individuals placed on the CIA and JSOC targeted killing lists

remain on those lists for months at a time. The CIA list is subject to review approximately every

six months.

               a.      Exhibit E, Greg Miller, From Memo to Missile: The CIA’s Hit List, L.A.

       Times, Jan. 31, 2010 (“The [CIA] list is scrutinized every six months, officials said, and

       in some cases names are removed if the intelligence on them has grown stale.”).

               b.      Exhibit L, Greg Miller, Muslim Cleric Aulaqi Is 1st U.S. Citizen on List of

       Those CIA Is Allowed To Kill, Wash. Post, Apr. 7, 2010 (reporting that Anwar al-Aulaqi

       was added to the CIA’s target list months after being added to the JSOC list).

       9.      Placement of a name on a list constitutes a standing authorization to kill that

person. Subsequent review of specific strikes does not involve a determination that the person

constitutes an imminent threat at that time.

               a.      Attached hereto as Exhibit N is a true and correct copy of Peter Finn &

       Joby Warrick, Under Panetta, A More Aggressive CIA, Wash. Post., Mar. 21, 2010

       (describing the process by which the CIA Director gave final approval to a particular

       strike and making clear that such approval does not involve a determination that the

       person constituted an imminent threat at the time).



                                                 6
    Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10       Page 7 of 153




               b.     Attached hereto as Exhibit O is a true and correct copy of Jane Mayer,

       The Predator War, The New Yorker (Oct. 26, 2009) (“A top military expert, who

       declined to be named, spoke of the military’s system, saying, ‘There’s a whole taxonomy

       of targets.’ Some people are approved for killing on sight. For others, additional

       permission is needed. A target’s location enters the equation, too. If a school, hospital,

       or mosque is within the likely blast radius of a missile, that, too, is weighed by a

       computer algorithm before a lethal strike is authorized.”).

               c.     Exhibit H, Scott Shane, U.S. Approves Targeted Killing of American

       Cleric, N.Y. Times, Apr. 6, 2010 (“Both the C.I.A. and the military maintain lists of

       terrorists linked to Al Qaeda and its affiliates who are approved for capture or killing,

       former officials said.”).

       10.     Targeted killing operations have resulted in the deaths of many civilians. One

strike in Yemen resulted in the death of 41 civilians, along with 14 terrorism suspects.

               a.     Attached hereto as Exhibit P is a true and correct copy of Scott Shane, CIA

       to Expand Drone Use in Pakistan, N.Y. Times, Dec. 3, 2009 (“The New America

       Foundation, a policy group in Washington, studied press reports and estimated that since

       2006 at least 500 militants and 250 civilians had been killed in the drone strikes. A

       separate count, by The Long War Journal, found 885 militants’ deaths and 94 civilians’.

       But the government official insisted on the accuracy of his far lower figure of

       approximately 20 civilian deaths.”).

               b.     Attached hereto as Exhibit Q is a true and correct copy of the relevant

       portions of Amnesty International, Yemen: Cracking Down Under Pressure 29-33 (2010)

       (detailing investigations into a December 17, 2009 strike that killed 41 civilians).



                                                 7
    Case 1:10-cv-01469-JDB             Document 3-2         Filed 08/30/10       Page 8 of 153




               c.      Attached hereto as exhibit R is a true and correct copy of Scott Shane,

       Mark Mazzetti & Robert F. Worth, Secret Assault on Terrorism Widens on Two

       Continents, N.Y. Times, Aug. 14, 2010 (confirming that the December 17, 2009 strike

       that killed 41 individuals was launched from a U.S. Navy ship).



               Specific Authorization to Kill Plaintiff’s Son and Related Issues

       11.     In January 2010, government officials disclosed that Anwar al-Aulaqi had been

added to “a shortlist of U.S. citizens” that JSOC is specifically authorized to kill.

               a.      Exhibit E, Greg Miller, From Memo to Missile: The CIA’s Hit List, L.A.

       Times, Jan. 31, 2010 (“Awlaki is already on the military’s list, which is maintained by

       the U.S. Joint Special Operations Command.”).

               b.      Exhibit F, Dana Priest, U.S. Military Teams, Intelligence Deeply Involved

       in Aiding Yemen on Strikes, Wash. Post, Jan. 27, 2010 (“[Aulaqi] has since been added to

       a shortlist of U.S. citizens specifically targeted for killing or capture by the JSOC,

       military officials said.”).

       12.     In April 2010, government officials disclosed that Anwar al-Aulaqi had been

added the list of individuals that the CIA is specifically authorized to kill.

               a.      Exhibit M, Adam Entous, U.S. Targets American-Born Cleric in Yemen:

       Officials, Reuters, Apr. 6, 2010 (quoting a U.S. official stating, with regards to Anwar al-

       Aulaqi: “He’s being targeted.”).

               b.      Exhibit L, Greg Miller, Muslim Cleric Aulaqi Is 1st U.S. Citizen on List of

       Those CIA Is Allowed To Kill, Wash. Post, Apr. 7, 2010 (“A Muslim cleric tied to the

       attempted bombing of a Detroit-bound airliner has become the first U.S. citizen added to

       a list of suspected terrorists the CIA is authorized to kill, a U.S. official said Tuesday.
                                                  8
    Case 1:10-cv-01469-JDB            Document 3-2        Filed 08/30/10      Page 9 of 153




       Anwar al-Aulaqi, who resides in Yemen, was previously placed on a target list

       maintained by the U.S. military’s Joint Special Operations Command. . . . ‘He’s in

       everybody's sights,’ said the U.S. official.”).

               c.      Exhibit H, Scott Shane, U.S. Approves Targeted Killing of American

       Cleric, N.Y. Times, Apr. 6, 2010 (quoting and citing government officials for the

       proposition that “[t]he Obama administration has taken the extraordinary step of

       authorizing the targeted killing of an American citizen, the radical cleric Anwar al-

       Awlaki”).

       13.     The United States has already conducted at least one strike – and as many as 12

according to one account – with the intent of killing Anwar al-Aulaqi. The United States

continues to attempt to kill him.

               a.      Exhibit L, Greg Miller, Muslim Cleric Aulaqi Is 1st U.S. Citizen on List of

       Those CIA Is Allowed To Kill, Wash. Post, Apr. 7, 2010 (“Anwar al-Aulaqi, who resides

       in Yemen, was previously placed on a target list maintained by the U.S. military’s Joint

       Special Operations Command and has survived at least one strike carried out by Yemeni

       forces with U.S. assistance against a gathering of suspected al-Qaeda operatives.”).

               b.      Exhibit F, Dana Priest, U.S. Military Teams, Intelligence Deeply Involved

       in Aiding Yemen on Strikes, Wash. Post, Jan. 27, 2010 (“Obama approved a Dec. 24

       strike against a compound where a U.S. citizen, Anwar al-Aulaqi, was thought to be

       meeting with other regional al-Qaeda leaders.”).

               c.      Attached hereto as Exhibit S is a true and correct copy of the transcript of

       Dina Temple-Raston, U.S. Turns Up Heat on Internet Imam Awlaki, Nat’l Pub. Radio

       Morning Edition (July 29, 2000) (“Intelligence sources tell NPR that there have been

       almost a dozen drone and airstrikes targeting Awlaki in Yemen.”).
                                                  9
    Case 1:10-cv-01469-JDB            Document 3-2       Filed 08/30/10       Page 10 of 153




       14.     Executive officials have condemned Anwar al-Aulaqi’s public statements and

sermons and also allege that he has “cast his lot” with terrorist groups and assumed an

“operational” role in a terrorist organization.

               a.      Exhibit M, Adam Entous, U.S. Targets American-Born Cleric in Yemen:

       Officials, Reuters, Apr. 6, 2010 (“U.S. intelligence agencies had viewed Awlaki as

       chiefly an al Qaeda sympathizer and recruiter for Islamist causes with possible ties to

       some of the September 11, 2001, hijackers.”)

               b.      Exhibit H, Scott Shane, U.S. Approves Targeted Killing of American

       Cleric, N.Y. Times, Apr. 6, 2010 (quoting an American official statubg: “‘The danger

       Awlaki poses to this country is no longer confined to words . . . . He’s gotten involved in

       plots.’”)

               c.      Attached hereto as Exhibit T is a true and correct copy of Press Release,

       U.S. Department of the Treasury, Treasury Designates Anwar Al-Aulaqi, Key Leader of

       Al-Qa’ida in the Arabian Peninsula (July 16, 2010) (quoting Under Secretary for

       Terrorism and Financial Intelligence Stuart Levey stating: “He has involved himself in

       every aspect of the supply chain of terrorism -- fundraising for terrorist groups, recruiting

       and training operatives, and planning and ordering attacks on innocents.”).

               d.      Exhibit K, Transcript of Press Briefing by Press Secretary Robert Gibbs,

       The White House (Aug. 3, 2010) (quoting Press Secretary Robert Gibbs stating: “Anwar

       al-Awlaki has in videos cast his lot with al Qaeda and its extremist allies. Anwar al-

       Awlaki is acting as a regional commander for al Qaeda in the Arabian Peninsula.”).

       15.     Yemeni officials have publicly stated that Yemen’s security forces are taking

measures to arrest Anwar al-Aulaqi for possible charge and trial in Yemen.



                                                  10
Case 1:10-cv-01469-JDB         Document 3-2         Filed 08/30/10         Page 11 of 153




         a.      Attached hereto as Exhibit U is a true and correct copy of Yemen Won’t

  Extradite Radical Cleric, Assoc. Press, June 8, 2010 (“Yemen’s Islamic Affairs Minister

  Hamoud al-Hitar told The Associated Press that Yemen is encouraging al-Awlaki to turn

  himself in, but if and when in Yemeni custody, he will not be extradited to the U.S.

  ‘There are constitutional and legal texts the government cannot get around,’ al-Hitar said.

  He said the U.S. should provide any proof it has of al-Awlaki’s terrorist ties ‘to the

  Yemeni justice system, so it can do its job.’”)

         b.      Attached hereto as Exhibit V is a true and correct copy of Maamoun

  Youssef, Anwar al Awlaki, Yemeni Cleric, Advocates Killing Americans in Al Qaeda

  Video, Assoc. Press, May 23, 2010 (“Ali Mohammed al-Ansi, Yemen’s national security

  chief and head of the president’s office, said in remarks published Sunday in Yemen’s

  ruling-party newspaper that the country’s security forces will continue to pursue al-

  Awlaki until he turns himself in or he is arrested. Yemen has indicated that if its security

  forces capture al-Awlaki, it wants to try the cleric on Yemeni soil.”)

         c.      Attached hereto as Exhibit W is a true and correct copy of Al-Qirbi:

  Yemen Will Not Extradite al-Awlaki to U.S., Yemen News Agency (Saba), May 10, 2010

  (quoting Yemeni Foreign Minister Abu Bakr al-Qirbi stating: “We have clearly said that

  because of his recent terrorist activity, al-Awlaki is now wanted by the Yemeni

  government; hence, he must be tried once he is captured and convicted in his homeland

  but never by other governments. . . . Yemen’s position over handing the man to the U.S.

  is clear and firm because we refuse to hand our people to other countries.”)

         d.      Exhibit F, Dana Priest, U.S. Military Teams, Intelligence Deeply Involved

  in Aiding Yemen on Strikes, Wash. Post, Jan. 27, 2010 (“Yemeni Foreign Minister

  Abubaker al-Qirbi said in Washington last week that his government’s present goal is to
                                           11
   Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10      Page 12 of 153




       persuade Aulaqi to surrender so he can face local criminal charges stemming from his

       contacts with the Fort Hood suspect. Aulaqi is being tracked by the country’s security

       forces, the minister added, and is now thought to be in the southern province of

       Shabwa.”).

               e.     Attached hereto as Exhibit X is a true and correct copy of Margaret Coker

       & Charles Levinson, Yemen in Talks for Surrender of Cleric, Wall St. J., Jan. 15, 2010

       (“Ali Mohamed Al Anisi, the director of Yemen’s National Security Agency and a senior

       presidential adviser, said talks were under way with members of Mr. Awlaki’s tribe in an

       effort to convince the cleric to turn himself in. . . . He said Yemeni forces were prepared

       to bring him in forcibly if negotiations fail. ‘We are ready to launch more operations to

       hunt him down,’ he said.”)

       16.     Yemeni cabinet members have publicly requested that the United States provide

the Yemeni government with additional evidence against Anwar al-Aulaqi so as to permit them

to arrest him and bring him to trial in Yemen.

               a.     Attached hereto as Exhibit Y is a true and correct copy of Yemen Says

       Seeks Cleric, Yet to Get U.S. Intelligence, Reuters, Apr. 11, 2010 (“‘He (Awlaki) is

       wanted by Yemeni justice for questioning, so that he can clear his name ... or face trial,’

       Yemeni Foreign Minister Abubakr al-Qirbi told Al Jazeera television. . . . Qirbi said

       Yemen had not received U.S. intelligence on Awlaki’s contacts with a Nigerian suspect

       in the attempted bombing of the transatlantic passenger plane and with a U.S. Army

       psychiatrist accused of shooting dead 13 people at a military base in Texas in November.

       ‘The detailed information . . . and evidence gathered by U.S. agencies has not been given

       to Yemen,’ Qirbi said.”)



                                                 12
    Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10      Page 13 of 153




               b.      Exhibit U, Yemen Won’t Extradite Radical Cleric, Assoc. Press, June 8,

       2010 (“Yemen’s Islamic Affairs Minister Hamoud al-Hitar . . . said the U.S. should

       provide any proof it has of al-Awlaki’s terrorist ties ‘to the Yemeni justice system, so it

       can do its job.’”)

       17.     The Yemeni government is currently prosecuting at least one U.S. citizen who is

alleged to be a member of al Qaeda and has deported others.

               a.      Attached hereto as Exhibit Z is a true and correct copy of Ahmed al-Haj,

       American al-Qaida Suspect to Go on Trial in Yemen, Assoc. Press, Aug. 24, 2010 (“An

       American al-Qaida suspect will go on trial in Yemen next month over the killing of a

       Yemeni soldier and the wounding of another during a failed escape attempt, a security

       official said Tuesday. . . . [A]uthorities have since June deported 25 foreigners, including

       Americans, suspected of having links to al-Qaida.”).

       18.     The Yemeni government has in the past arrested Anwar al-Aulaqi and detained

him for 18 months prior to his release in December 2007. He was released only after the United

States signaled that it no longer insisted on his continued incarceration.

               a.      Attached hereto as Exhibit AA is a true and correct copy of Scott Shane &

       Souad Mekhennet, Imam’s Path From Condemning Terror to Preaching Jihad, N.Y.

       Times, May 8, 2010 (“In mid-2006, after he intervened in a tribal dispute, Mr. Awlaki

       was imprisoned for 18 months by the Yemeni authorities. . . . Two F.B.I. agents

       questioned him in the Yemeni prison, and Mr. Awlaki blamed the United States for his

       prolonged incarceration. He was right; John D. Negroponte, then the director of national

       intelligence, told Yemeni officials that the United States did not object to his detention,

       according to American and Yemeni sources. But by the end of 2007, American officials,

       some of whom were disturbed at the imprisonment without charges of a United States
                                                 13
      Case 1:10-cv-01469-JDB           Document 3-2         Filed 08/30/10     Page 14 of 153




       citizen, signaled that they no longer insisted on Mr. Awlaki's incarceration, and he was

       released,").

       19.     Anwar al-Aulaqi is in hiding and cannot communicate with his father or counsel

because of the United States' attempts to kill him.

               a.      Exhibit AA, Scott Shane & Souad Mekhennet, Imam's Path From

       Condemning Terror to Preaching Jihad, N.Y. Times, May 8, 2010 ("Last October,

       friends said, [Anwar al-Aulaki] heard the distant whine of a drone aircraft circling

       overhead. Worried that he was endangering his relatives, he fled to the mountains.").

               b.      Attached hereto as Exhibit AB is a true and correct copy of Lee Keath &

       Ahmed al-Haj, Tribe in Yemen Protecting        u.s. Cleric Anwar al-Awlaki, Assoc. Press,
       Jan, 19,2010 (reporting extensively on Anwar al-Aulaqi's circumstances in Yemen),

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. Executed on August..29 2010.


                                                               Ben Wizner




                                                 14
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 15 of 153




                  Exhibit A
8/27/2010           Case 1:10-cv-01469-JDB
                                       THREATSDocument  3-2 HUNT
                                               AND RESPONSES: FiledFOR...
                                                                    08/30/10                            Page 16 of 153

 Q1b,~ Nt~t'.Ofk.Q'£bne~
                nytH'f1€J   •



 November 6, 2002
 I1IREATS AND RESPONSES: HIJNT FOR SUSPECTS


 THREATS AND RESPONSES: HUNT FOR
 SUSPECTS; Fatal Strike in Yemen Was Based on
 Rules Set Out by Bush
 By DAVID JOHNSTON and DAVID E SANGER

 WASHINGTON, Nov. 5- The lethal missile strike thatkilled a suspected leader of AlQaeda in Yemen was
 carried out under broad authority thatPresident Bush has given the C.I.A. overthe past year to pursue the terror
 network well beyond the borders of Afghanistan, senior government officials said today.

 The president was not asked to authorize the specific decision to fire the missile thatkilled the suspected Qaeda
 leader, Qaed Salim Sinan al-Harethi, the officials said. ButMr. Bush had been advised thatthe C.LA was
 pursuing Mr. Harethi.

 Underthe rules thatMr. Bush had approved, his personal approval for specific operations was not required. He
 had delegated operational control over Predator strikes against AlQaeda to his military and intelligence team.
 Officials would not identify the officials who did approve the strjke.

 The decision to approve the missile launch was made by "very senior officials" below the level of the president
 who had beenclosely monitoring the surveillance of Mr. Harethi and his associates, the officials said. They were
 seeking an opportunity to kill Mr. Harethi in a setting thatwould minimize the chance of unintentional casualties.

 The officials said C.I.A. officials wanted to avoid a repeatof their failed effort last year to use a Predatorto kill
 Mullah Muhammad Omar, the Taliban leader. The strike against him was aborted because ofthe possibility that
 others in a crowded house might be killed.

 The strike was authorized under the same set of classified presidential findings, legal opinions and policy
 directives, someof which were prepared after last year's attacks, that have set the rules for the administration's
 campaign to prevent terror. These orders gave the C.LA. wide powers to pursue Qaeda terrorists anywhere in
 the world. ButthePredatorattack was the first known use oflethalmilitary force outside Afghanistan.

 The missile strike represented a tougher phase of the campaign against terror and moved the Bush administration
 away from the law enforcement-based tactics of arrests and detentions ofQaeda suspects that ithad employed
 outside Afghanistan in the months since the fighting there ended.

 Instead, the officials said, the missile strike demonstrated thatthe United States was prepared to employ deadly
 force against individual suspects in countries like Yemen, where AlQaeda is believed to have regrouped in
 recentmonths.

 At the same time, the State Department's spokesman today reiterated American opposition to "targeted killings"
 of Palestinian militants by Israeli forces. The spokesman, Richard A. Boucher, rejected comparisons with Israel's
 practice against Palestinian militants, saying circumstances were not comparable.

 Senior Bush administration officials said the attacks reflected the broaderdefinition of the battlefield on which the
 campaign against Islamic terrorism would be conducted.

 Today, Mr. Bush's spokesman, Ad Fleischer, speaking to reporters aboard Air Force One as the president
nvtlrnes.corn/ .. ./threats~responses"hunt. ..                                                                           1/3
8/27/2010          Case 1:10-cv-01469-JDB
                                      THREATSDocument  3-2 HUNT
                                              AND RESPONSES: FiledFOR...
                                                                    08/30/10                          Page 17 of 153
 returned to Washington, said the United States was engaged in "a different kind of war with a different kind of
 battlefield."

 He added, "The president has also made clear to the American people that one of the best ways to fight the war
 on terror is political, diplomatic, military and that sometimes the best defense is a good offense."

 PaulD. Wolfowitz, the deputy defense secretary, said in an interview with CNN, "We've just gotto keep the
 pressure on everywhere we are able to, and we've got to deny the sanctuaries everywhere we are able to, and
 we've gotto put pressure on every government that is giving these people support to get out of that business."

 The missile strike did not violate the longstanding ban on the assassination of political leaders because none ofthe
 men were regarded as leaders under the law, current and former officials said. Government officials have said
 since Sept. 11 that the assassination ban does not apply to AlQaeda.

 In Yemen, local officials said they are investigating the killings, and Interior Minister Rashad Muhammad al- Alimi
 gave the cabinet a report aboutthe blast. Members of the cabinet ~~ who have faced criticism overYemen's
 mage as a haven for Muslim militants -- urged Yemenis to cooperate with security forces in tracking down
 terrorists.

 ButYemeni officials were silent on the question ofwhether their forces were involved in the operation. Yemeni
 officials have made clear in recent weeks, however, thatthey were aware that American drones were active in
 their area.

 The possible risks ofthe Bush administration's more aggressive approach were immediately apparent. Today, the
 State Department announced thatthe American Embassy in Yemen would be closed for a security review.

 The Yemenis were killed on Sunday when a Hellfire air-to-ground missile launched by a pilotless Predator
 aircraft struck the car in which sixmen were riding desertoutside Sana, the capjtal, inMarib Province. All the
 men were killed, including the intended target, Mr. Harethi, a suspectin the bombing of the Navy destroyer Cole
 in October 2000.

 It was unclear howthetargetwas identified, butthe Predator's video can identi1)r certain details like the number
 of people in the car.

 Although Mr. Harthi's name was not widely known publicly, intelligence and law enforcement officials had been
 tracking his movements for months before the attack, one official said.

 The official would not describe the evidence linking Mr. Harthi to the Cole attack, but said his involvement was a
 widely accepted within intelligence and law enforcement circles.

 Before the Yemen assauh, American counterterrorism operations outside Afghanistan had focused in large part
 on rounding up terrorist suspects, imprisoning them and seekng to obtain information from them about Al
 Qaeda's methods and targets. F.B.I. agents overseas and foreign military and security services worked in concert
 in that effort, detainng several thousand suspects since the attacks on the World TradeCenterand the Pentagon.

 The strike closely resembled deadly Israeli attacks against Palestinian militant leaders that have been regularly
 condemned by the State Department, buttoday Mr. Boucher, the department's spokesman, sought to distinguish
 between the targeted killings by Israelis and the American strike.

 "I think we all understand thatthe situation with regard to Israeli-Palestinian issues and the prospects of peace
 and the prospects of negotiation, the need to create an atmosphere for progress, a lot of different things come
 into play there," he said.

 Israel's supporters in the United States have complained about the Bush administration's opposition to Israel's
 "targeted killings," contending thatthe United States would act similarly under the same circumstances.


nytirnes.corn/ .../threats~responses~h unt...                                                                           2/3
8/27/2010         Case 1:10-cv-01469-JDB
                                     THREATSDocument  3-2 HUNT
                                             AND RESPONSES: FiledFOR...
                                                                  08/30/10                              Page 18 of 153
 Israel has maintained thatthe killings are a means of pre-emptive self-defense. Palestinians leaders call the killings
 assassinations.

 Mr. Harethi was noton the F.B.L's list ofthe 22-most-wanted terrorist fugitives in the world compiled after the
 Sept. 11 attacks.

 Although investigators wanted to question Mr. Harethi about the Cole bombing, the C.I.A. did not consult law
 enforcement officials before the Yemeni operation, a senior law enforcement official said. Buttoday law
 enforcement officials said there were few complaints about the missile strjke or the killing of Mr. Harethi.

 One senior Jaw enforcement official said: "I'mecstatic. We're at war, and we've got to use the means at our
 disposal to protectthe country. You've got to use all your tools, and this is a kind of war which requires us to
 fight on multiple fronts with all the weapons at our disposaI."

 Photos: Men in Sana, Yemen's capital, yesterday read aboutthe missile strke thatkilled six suspected Qaeda
 members, including a suspected leader.; Qaed Salim Sinan al-Harethi was suspected in the bombing of the
 American destroyer Cole. (Photographs by Associated Press)


  Copyright201 0 The New York Times Company     I Home I Privacy Polley I Search I Corrections I




nytimes.com/..,fthreats-responses-hunt. ..                                                                                3/3
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 19 of 153




                  Exhibit B
       Case 1:10-cv-01469-JDB               Document 3-2           Filed 08/30/10         Page 20 of 153
                                                                                                     NewsRoom
11/10/02 CHICAGOTR 3                                                                                        Page 1




11110/02 Chi. Trib. 3
2002 WLNR 12684674

                                             CHICAGO TRIBUNE
                                   Copyright 2002 Chicago Tribune Company

                                               November 10, 2002


                                                  Section: News

                             Officials: American killed in Yemen led New York cell
                             Michael Powell and Dana Priest, The Washington Post.

The U.S. citizen killed by a missile launched from a drone aircraft over Yemen was the ringleader of an alleged
terrorist sleeper cell in Lackawanna, N.Y., administration officials said Friday.


Kamal Derwish, one of two unindicted co-conspirators in the Lackawanna case, died along with the intended
target of the attack, senior Al Qaeda leader Ali Qaed Sinan al-Harthi, who is accused of masterminding the Oc-
tober 2000 attack on the USS Cole in which 17 sailors died.


These two men and four others were traveling in a car outside the Yemeni capital of San'a when they were hit by
a Hellfire missile operated hundreds of miles away by the CIA. Derwish had been identified by sources
Thursday as Ahmed Hijazi, an alias.


The CIA knew Derwish had returned to Yemen and was, as one administration official described him, a "fellow
traveler" in a tight circle of terrorists atop the United States' unofficial most-wanted list. But the CIA officers
who targeted the car, following it by live video from the drone and ultimately firing the missile, did not know
Derwish was a passenger, the official said.


But, as the administration official-who did not want to be identified-vsaid: "It would not have made a differ-
ence. If you're a terrorist, you're a terrorist."


Six American-born men accused of being Derwish's recruits were arrested in September and have been indicted
in Buffalo on charges of giving material support to a terrorist organization, Al Qaeda, Prosecutors charge that
the men trained in Al Qaeda camps in Afghanistan and were awaiting orders to carry out terrorist attacks.


Derwish, 29, an un indicted co-conspirator, was the most mysterious of the men from Lackawanna named in
court papers and, according to U.S. prosecutors, the most influential. They portrayed him as the devoutly reli-
gious provocateur who lured the six indicted men into Al Qaeda's orbit.




                          © 2010 Thomson Reuters. No Claim to Orig, US Gov. Works.
       Case 1:10-cv-01469-JDB
11/10/02 CHICAGOTR 3
                                           Document 3-2          Filed 08/30/10        Page 21 of 153
                                                                                                    Page 2




"Derwish was a very religious man, but obviously no one here is going to like that he was in that car with an Al
Qaeda leader," said Khalid Qazi, head of the American Muslim Council of Western New York. "We want to
know what happened, but these men should get what they deserved."


Derwish, according to accounts in the Buffalo News and interviews with those who knew him, was born in Buf-
falo and spent his early years in the nearby suburb of Lackawanna, a down-at-its-heels former steel town by the
shores of Lake Erie.


Copyright © 2002 Chicago Tribune Company

                                        ---- INDEX REFERENCES ---

NEWS SUBJECT: (International Terrorism (IIN37))

REGION: (Middle East (lMI23); USA (lUS73); Americas (lAM92); Yemen (lYE36); North America
(lN039); New York (lNE72); Arab States (lAR46))

Language: EN

OTHER INDEXING: (AHMED HIJAZI; AMERICAN MUSLIM COUNCIL; CIA; LACKAWANNA) (AI
Qaeda; Ali Qaed; Derwish; Harthi; Kamal Derwish; Khalid Qazi; San)

KEYWORDS: YEMEN; TERRORISM; NEW YORK; DEATH

EDITION: Chicagoland

Word Count: 484
11/10/02 CHICAGOTR 3
END OF DOCUMENT




                          © 2010 Thomson Reuters. No Claim to Orig, US Gov. Works.
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 22 of 153




                  Exhibit C
       Case 1:10-cv-01469-JDB                Document 3-2           Filed 08/30/10         Page 23 of 153
Westlaw®
11/24/02 CHICAGOTR 1                                                                                          Page 1




11/24/02 Chi. Trib. 1
2002 WLNR 12663981

                                             CHICAGO TRIBUNE
                                   Copyright 2002 Chicago Tribune Company

                                                November 24, 2002


                                                   Section: News


                                  U.S.: Killing of Al Qaeda suspects was lawful
                                   Howard Witt, Tribune senior correspondent.

When the CIA used a pilotless aircraft to kill a suspected Al Qaeda terrorist leader in Yemen earlier this month,
the United States demonstrated a new determination to hunt down and destroy enemies outside any established
field of battle.


But the diplomacy to explain and justify the deadly policy is not yet so precise as the weaponry.


To some human-rights groups and European leaders, the U.S. action looked very much like the kind of "targeted
killings" for which Washington condemns Israel each time its army singles out a suspected Palestinian terrorist
with a missile attack. Meanwhile, questions were raised over whether the White House was violating the long-
standing U.S. ban against staging foreign assassinations.


"If this was the deliberate killing of suspects in lieu of arrest, in circumstances in which they did not pose an im-
mediate threat, the killings would be extrajudicial executions in violation of international human-rights law," the
human-rights group Amnesty International wrote to President Bush.


Sweden's foreign minister, Anna Lindh, called the Yemen attack "a summary execution."


Bush administration officials bristle at such accusations, insisting that the boundaryless nature of the war on ter-
rorism necessitates the tactics. Despite the critics' suggestions, they add, this is not a radical new departure in
U.S. policy.


"We're in a new kind of war, and we've made very clear that it is important that this new kind of war be fought
on different battlefields," National Security Adviser Condoleezza Rice told a TV interviewer recently.


"I don't know what you called it when President Clinton launched cruise missiles into Afghanistan some years
ago," said Secretary of State Colin Powell, referring to the U.S. retaliation against Osama bin Laden and AI




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 1:10-cv-01469-JDB
11/24/02 CHICAGOTR 1
                                             Document 3-2           Filed 08/30/10         Page 24 of 153
                                                                                                        Page 2




Qaeda for the 1998 bombings of two U.S. Embassies in Africa. "That was not intended to knock down a tent. So
I don't know that previous administrations have completely avoided this kind of action."


Clinton also launched missiles against Iraq in 1993 in retaliation for an alleged plot to assassinate former Presid-
ent George Bush, and President Ronald Reagan ordered the bombing of Libyan leader Moammar Gadhafi's com-
pounds in 1986 in response to Libyan-backed terrorist attacks.


Because terrorists target civilians away from any recognized battlefield, many argue that striking at them in the
same way is a fair way to fight back. But even some who support the policy say the administration has done an
inadequate job of explaining it to the American public and the international community.


"After Sept. 11, the strike in Yemen looks to most people like an appropriate action in the war on terror," said
Lee Feinstein, a senior fellow at the Council on Foreign Relations and a State Department adviser in the Clinton
administration. "But what the administration needs to do is to explain why these kinds of tactics are appropriate.
And that's difficult, because the nature of this war is so different from the kinds of wars that international rules
were set up to address."


Suspect in Cole attack


The Nov. 3 attack in Yemen, involving a missile fired from a remote-controlled CIA Predator drone, killed sus-
pected Al Qaeda leader Ali Qaed Sinan al-Harthi and five other alleged terrorist operatives, including an Amer-
ican citizen, Ahmed Hijazi,


The strike was justified under international rules of war, the administration contends, because al-Harthi was a
suspect in the October 2000 bombing of the USS Cole in Yemen and therefore qualified as an "enemy com-
batant."


Yemen's sovereignty was not violated, officials say, because the government there gave permission for the at-
tack, Previous attempts by Yemeni authorities to arrest Al Qaeda suspects on their territory led to bloody fire-
fights in which several police officers and soldiers were killed,


The administration also maintains that the Predator attack, because it occurred in the context of a war against
terrorism, did not violate a 1976 executive order banning assassinations, signed by President Gerald Ford and
still in force, That order says that "no person employed by or acting on behalf of the United States Government
shall engage in, or conspire to engage in, assassination."


"I can assure you that no constitutional questions are raised here," Rice said. The president, she continued, is
"well within the bounds of accepted practice and the letter of his constitutional authority."


Some experts concur with the administration's view of the legality of the Yemen strike but express caution about




                           © 2010 Thomson Reuters. No Claim to Orig, US Gov. Works.
       Case 1:10-cv-01469-JDB
11/24/02 CHICAGOTR 1
                                              Document 3-2         Filed 08/30/10         Page 25 of 153
                                                                                                            Page 3




the precedent it might set.


Wisdom questioned


"No matter how you slice it, it looks to me like this is lawful," said Michael Glennon, a professor of internation-
al law at the Fletcher School of Law and Diplomacy at Tufts University. "The question is not whether it's lawful;
it's whether it's wise. There's a danger of retaliation against American political leaders."


The Predator attack "was not an assassination-vit was simply a responsive military strike," said Jeffrey Smith, a
former CIA general counsel.


"But we have to be very careful about engaging in these strikes to make certain we have the very best intelli-
gence, to make sure these individuals are directly linked to attacks against us, and that we do not engage in leth-
al force against people who are merely political supporters of Al Qaeda," Smith said.


"We have to be consistent. We cannot on the one hand authorize these activities ourselves and then say to some
other government, 'We can do it, but you can't."


Double standard?


Yet that is precisely how the situation appears to many Israel supporters. Whenever Israel has tracked and killed
a militant Palestinian leader-soften by firing rockets from U.S.-made helicopter gunships--the government of
Prime Minister Ariel Sharon has said the action was justified to prevent further terrorist attacks against Israelis.


But the State Department issues a condemnation of the action nevertheless.


Powell insisted that the American and Israeli attacks are not comparable.


"What makes it different in this case is that we have a situation in the Middle East where we're trying to get a
peace process moving, where there are other ways to try to resolve this crisis between the Israelis and the
Palestinians," Powell said. "I think targeted assassinations in that context are not helpful."


Copyright © 2002 Chicago Tribune Company

                                           ---- INDEX REFERENCES ---

COMPANY: STATE DEPARTMENT

NEWS SUBJECT: (Violent Crime (l VI27); International Terrorism (lIN37); Social Issues (1S005); Govern-
ment (l G080); Crime (l CR87); International Issues (lIN59))




                              © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
11/24/02Case 1:10-cv-01469-JDB
         CHICAGOTR  1                   Document 3-2         Filed 08/30/10        Page 26 of 153
                                                                                                Page 4




REGION: (North Africa (1N044); Americas (1AM92); Yemen (lYE36); North America (lN039); Mediter-
ranean (1ME20); Middle East (lMI23); Libya (lLI91); USA (lUS73); Africa (lAF90); Palestine (lPA37); Is-
rael (lIS16); Arab States (1AR46»

Language: EN

OTHER INDEXING: (AL QAEDA; CIA; FLETCHER SCHOOL OF LAW; NATIONAL SECURITY AD-
VISER; PALESTINIANS; STATE DEPARTMENT; TUFTS UNIVERSITY; TV; US EMBASSIES; WHITE
HOUSE) (Ahmed Hijazi; Ali Qaed; Anna Lindh; Ariel Sharon; Bush; Clinton; Colin Powell; Double; George
Bush; Gerald Ford; Harthi; Jeffrey Smith; Lee Feinstein; Michael Glennon; Moammar Gadhafi; Powell; Rice;
Ronald Reagan; Smith; Wisdom)

KEYWORDS: TERRORISM; YEMEN; OFFICIAL; DEATH; UNITED STATES

EDITION: Chicagoland Final

Word Count: 1273
11/24/02 CHICAGOTR 1
END OF DOCUMENT




                        © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 27 of 153




                  Exhibit D
Case 1:10-cv-01469-JDB         Document 3-2      Filed 08/30/10        Page 28 of 153


  UNITED
  NATIONS                                                                               E
                 Economic and Social                    Distr.
                                                        GENERAL
                 Council
                                                        E/CNA/2003/3
                                                        13 January 2003

                                                        Original: ENGLISH


 COMMISSION ON HUMAN RIGHTS
 Fifty-ninth session
 Item 11 (b) of the provisional agenda




         CIVIL AND POLITICAL RIGHTS, INCLUDING THE QUESTIONS OF
                DISAPPEARANCES AND SUMMARY EXECUTIONS

                      Extrajudicial, summary or arbitrary executions

          Report ofthe Special Rapporteur, Asma Jahangir, submitted pursuant to
                     Commission on Human Rights resolution 2002/36




 GE.03-10327 (E)    070203
Case 1:10-cv-01469-JDB            Document 3-2          Filed 08/30/10        Page 29 of 153


 E/CNA/2003/3
 page 2

                                        Executive summary

         The present report, which is submitted pursuant to Commission on Human Rights
 resolution 2002/36, covers information received and communications sent by the
 Special Rapporteur on extrajudicial, summary or arbitrary executions in the period
 from 2 December 200 I to 1 December 2002, unless otherwise stated. The report is divided into
 five sections, focusing on different aspects of the problem of extrajudicial, summary or arbitrary
 executions, and contains the Special Rapporteur's observations on issues falling within the
 purview of her mandate.

          Section I of the report provides a summary of the mandate entrusted to the Special
 Rapporteur. In section II the Special Rapporteur presents the main activities she has undertaken
 in the framework of her mandate during the period under review. Section III gives an overview
 of the various situations involving violations of the right to life relevant to the Special
 Rapporteur's mandate, including observations regarding violations of the right to life of special
 groups and issues of special focus. Section IV provides an overview of developments, in
 follow-up to the Special Rapporteur's country visits. Finally, section V is devoted to addressing
 developments of special concern and the Special Rapporteur also presents her conclusions and a
 number of recommendations she feels could be helpful in preventing and combating the problem
 of extrajudicial, summary or arbitrary executions.

        It should be emphasized that the report should be read in conjunction with addendum 1
 (E/CNA/2003/3/Add. 1), which presents a summary of all urgent appeals and letters of allegation
 sent during the reporting period, as well as summaries of replies from Governments.

         The Special Rapporteur's report briefly describes action taken in regard to various forms
 of violations of the right to life, including deaths in custody, deaths due to excessive use of force
 by law enforcement agents, killings by security forces or paramilitary groups, and death threats.
 The report also discusses the issue of capital punishment and makes reference to death penalty
 cases in which the Special Rapporteur has intervened in reaction to reports that the sentences
 concerned had been passed in violation of international restrictions and human rights standards.
 In her report, the Special Rapporteur also discusses the situation of a number of specific
 categories of victims, who are particularly vulnerable or have been directly targeted for
 extrajudicial execution. These groups include human rights defenders, lawyers, journalists,
 demonstrators, members of national, ethnic, religious or linguistic minorities, internally
 displaced people, women, children, members of indigenous communities and persons
 extrajudicially killed and/or exposed to death threats because of their sexual orientation.

        The report additionally includes a section devoted to follow-up in relation to missions
 undertaken by the Special Rapporteur. This section includes follow-up information on her visits
 to Mexico, Turkey and Honduras.

         The Special Rapporteur concludes her report by highlighting some disturbing trends
 identified during the reporting period, and presents a number of recommendations. She
 highlights the imperative of avoiding a culture of impunity and ensuring accountability. Her
 recommendations include the following:
Case 1:10-cv-01469-JDB             Document 3-2          Filed 08/30/10        Page 30 of 153


                                                                              B/CNA/2003/3
                                                                              page 3

        (a)     Greater focus and effort needs to be placed on preventive action;

       (b)     A stronger system for response to early warnings must be conceptualized and
 made effective;

         (c)     The Special Rapporteur encourages organizations of journalists to keep the
 United Nations human rights mechanisms informed of any incident of human rights violations,
 in particular death threats, imminent danger to their lives, or incidents of extrajudicial killings;

       (d)     The military should be used, if at all, as a last resort for internal security demands
 and must be held accountable;

       (e)      Safeguards and restrictions contained in international guidelines and customary
 law must be respected in each and every case when imposing or executing the death penalty;

      (:t)     Govermnents must end systematic and institutional impunity for those who kill
 women in the name of honour and so-called morality.
Case 1:10-cv-01469-JDB               Document 3-2          Filed 08/30/10          Page 31 of 153


 E/CNA12003/3
 page 4

                                               CONTENTS

                                                                                   Paragraphs   Page

 Introduction                                                                 .       1-5         6

   I.    THE MANDATE                                                          ..      6 - 12      6

         A.     Terms of reference                                             .      6-7         6

         B.     Violations of the right to life upon which the
                Special Rapporteur takes action                               ..      8-9         7

         C.     Legal framework and methods of work                            .     10 - 12      9

   II.   ACTIVITIES                                                            .     13 - 28     10

         A.      General remarks                                              ..       13        10

         B.      Communications                                               ..     14 - 23     11

         C.      Visits                                                        .     24 - 28     12

  III.   OVERVIEW OF SITUATIONS INVOLVING
         VIOLATIONS OF THE RIGHT TO LIFE                                      ..     29 -75      14

         A.      Genocide and crimes against humanity                          .     29 - 30     14

         B.      The right to life and the administration of justice,
                 deaths due to excessive use of force by law
                 enforcement officials and deaths in custody                  ..     31 - 34     14

         C.      Deaths due to attacks or killings by security forces,
                 paramilitary groups or private forces cooperating
                 with or tolerated by the State, and violations of the
                 right to life during armed conflict                          ..     35 - 44     15

         D.      Capital punishment                                           ..     45 - 51     17

         E.      Death threats                                                ..     52 - 54     18

         F.       Expulsion, return of persons to a country or place
                  where their lives are in danger (refoulement), violations
                  of the right to life concerning refugees and internally
                , displaced persons                                            .     55 - 57     18

         G.      Violations of the right to life of children and women .........     58 - 61     19
Case 1:10-cv-01469-JDB           Document 3-2           Filed 08/30/10        Page 32 of 153


                                                                              E/CNAI2003/3
                                                                              page 5

                                     CONTENTS (continued)

                                                                               Paragraphs    Page

        H.   Violations of the right to life of persons belonging
             to national, et1mic, religious or linguistic minorities     ..      62 - 64      20

        1.   Violations of the right to life of persons exercising
             their right to freedom of opinion and expression             .        65         20

        J.   Violations of the right to life of persons because
             of their sexual orientation                                  .      66 - 67      20

        K.   Violations of the right to life of persons carrying out
             peaceful activities in defence of human rights and
             freedoms, and persons who have cooperated with
             representatives of United Nations human rights bodies ......        68 -71       21

        L.   Impunity, compensation and the rights of victims             .      72 -75       21

  N.    FOLLOW UP TO RECOMMENDATIONS                                      .      76 - 81      22

   V.   CONCLUDING REMARKS AND RECOMMENDATIONS ....                              82 - 98      23
Case 1:10-cv-01469-JDB             Document 3-2           Filed 08/30/10        Page 33 of 153


                                                                               E/CNA/2003/3
                                                                               page 15

 Republic of the Congo, Ecuador, Egypt, Equatorial Guinea, Ethiopia, Georgia, Germany,
 Guatemala, India, Indonesia, Kazakhstan, Liberia, Libyan Arab Jamahiriya, Nepal, Pakistan,
 Peru, Russian Federation, Sierra Leone, Spain, Sri Lanka, Sudan, Turkey, Uganda, United States
 of America, Uruguay, Uzbekistan and Venezuela.

 32.     The Special Rapporteur addressed a number of letters to Governments regarding
 excessive use of force by law enforcement officials. She wrote to the following Governments:
 Argentina, Algeria, Azerbaijan, Bangladesh, Bolivia, Cameroon, Colombia, Ethiopia, Germany,
 Honduras, India, Indonesia, Jamaica, Mexico, Mozambique, Myanmar, Nepal, Peru, Philippines,
 Russian Federation, Spain, Sri Lanka, Sudan, Thailand, Turkey, United States of America,
 Uzbekistan and Yemen. In a few cases there was an excessive use of force, under the guise of
 dealing with terrorists, against farmers and others who brought up social or economic issues ..
 Witnesses to police excesses, students who held peaceful demonstrations and journalists
 exposing misuse of authority by the security forces were killed by excessive use of force. The
 military and special forces, in particular, are reported to use excessive force with impunity. The
 Special Rapporteur wishes to express her appreciation to the Government of Germany for a
 comprehensive reply which put the record straight to her satisfaction.

 33.    The Special Rapporteur is particularly concerned about reports concerning Bolivia, where
 in 2002 the police and army reportedly used excessive force to disperse demonstrators in
 Cochamamba, and allegedly killed six persons. Concern is also expressed about reports from
 Algeria about several reported cases of excessive use of force and extrajudicial killings by law
 enforcement officials. The Special Rapporteur is also increasingly concerned about the recent
 developments in Nepal and reports of excessive use of force by the police there.

 34.     Concern is also expressed about the actions by Russian police/security forces in the
 October 2002 incident in a Moscow theatre where Chechen separatists were holding several
 hundred civilians hostage. During the attack against the separatists more than 100 civilians died,
 allegedly because of a gas deployed by the Russian forces to disable the hostage takers. The
 Special Rapporteur has been collecting information from various sources about the incident and
 plans to take the issue up in 2003 with the Government of the Russian Federation.

               C. Deaths due to attacks or killings by security forces, paramilitary
                  groups or private forces cooperating with or tolerated by the
                  State, and violations of the right to life during armed conflict

 35.     The Special Rapporteur transmitted urgent appeals to the following Governments in
 relation to reports of violations of the right to life due to attacks or killings by security forces,
 paramilitary groups or private forces cooperating with or tolerated by the State: Bolivia,
 Colombia, India, Indonesia, Mexico, Myamnar, Nepal, Peru, Philippines, Russian Federation,
 Sri Lanka, Sudan, Thailand, Turkey, United States of America and Yemen.

 36.     In this regard the Special Rapporteur is particularly concerned about reports relating to
 actions by government-controlled or -condoned paramilitary groups, as well as the use of the
 military in operations against civilians resulting in extrajudicial killings. In particular,
 Bangladesh, Colombia, Guatemala and Mexico are of concern in this regard.
Case 1:10-cv-01469-JDB             Document 3-2          Filed 08/30/10         Page 34 of 153


 E/CNA/2003/3
 page 16

 37.      A truly disturbing development was the events in Yemen in November 2002. It is
 reported that six men were allegedly killed while travelling in a car on 3 November 2002 in
 Yemen by a missile launched by a United States-controlled Predator drone aircraft. According
 to the information, one of the persons in the car was allegedly suspected of being a senior figure
 in the al-Qa'idah organization. The strike was reportedly carried out with the cooperation and
 approval of the Government of Yemen. On 15 November the Special Rapporteur addressed
 letters to the Governments of the United State and Yemen requesting their comments on these
 reports.

 38.      The Government of Yemen replied on 17 December 2002. As the Special Rapporteur is
 still awaiting the official translation, at this stage a brief summary ofthe letter can be provided.
 In its letter the Govermnent of Yemen acknowledges that the attack did take place, and gives the
 names of the six persons killed. It further informs the Special Rapporteur that the six men had
 been involved in the attacks on the United States military vessel, the USS Cole, as well as a
 French tanker out of the port of Aden. It is further reported that the Govermnent on several
 occasions had, unsuccessfully, sought to apprehend these six individuals. The Govermnent
 stresses that had the persons come forward all their rights would have been protected, including a
 fair trial and a defence lawyer during trial. At the time of writing the United States Government
 had not sent a reply.

 39.     The Special Rapporteur is extremely concerned that should the information received be
 accurate, an alarming precedent might have been set for extrajudicial execution by consent of
 Govermnent. The Special Rapporteur acknowledges that Governments have a responsibility to
 protect their citizens against the excesses of non-State actors or other authorities, but these
 actions must be taken in accordance with international human rights and humanitarian law. In
 the opinion ofthe Special Rapporteur, the attack in Yemen constitutes a clear case of
 extrajudicial killing.

 40.    The Special Rapporteur continues to be alarmed by reports of civilians killed in the
 context of armed conflict. All parties to an armed conflict must respect the rights of the civilian
 population in accordance with international humanitarian and human rights law.

 41.     The Special Rapporteur fully endorses the Secretary-General's efforts with regard to the
 protection of civilians in armed conflict as outlined in his report released in November 2002
 (S/2002/1300). She supports the efforts to create a culture of protection, with a view to ensuring
 the protection of the right to life of civilians in armed conflict, and urges all States to support this
 process. She welcomes the active role of the Security Council in this regard.

 42.     The Special Rapporteur has followed the developments in COte d'Ivoire with increasing
 concern. Reports of extrajudicial killings of civilians on the part of both the Govermnent and
 rebel forces and reports of recent mass graves are a cause of great concern. On
 12 December 2002 the Special Rapporteur issued a press statement urging all parties to refrain
 from committing extrajudicial executions and recalled the need for accountability. She believes
 that the action of the international community is crucial in order to prevent further killings of
 civilians.
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 35 of 153




                   Exhibit E
     Case 1:10-cv-01469-JDB                 Document 3-2            Filed 08/30/10           Page 36 of 153

Westl~vv.,                                                                                            NewsRoom
1/31/10 LATIMES 1                                                                                             Page 1




1/31/10 L.A. Times 1
2010 WLNR 2018766

                                              Los Angeles Times
                                       Copyright 2010 Los Angeles Times

                                                 January 31,2010


                                               Section: Main News


                                    From memo to missile: the CIA's hit list
     The likely addition of a U.S. citizen to the roster of drone targets sheds light on the selection process.

                                                   Greg Miller

WASHINGTON

Lead story


The CIA sequence for a Predator strike ends with a missile but begins with a memo. Usually no more than
two or three pages long, it bears the name of a suspected terrorist, the latest intelligence on his activities, and a
case for why he should be added to a list of people the agency is trying to kill.


The list typically contains about two dozen names, a number that expands each time a new memo is signed by
CIA executives on the seventh floor at agency headquarters, and contracts as targets thousands of miles away, in
places including Pakistan and Yemen, seem to spontaneously explode.


No U.S. citizen has ever been on the CIA's target list, which mainly names Al Qaeda leaders, including Osama
bin Laden, according to current and former U.S. officials. But that is expected to change as CIA analysts com-
pile a case against a Muslim cleric who was born in New Mexico but now resides in Yemen.


Anwar al Awlaki poses a dilemma for U.S. counter-terrorism officials. He is a U.S. citizen and until recently
was mainly known as a preacher espousing radical Islamic views. But Awlaki's ties to November's shootings at
Ft. I-Iood and the failed Christmas Day airline plot have helped convince CIA analysts that his role has changed.


"Over the past several years, Awlaki has gone from propagandist to recruiter to operational player," said a U.S.
counter-terrorism official.


Awlaki's status as a U.S. citizen requires special consideration, according to former officials familiar with the
criteria for the CIA's targeted killing program. But while Awlaki has not yet been placed on the CIA list, the of-




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
     Case 1:10-cv-01469-JDB                   Document 3-2             Filed 08/30/10        Page 37 of 153
1/31/10 LATIMES 1                                                                                             Page 2




ficials said it is all but certain that he will be added because of the threat he poses.


"If an American is stupid enough to make cause with terrorists abroad, to frequent their camps and take part in
their plans, he or she can't expect their citizenship to work as a magic shield," said another U.S. official. "If you
join the enemy, you join your fate to his."


The complications surrounding Aw1aki's case provide a rare window into the highly secretive process by which
the CIA selects targets.


CIA spokesman Paul Gimigliano declined to comment, saying that it is "remarkably foolish in a war of this kind
to discuss publicly procedures used to identify the enemy, an enemy who wears no uniform and relies heavily on
stealth and deception."


Other current and former U.S. officials agreed to discuss the outlines of the CIA's target selection procedures on
the condition of anonymity because of their sensitive nature. Some wanted to defend a program that critics have
accused of causing unnecessary civilian casualties.


Decisions to add names to the CIA target list are "all reviewed carefully, not just by policy people but by attor-
neys," said the second U.S. official. "Principles like necessity, proportionality, and the minimization of collateral
damage -- to persons and property -- always apply."


The U.S. military, which has expanded its presence in Yemen, keeps a separate list of individuals to capture or
kill. Awlaki is already on the military's list, which is maintained by the U.S. Joint Special Operations Command.
Awlaki apparently survived a Dec. 24 airstrike conducted jointly by U.S. and Yemeni forces.


The CIA has also deployed more operatives and analysts to Yemen. CIA Deputy Director Stephen Kappes was
in the country last month, just weeks before a Nigerian accused of training with Al Qaeda in Yemen boarded a
jetliner bound for Detroit on Christmas Day.


From beginning to end, the CIA's process for carrying out Predator strikes is remarkably self-contained. Almost
every key step takes place within the Langley, Va., campus, from proposing targets to piloting the remotely con-
trolled planes.


The memos proposing new targets are drafted by analysts in the CIA's Counter-Terrorism Center. Former offi-
cials said analysts typically submit several new names each month to high-level officials, including the CIA gen-
eral counsel and sometimes Director Leon E. Panetta.


Former officials involved in the program said it was handled with sober awareness of the stakes. All memos are
circulated on paper, so those granting approval would "have to write their names in ink," said one former offi-
cial. "It was a jarring thing, to sign off on people getting killed."




                            © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
     Case 1:10-cv-01469-JDB                Document 3-2            Filed 08/30/10         Page 38 of 153
1/31/10 LATIMES 1                                                                                         Page 3




The program is governed by extensive procedures and rules, but targeting decisions come down to a single cri-
terion: whether the individual in question is "deemed to be a continuing threat to U.S. persons or interests."


Given that standard, the list mainly comprises Al Qaeda leaders and those seen as playing a direct role in devis-
ing or executing attacks. Espousing violence or providing financial support to Al Qaeda would not meet the
threshold, officials said. But providing training to would-be terrorists or helping them get to Al Qaeda camps
probably would.


The list is scrutinized every six months, officials said, and in some cases names are removed if the intelligence
on them has grown stale.


"If someone hadn't popped on the screen for over a year, or there was no intelligence linking him to known ter-
rorists or plans, we'd take him off," the former official said.


The National Security Council oversees the program, which is based on a legal finding signed after the Sept. 11
attacks by then-President George W. Bush. But the CIA is given extensive latitude to execute the program, and
generally does not need White House approval when adding names to the target list.


The only exception, officials said, would be when the name is a U.S. citizen's.


The CIA has at times considered adding Americans' names to the target list. None were ever approved, the offi-
cials said, not because their citizenship protected them but because they didn't meet the "continuing threat"
threshold.


Adam Gadahn, a California native now believed to be hiding in Pakistan, has been indicted on charges of treas-
on and providing support to Al Qaeda. But Gadahn, former officials said, has mainly served in a propaganda
role.


Officials said that whether Awlaki is added to the list hinges more on intelligence agencies' understanding of his
role than any concern about his status as a U.S. citizen.


"If you are a legitimate military target abroad -- a part of an enemy force -- the fact that you're a U.S. citizen
doesn't change that," said Michael Edney, who served as deputy legal advisor to the National Security Council
from 2007 until 2009.


Awlaki, 38, was known for delivering fiery sermons at mosques in San Diego and suburban Virginia before
moving to Yemen in 2004. Because of his radical online postings, he has been portrayed as a catalyst or motivat-
or in nearly a dozen terrorism cases in the U.S. and abroad.




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
     Case 1:10-cv-01469-JDB                 Document 3-2            Filed 08/30/10            Page 39 of 153
1l31/10 LATIMES 1                                                                                            Page 4




But it was his involvement in the two recent cases that triggered new alarms. U,S. officials uncovered as many
as 18 e-mailsbetweenAwlakiandNidaIMalikHasan.a U.S. Army major accused of killing 13 people at Ft.
Hood, Texas, Awlaki also has been tied to Umar Farouk Abdulmutallab, the Nigerian accused of attempting to
detonate a bomb on a Detroit-bound flight.


"Awlaki's interested in operations outside of Yemen, and he's trying to recruit more extremists, including West-
erners," said the U,S. counter-terrorism official. "His knowledge of Western culture and language makes him
valuable to [the offshoot] Al Qaeda on the Arabian Peninsula.


"Taking him off the street," the official said of Awlaki, "would deal a blow to the group."


The CIA has carried out dozens of Predator strikes in Pakistan over the last year. The program is not foolproof,
as drone strikes often ki11multiple people even when the intended target escapes. The CIA has also made griev-
ous mistakes in counter-terrorism operations, including capturing individuals misidentified as terrorism suspects.
But the program remains valuable to U.S. officials.


President Obama alluded to the campaign in his State of the Union speech last week, saying that during his first
year in office, "hundreds of Al Qaeda's fighters and affiliates, including many senior leaders, have been captured
or killed -- far more than in 2008."


Many of those strikes were aimed at gatherings of militant groups or training complexes, current and former of-
ficials said. In such cases, the CIA is free to fire even if it does not have intelligence indicating the presence of
anyone on its target list.


The CIA has carried out Predator attacks in Yemen since at least 2002, when a drone strike killed six suspected
Al Qaeda operatives traveling in a vehicle across desert terrain.


The agency knew that one of the operatives was an American, Kamal Derwish, who was among those killed.
Derwish was never on the CIA's target list, officials said, and the strike was aimed at a senior Al Qaeda operat-
ive, Qaed Sinan Harithi, accused of orchestrating the 2000 attack on the U.S. destroyer Cole.




greg.miller@latimes.com


Julian E. Barnes in the Washington bureau contributed to this report.


PHOTO: UNDER SCRUTINY: Anwar al Awlaki was known for delivering fiery sermons in the U.S. before he
moved to Yemen. His link to recent terrorism cases has raised alarm.




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
     Case 1:10-cv-01469-JDB             Document 3-2         Filed 08/30/10          Page 40 of 153
1/31/10 LATIMES 1                                                                               Page 5




PHOTOGRAPHER:Muhammad ud-Deen Associated Press

                                     ---- INDEX REFERENCES ---

COMPANY: WHITEHOUSE; INFORMATICA APLICATA SA; IMMOBILIARE AZIONARIA SPA

NEWS SUBJECT: (Counter-Terrorism (lC040); Contracts & Orders (IC029); International Terrorism (lIN37);
Sales & Marketing (IMA51); Business Management (lBU42))

INDUSTRY: (Physical Security (IPH53); Security Agencies (ISE35); Security (lSE29))

REGION: (Nigeria (INI88); Pakistan (IPA05); Yemen (IYE36); Western Asia (IWE54); North America
(lN039); USA (lUS73); Americas (IAM92); Asia (lAS61); Africa (IAF90); Middle East (lMI23); Arab States
(lAR46); Indian Subcontinent (lIN32); Southern Asia (l S052); Michigan (lMI45); West Africa (1WE48))

Language: EN

OTHER INDEXING: (AWLAKI; CIA; NATIONAL SECURITY COUNCIL; NIDAL MALIK HASAN;
OSAMA; US ARMY; US JOINT SPECIAL OPERATIONS COMMAND; WESTERNERS; WI-IITE HOUSE)
(Adam Gadahn; Al Qaeda; Anwar; Deen; Derwish; Gadahn; George W. Bush; greg.miller; Julian E. Barnes;
Kamal Derwish; Lead; Leon E. Panetta; Michael Edney; Obama; Paul Gimigliano; Principles; Qaed Sinan
Harithi; Stephen Kappes; Umar Farouk Abdulmutallab)

KEYWORDS: CENTRAL INTELLIGENCE AGENCY; TERRORISM; TERRORISTS

EDITION: Home Edition

Word Count: 1824
1/31/10 LATIMES 1
END OF DOCUMENT




                        © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 41 of 153




                   Exhibit F
8/27/2010
                   Case 1:10-cv-01469-JDB       Document 3-2 Filed 08/30/10
                                      U.S. military teams, intelligence deeply...
                                                                                                              Page 42 of 153




 CORRECTION TO THISARTICLE
 The article referred incorrectly to the presence of U.S. citizens on a CIA list of people the agency seeks
 to kill or capture. After The Post's report was published, a source said that a statement the source
 made aboutthe CIA list was misunderstood. Additional reporting produced no independent confirmation
 of the original report, and a CIA spokesman said that The Post's account of the list was incorrect. The
 military's JointSpecial Operations Command maintains a target list that includes several Americans. In
 recent weeks, U.S. officials have said that the government is prepared to kill U.S. citizens who are
 believed to be involved in terrorist activities that threaten Americans.


 u.s. military teams, intelligence deeply involved
 in aiding Yemen on strikes
 By Dana Priest
 Washington Post Staff Writer
 Wednesday, January 27, 2010; AOI

 U.S. military teams and intelligence agencies are deeply involved insecretjoint
 operations with Yemeni troops who inthe past sixweeks have killed scores of
 people, among themsixof15 top leaders ofa regional al-Qaeda affiliate, according
 to senior administration
              ...         officials.

 The operations, approved by President Obama and begunsixweeks ago, involve
 several dozen troops from the U.S. military's clandestine Joint Special Operations
 Command (JSOC), whose main mission is tracking and killing suspected terrorists.
 The American advisers do not take part inraids inYemen, but help planmissions,
 develop tactics and provide weapons and munitions. Highly sensitive intelligence is
 being shared with the Yemeni forces, including electronic and video surveillance, as
 well as three-dimensional terrain maps and detailed analysis of the al-Qaeda
 network.

 As part ofthe operations, Obama approved a Dec. 24 strike against a compound
 where a U.S. citizen, Anwar al-Aulaqi, was thought to be meeting with other
 regional al-Qaedaleaders. Although he was notthe focus of the strike and was not
 killed, he has since been added to a shortlist of U.S. citizens specifically targeted
 for killing or capture by the JSOC, military officials said. The officials, like others interviewed for this article,
 spoke on the condition ofanonymity because ofthe sensitivity ofthe operations.

 The broad outlines of the U.S. involvement inYemen have come to light inthe past month, but the extent and
 nature ofthe operations have not been previously reported. The far-reaching U.S. role could prove politically
 challenging for Yemen's president, Ali Abdullah Saleh, who must balance his desire for American support against
 the possibility ofa backlash by tribal, political and religious groups whose members resentwhatthey see as U.S.
 interference inYemen.

 The collaboration with Yemen provides the starkestillustration to date of the Obama administration's efforts to
 ramp up counterterrorism operations, including inareas outside the Iraq and Afghanistan war zones.

washingtonpost.com/.../AR20 10012604...                                                                                        1/4
8/27/2010       Case 1:10-cv-01469-JDB       Document
                                   U.S. military           3-2 Filed
                                                 teams, intelligence     08/30/10
                                                                     deeply...          Page 43 of 153
 'We are verypleased with the direction this is going," a senior administration official said of the cooperation with
 Yemen.

 Obama has ordered a dramatic increase inthe pace of CIA drone-launched missile strikes into Pakistan inan
 effort to kill al-Qaeda and Tahban members inthe ungoverned tribal areas along the Afghan border. There have
 been more suchstrikes inthe first year of 0 bama's administration thaninthe lastthree years under President
 George W. Bush, according to a military officer who tracks the attacks.

 Obama also has sentU.S. military forces briefly into Somalia as part of an operation to kill Saleh AliNabhan, a
 Kenyansought inthe 2002 bombing of an Israeli-owned resort inKenya.

 Republican lawmakers and former vice president Richard B. Cheney have sought to characterize the new
 president as soft on terrorism after he banned the harshinterrogation methods permitted under Bushand
 announced his intention to close the U.S. military prisonat Guantanamo Bay, Cuba.

 Obama has rejected those two elements of Bush's counterterrorism program, but he has embraced the notion
 that the mosteffective way to kill or capture members of al-Qaeda and its affiliates is to work closely with foreign
 partners, including those thathave feeble democracies, shoddy human rights records and weak accountability
 over the vast sums of money Washington is giving themto wintheir continued participation inthese efforts.

 In the case of Yemen, a steadystream ofhigh-ranking officials has visited Saleh, including the rarely seenJSOC
 commander, Vice Adm. William H. McRaven; White House counterterrorism adviser JohnO. Brenna!}; and
 Gen. David H. Petraeus, head of U.S. Central Command.

 A Yemeni official briefed on security matters said Tuesday thatthe two countries maintained a "steadfast
 cooperation incombating AQAP, but there are clear limits to the U.S. involvement on the ground. Information
 sharing has been a key in carrying out recentsuccessful counterterrorism operations." AQAP is the abbreviation
 for al-Qaeda inthe Arabian Peninsula, the affiliate operating inYemen.

 In a newly built jointoperations center, the American advisers are acting as intermediaries betweenthe Yemeni
 forces and hundreds of U.S. military and intelligence officers working inWashington, Virginia and Tampa and at
 Fort Meade, Md., to collect, analyze and route intelligence.

 The combined efforts have resulted inmore thantwo dozenground raids and airstrikes. Military and intelligence
 officials suspect there are several hundred members ofAQAP, a group thathas historical links to the main al-
 Qaeda organization but that is thought to operate independently.

 The chairman ofthe Joint Chiefs of Staff; Adm. Mike MulleD, told a Navy War College class inearly January
 that the United Stateshad "no plans" to send ground troops to Yemen and thathe had been concerned aboutthe
 growing al-Qaedapresence there "for a long time now."

 'We have worked hard to try to improve our relationships and training, education and war-fighting support,"
 Mullen said. "And, yet, we still have a long way to go."

 Salehhas faced pressure not only from the United States but also his country's main financial backers, Saudi
 Arabia and the United Arab Emirates, to gain better control over its lawless northern border. In August, Saleh
 asked U.S. officials to begin a more in-depth conversation over how the two countries might work together,
 according to administration officials. The current operation evolved from those talks.
washlngtonpost.com/.../ AR2010012604...                                                                                 2/4
8/27/2010      Case 1:10-cv-01469-JDB       Document
                                  U.S. military          3-2 Filed
                                                teams, intelligence     08/30/10
                                                                    deeply ...           Page 44 of 153

 ''President Saleh was serious aboutgoing after al-Qaedaand wasn't going to resist our encouragement," the
 senior official said.

 The Obamaadministration's deepening ofbilateral intelligence relations builds on ties forged during George J.
 Tenet's tenure as CIA director.

 Shortly after the Sept. 11, 2001, attacks, Tenet coaxed Saleh into a partnership thatwould give the CIA and
 U.S. military units the means to attackterrorist training camps and al-Qaeda targets. Saleh agreed, inpart,
 because he believed that his country, the ancestral home of Osama binLaden, was next on the U.S. invasion list,
 according to an adviser to the Yemeni president.

 Tenetprovided Saleh's forces with helicopters, eavesdropping equipment and 100 Army Special Forces
 members to train an antiterrorism unit. He also won Saleh's approval to fly Predator drones armed with Hellfire
 missiles overthe country. In November 2002, a CIA missile strike killed sixal-Qaeda operatives driving through
 the desert. The targetwas Abu Alial-Harithi, organizer ofthe 2000 attack on the USS Cole. Killed with him was
 a U.S. citizen, KamalDerwish, who the CIA knewwas inthe car.

 Word thatthe CIA had purposefully killed Derwish drew attention to the unconventional nature of the new
 conflict and to the secret legal dehberations overwhether killing a U.S. citizen was legal and ethical.

 Afterthe Sept. 11 attacks, Bushgave the CIA, and later the military, authority to kill U.S. citizens abroad if
 strong evidence existed that an American was involved in organizing or carrying out terrorist actions against the
 United States or U.S. interests, military and intelligence officials said. The evidence has to meet a certain, defined
 threshold. The person, for instance, has to pose "acontinuing and imminent threatto U.S. persons and interests,"
 said one former intelligence official.

 The Obamaadministration has adopted the same stance. Ifa U.S. citizenjoins al-Qaeda, "it doesn't really
 change anything from the standpoint of whether we can targetthem," a senior administration official said. ''They
 are thenpart of the enemy."

 Both the CIA and the JSOC maintain lists of individuals, called 'High Value Targets" and 'HighValue
 Individuals," whom theyseek to kill or capture. The JSOC list includes three Americans, including Aulaqi, whose
 name was added late lastyear. As of several months ago, the CIA list included three U.S. citizens, and an
 intelligence official said thatAulaqi's name has nowbeen added.

 Intelligence officials say the New Mexico-born imam also has been linked to the Army psychiatrist who is
 accused of killing 12 soldiers and a civilian at Fort Hood, Tex., although his communications with Maj. NidalM.
 Hasan were largely academic innature. Authorities saythat Aulaqi is the most important native, English-speaking
 al-Qaeda figure and that he was incontact with the Nigerian accused of attempting to bomb a U.S. airliner on
 Christmas Day.

 Yemeni Foreign Minister Abubaker al- Qirbi said inWashingtonlast week that his government's presentgoalis to
 persuade Aulaqi to surrender so he can face local criminal charges stemming from his contacts with the Fort
 Hood suspect. Aulaqi is being tracked by the country's security forces, the minister added, and is nowthought to
 be inthe southern province ofShabwa.

 Staff writer R. Jeffrey Smith and staffresearcher Julie Tate contributed to this report.
washingtonpost.com/.../AR2010012604...                                                                                3/4
8/27/2010
                Case 1:10-cv-01469-JDB       Document
                                   U.S. military           3-2 Filed
                                                 teams, intelligence     08/30/10
                                                                     deeply ...     Page 45 of 153

  View all com ments that have been posted about this article.

       Sponsored Links

       I Had High Blood Pressure
       Now it's down to 120/75. Find out how I did it without drugs


       Business On Main
       Articles, Tools & Resources for Small Business, Connected by Sprint!



       Get NYC Deals
       Amazing DailyDeals 50-90% OffRestaurants , Spas, Events and More!

                                                                                            Buya link here


                                         © 2010 The Washington Post Company




washingtonpost.com/.../AR2010012604...                                                                       4/4
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 46 of 153




                  Exhibit G
                Case 1:10-cv-01469-JDB       Document 3-2 Filed 08/30/10
                                   Intelligence chief acknowledges U.S. m...
                                                                                         Page 47 of 153
8/27/2010



 mtJe Wll1it)ington post
 Intelligence chief acknowledges U.S. may target
 Americans involved in terrorism
 By Ellen Nakashima
 Washington Post Staff Writer
 Thursday, February 4, 2010; A03

 Director ofNational Intelligence Dennis C. Blair acknowledged Wednesday that government agencies may kill
 U.S. citizens abroad who are involved interrorist activities if they are "taking action thatthreatens Americans. "

 Blair told members ofthe House intelligence committee thathe was speaking publicly aboutthe issue to reassure
 Americans that intelligence agencies and the Department ofDefense "follow a set of defined policy and legal
 procedures that are verycarefully observed" in.the use oflethalforce against U.S. citizens.

 Blair's unusually frank remarks come as the issue oftargeting Americans for lethal action has attracted more
 notice. As the United States steps up its campaign against suspected terrorists overseas,it has become more
 apparent that some extremists may be U.S. citizens.

 The most prominent case to date is that ofa U.S.-borncleric, Anwar al-Aulaqi, who lives inYemen and has
 been linked to the Anny major who allegedly shotand killed 13 people atFort Hood, Tex., inNovember, and to
 the Nigerian accused of attempting to bomb aNorthwest Airlines plane on Christmas Day.

 Aulaqi is a member of al-Qaeda inthe Arabian Peninsula, an affiliate of the main al-Qaeda organization, and has
 been linked to the Fort Hood shooter as well as the Nigerian. He was thought to be meeting with regional al-
 Qaeda leaders at a compound inYemen targeted by a Dec. 24 strike. He was not said to be the focus ofthe
 strike, and he was not killed. ButU.S. officials saidat the time thatthey thought he might have been killed.

 ''1 just don'twant Americans who are watching this to think thatwe are careless about endangering -- infact,
 we're not careless about endangering American lives as we try to carry outthe policies to protect mostofthe
 country," Blair said at the annual threat briefing before the panel. He didnot specifically refer to the targeting of
 Aulaqi.

 In response to questions from Rep. Peter Hoekstra (R-Mich.), the panels ranking Republican, Blair said: 'We
 take direct action against terrorists inthe intelligence community. Ifthat direct action, we think that direct action
 will involve killing an American, we get specific permission to do that."

 Hoekstrapressed for clarification ofthe policy, especially its threshold for targeting Americans for lethal action.

 "The concern that I have today is that I'mnot sure that ... [it is] verywell understood as to whatyou and the
 people inyour organization can do whenit comes to Americans who have joinedthe enemy," Hoekstratold
 Blair.

 The director ofnational intelligence said the factors that ''primarily'' weigh on the decision to targetan American
 include ''whether thatAmerican is involved ina group that is trying to attackus, whether that American is a threat
 to other Americans."
washlngtonpost.comj. ../AR2010020303...                                                                                  1/2
8/27/2010
                  Case 1:10-cv-01469-JDB       Document
                                     Intelligence           3-2 Filed
                                                  chief acknowledges U.S. 08/30/10
                                                                          m...                             Page 48 of 153

 Viewall conIDlents thathave beenposted about this article.

   Post a Comment

   View all comments that have been posted about this article.




   Comments that include profanity or personal attacks or other inappropriate comments or material w ill be removed from the site.
   Additionally, entries that are unsigned or contain "signatures" by someone other than the actual author w ill be removed. Finally, we will
   take steps to block users who violate any of our posting standards, terms of use or privacy policies or any other policies governing this
   site. Please review the full rules governing commentaries and discussions. You are fully responsible for the content that you post.



       Sponsored Links

       Get Serious Savings
       Auto Insurance Quote: Get Discounts & Bonuses to Help You Save Bigl
       www.Allstate.com

       A Reverse Mortgage?
       Near 707 Find out how much money you can get from a reverse mortgage.
       New Retirement. com

       Free Penny Stock Picks!
       Our last pick exploded 3550% - Join our free new sletter today I
       www.PennyStocksExpert.com

                                                                                                                        Buy a link here



                                              © 2010 The Washington Post Company




washingtonpost.com/.../AR2010020303...                                                                                                          2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 49 of 153




                  Exhibit H
8/27/2010
                    Case 1:10-cv-01469-JDB     Document 3-2 Filed 08/30/10
                                       U.S. Approves Targeted Killing of Amer...
                                                                                                                   Page 50 of 153

 II)el(f1tuUorklimf1;s. Reprints
 This copy is for your personal, noncommercial use only. You can order presentation-ready copies for
 distribution to your colleagues, clients or customers here or use the "Reprints" tool that appears next to any
 article. Visit www.nytreprints.com for samples and additional information. Order a reprint of this article now.



 April 6, 2010



 u.s. Approves Targeted Killing of
 Anterican Cleric
 By SCOTT SHANE
 WASHINGTON - The Obama administration has taken the extraordinary step of authorizing
 the targeted killing of an American citizen, the radical Muslim cleric                who is
 believed to have shifted from encouraging attacks on the United States to directly participating
 in them, intelligence and counterterrorism officials said Tuesday.

 Mr. Awlaki, who was born in New Mexico and spent years in the United States as an imam, is in
 hiding in Yemen. He has been the focus of intense scrutiny since he was linked to Maj. Nidal
 Malik Hasan, the Army psychiatrist accused of killing 13 people at Fort Hood, Tex., in
 November, and then to Umar Farouk Abdulmutallab, the Nigerian man charged with trying to
 blow up a Detroit-bound airliner on Dec. 25.

 American counterterrorism officials say Mr. Awlaki is an operative of Al Qaeda in the Arabian
 Peninsula, the affiliate of the terror network in Yemen and Saudi Arabia. They say they believe
 that he has become a recruiter for the terrorist network, feeding prospects into plots aimed at
 the United States and at Americans abroad, the officials said.

  It is extremely rare, if not unprecedented, for an American to be approved for targeted killing,
  officials said. A former senior legal officialin the administration of George W. Bush said he did
  not know of any American who was approved for targeted killing under the former president.

  But the director of national intelligence, Dennis C. Blair, told a House hearing in February that
  such a step was possible. "We take direct actions against terrorists in the intelligence
  community," he said. "If we think that direct action will involve killing an American, we get
  specific permission to do that." He did not name Mr. Awlaki as a target.

  The step taken against Mr. Awlaki, which occurred earlier this year, is a vivid illustration of his
  rise to prominence in the constellation of terrorist leaders. But his popularity as a cleric, whose
  lectures on Islamic scripture have a large following among English-speaking Muslims, means
  any action against him could rebound against the United States in the larger ideological
  campaign against Al Qaeda.
nytimes.com/2010/04/...j07yemen.html...                                                                                             1/2
8/27/2010       Case 1:10-cv-01469-JDB     Document
                                   U.S. Approves Targeted3-2
                                                          Killing Filed 08/30/10
                                                                  of Amer...       Page 51 of 153

 The possibility that Mr. Awlaki might be added to the target list was reported by The Los
 Angeles Times in January, and Reuters reported on Tuesday that he was approved for capture
 or killing.

 "The danger Awlaki poses to this country is no longer confined to words," said an American
 official, who like other current and former officials interviewed for this article spoke of the
 classified counterterrorism measures on the condition of anonymity. "He's gotten involved in
 plots."

 The official added: "The United States works, exactly as the American people expect, to
 overcome threats to their security, and this individual- through his own actions - has become
 one. Awlaki knows what he's done, and he knows he won't be met with handshakes and flowers.
 None of this should surprise anyone."

 As a general principle, international law permits the use of lethal force against individuals and
 groups that pose an imminent threat to a country, and officials said that was the standard used
 in adding names to the list of targets. In addition, Congress approved the use of military force
 against Al Qaeda after the Sept. 11, 2001, terrorist attacks. People on the target list are
 considered to be military enemies of the United States and therefore not subject to the ban on
 political assassination first approved by President Gerald R. Ford.

 Both the C.I .A. and the military maintain lists of terrorists linked to Al Qaeda and its affiliates
 who are approved for capture or killing, former officials said. But because Mr. Awlaki is an
 American, his inclusion on those lists had to be approved by the National Security Council, the
 officials said.

 At a panel discussion in Washington on Tuesday, Representative Jane Harman, Democrat of
 California and chairwoman of a House subcommittee on homeland security, called Mr. Awlaki
 "probably the person, the terrorist, who would be terrorist No.1 in terms of threat against us."




nytimes.com/2010/04/.../07yemen.html...                                                                 2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 52 of 153




                    Exhibit I
8/27/2010        Case 1:10-cv-01469-JDB
                                    Dozens ofDocument    3-2 Filed
                                              Americans believed to have08/30/10
                                                                         j ...                 Page 53 of 153




  Dozens of Americans believed to have joined terrorists
  Threat called 'worrisome'




  The Washington Times

  8:35 p.m., Thursday, June 24, 2010

  Dozens of Americans have joined terrorist groups and are posing a threat to the United States and its interests
  abroad, the president's mostsenior adviser on counterterrorism and homeland security said Thursday.

  'There are, inmy mind, dozens of U.S. persons who are indifferent parts of the world, and theyare very
  concerning to us," said JohnO. Brennan, deputy White House national security adviser for homeland security
  and counterterrorism,

  In a wide-ranging interview with The Washington Times, Mr. Brennan said he would not talk about lists of
  targeted American terrorists. However, U.S. intelligence and lawenforcement agencies have been tracking
  down u.s. nationals and U.S. passport holders who pose security threats, like the Yemen-based al Qaeda
  cleric Anwar al-Awlaki, he said.

  'They are concerning to us, notjust because of the passporttheyhold, but because they understand our
  operational environment here, they bring with them certain skills, whether it be language skills or familiarity with
  potential targets, and theyare veryworrisome, and we are determined to take away their ability to assist with
  terrorist attacks," Mr. Brennan said.

  The remarks came inresponse to questions aboutprocedures used by the president to order lethal strikes on
  U.S. citizens who have joined al Qaeda or otherterrorist groups.




washingtontimes.com/news/..';print/                                                                                      1/3
8/27/2010      Case 1:10-cv-01469-JDB     Dozens ofDocument       3-2 Filed
                                                      Americans believed  to have08/30/10
                                                                                  j ...     Page 54 of 153
 On Feb. 3, Dennis C. Blair, thendirector ofnational intelligence, said incongressional testimony that special
 permission must :first be obtained by military or intelligence forces before whathe termed "direct action" strikes
 against American citizens.

  The main weaponinrecent CIA and U.S. military counterterrorism operations has been attacks with missile-
  equipped unmanned aerial vehicles inAfghanistan, Iraq, Pakistan, Somalia and Yemen. The administration has
  said ithas killed dozens or perhaps scores ofterrorists with these strikes over the past several years.




  Thatpractice was criticized ina report earlier this month authored by Philip Alston, the independent U.N.
  investigator on extrajudicial killings, who said the practice mayviolate international humanitarian law.

  The American Civil Liberties Union ina letter to Mr. Obama on April 28 warned that the current program to
  kill terrorists inforeign countries would create a precedent for other countries to kill suspected terrorists all over
  the world.

  The American-born cleric and U.S. citizen who nowresides inYemen is thought to be high on the list ofthose
  targeted for killing by the United States.

  Mr. Brennan would not comment on the details oflethaloperations or the procedure for targeting Americans.

  "If a personis a U.S. citizen, and he is on the battlefield inAfghanistan or Iraq trying to attack our troops, he
  will face the full brunt ofthe U.S. military response," Mr. Brennan said. "Ifan American personor citizen is ina
  Yemen or ina Pakistan or in Somalia or another place, and theyare trying to carryout attacks against U.S.
  interests, they also will face the full brunt ofa U.S. response. And it can take many forms."

  Mr. Brennan added, "To me, terrorists should notbe able to hide behind their passports and their citizenship,
  and that includes U.S. citizens, whether they are overseas or whether they are here inthe United States. What
  we need to do is to apply the appropriate tool and the appropriate response."

  Attempts by U.S. citizens at carrying out unsophisticated terrorist attacks inthe United States have increased
  sharply inrecentyears. The latest example was Faisal Shahzad, who confessed incourtthis week thathe left a
  vehicle rigged with explosives inNew York's Times Square on the evening of May 1. In courttestimony, he
  also admitted to having trained inbomb making with the Pakistani Taliban.

  A recentRand Corp. study of so-called "homegrown" U.S. radicalism reported a significant increase in
  indictments of Americans who were recruited forjihadist violence inthe past two years.
washtnqtontlmes.com/news/.../prlnt/                                                                                        2/3
8/27/2010        Case 1:10-cv-01469-JDB
                                    Dozens ofDocument    3-2 Filed
                                              Americans believed to have08/30/10
                                                                         j ...                 Page 55 of 153

  The reportsaid 81 were indicted for terrorism-related crimes between 2002 and 2008. Forty-two people were
  indicted for suchcrimes in2009, and two more have been indicted in20 1O.

  The study, authored by former U.S. special-operations officer Brian Jenkins, concluded that one in30,000
  Muslim Americans is vulnerable to radicalization, a fact "suggesting an American Muslim population that
  remains hostile to jihadist ideology and its exhortations to violence."

  In the interview Thursday, Mr. Brennan also saidthatthe vision ofIslam put forth by OsamabinLadenand
  other al Qaeda leaders was widely rejected by the Muslim world. Lastmonth, Mr. Brennan drew criticism for
  a speechinwhich he said, "Jihad is holy struggle, a legitimate tenetofIslam, meaning to purify oneselfor one's
  community. "

  Mr. Brennan saidthat he opposed granting anylegitimacy to what he called al Qaeda's 'twisted" interpretation
  ofIslam.

  "Clearly, binladen and al Qaeda believe theyare on this veryholy agenda and this jihad," he said. ''However, in
  myview, whatwe cannot do is to allow them to think, and the rest ofthe world to think, and for the future
  terrorists of the world to believe al Qaeda is a legitimate representation ofjihadand Islam."

  Mr. Brennan also saidthat the U.S. lawenforcement community has the means to monitor Web forums
  affiliated with al Qaeda that have inthe past provento be a gateway for recruitment into the terrorist
  organization.

  Buthe also said that any investigations or monitoring of suchsites needed to :first pass a threshold of probable
  cause.

  'There needs to be some type of predicate or premise for there to be reasonable suspicion that someone is
  engaged inactivity that is unlawful," he said. "The mere engagement inpolitical speech, evenifit is radical, is not
  initselfa cause for investigation."

  Mr. Brennan towardthe end ofthe interview acknowledged that, despite some differences, there is
  considerable continuity betweenthe counterterrorism policies of President Bush and President Obama.

  'There has been a lotof continuity of effort here from the previous administration to this one," he said. "There
  are some important distinctions, but sometimes there is too much made ofthose distinctions. We are building
  upon some of the good foundational work that has been done."
   Ads by Google @I Terrorism Democracy     War Terrorism       Study Terrorism      Iraq Terrorism     Military Terrorism




wash ingtontimes.com/news/..'/print/                                                                                         3/3
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 56 of 153




                    Exhibit J
8/27/2010           Case 1:10-cv-01469-JDB     Document
                                       U.S. Seeks Cleric Who 3-2   Filed
                                                             Promotes Jihad08/30/10
                                                                            -...                                        Page 57 of 153




            Dow Jones Reprints: This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to your
            colleagues, clients or customers, use the Order Reprints tool at the bottom of any article or visit WNW.djreprints,com
             See a sample reprint in PDF format.         Order a reprint of this article now




      WORLD NEWS           I   MARCH 26, 2010

      U.S. Seeks Cleric Backing Jihad
      Preacher RadicalizedActivists With Writings, Officials Say
      ByKEITH JOHNSON

      WASHINGTON-One of the U.S.'s prime terrorism suspects doesn't carry a rifle or explosives. But
      U.S.-born cleric Anwar al Awlaki's prominence as an apologist for jihad-especially in the English-
      speaking world-has put him squarely in the cross hairs ofthe antiterror effort.

      Mr. Awlaki, born in New Mexico in 1971 to Yemeni parents and believed to be hiding in Yemen, is
      the most prominent of a handful of native-English-speaking preachers, whose calls for jihad, or holy
      war, are helping radicalize a new generation through the Internet, counterterrorism investigators
      say.

                                                                                He exchanged dozens of emails with Fort Hood
                                                                                shooter Maj. Nidal Hasan in the months before the
                                                                                November killing spree at a U.S. Army base. He
                                                                                calls Umar Farouk Abdulmutallab, the underwear
                                                                                bomber who allegedly tried to blow up a Detroit-
                                                                                bound airliner on Christmas Day, "my student." His
                                                                                writings helped to radicalize several Canadians, at
                                                                                least one of whom went to fight for al Qaeda in
                                                                                Somalia.

                                                                                "He's clearly someone that we're looking for," said
       U.S.-born cleric Anwar al Aw laki exchanged emails
       with the shooter behind last year's fatal rampage at                     Leon Panetta, director of the Central Intelligence
       Fort Hood in Killeen, Texas.                                             Agency, in an interview last week. "There isn't any
                                                                                question that he's one of the individuals that we're
                                                                                focusing on."

      Mr. Panetta cited Mr. Awlaki's role in inspiring past attacks as well as his efforts to "inspire
      additional attacks on the United States."

      In a statement disseminated widely on pro-Jihadi Web sites last week, Mr. Awlaki ratcheted up his
      calls for jihad against the West, especially the U.S., and said that thanks in part to the spread of his
      ideas, "Jihad is becoming as American as apple pie and as British as afternoon tea."

      Mr. Awlaki's importance as an instigator of jihad has increased at the same time that al Qaeda has
      become more decentralized. Recent terrorist acts against the U.S. have been attempted or carried
...wsj.com/.../NA_WSJ_PUB:SB1000142...                                                                                                                 1/3
8/27/2010        Case 1:10-cv-01469-JDB      Document
                                    U.S. Seeks Cleric Who 3-2    Filed
                                                          Promotes Jihad08/30/10
                                                                         -...                         Page 58 of 153
      out by individuals with little or no formal connection to al Qaeda's core, some of whom may have
      become radicalized by reading English-language versions of violent treatises, such as Mr. Awlaki's
      "Constants on the Path of Jihad."

      U.S. officials aren't making that distinction. "He's considered al Qaeda," a senior intelligence official
      said, adding that the V. S. government doesn't let terrorist suspects "self-define. "

      Shortly after the Sept. 11, 2001, attacks on the V.S., a presidential covert action finding signed by
      George W. Bush authorized the capturing or killing of al Qaeda operatives, including Americans. At
      the time, Congress authorized the president to use all necessary force against groups or persons
      linked to the 9/11 strikes.

                                                                  An order to kill an American, however, "has to
                                                                  meet legal thresholds," the official said. He declined
                                                                  to be more specific.

                                                                  Mr. Awlaki burst into the spotlight after the Fort
                                                                  Hood shootings, when it emerged that he had
                                                                  counseled Maj. Hasan by email about the
                                                                  immorality of a Muslim serving in the V.S. Army.

                                                             But Mr. Awlaki's links to radical Islam go further
                                                Getty Images back, according to the 9/11 Commission Report. In
       Lt. Col. Charles Keller and his family at a vigil for the late 1990s, while living in California, he was
       victims of the attack.
                                                             investigated by the Federal Bureau of Investigation
                                                             for ties to the Palestinian group Hamas. After 9/11,
      he was questioned by the FBI about his relationship with two of the hijackers, whom he met while
      serving as imam at a mosque in northern Virginia.

      Mr. Awlaki fled the U.S. for Europe, and eventually settled in Yemen, where he was detained by
      authorities in 2006 and questioned by the FBI. He was later released.

      "The combination of perfect English, having the proper religious credentials, and being ajihadi
      theorist makes him a very significant figure, both in terms of radicalizing people and perhaps even
      in an operational context," said Daveed Gartenstein-Ross, director ofthe Center for Terrorism
      Research at the Foundation for the Defense of Democracies in Washington.

      In late December, Yemeni forces bombed a rural hideout where Mr. Awlaki and other terrorism
      targets were believed to be hiding. Mr. Awlaki was initially thought killed, but he promptly
      resurfaced on the Internet, through recorded statements and interviews with Arab media.

       -Siobhan Gorman
       contributed to this article.

      Write to Keith Johnson at keith.johnson@wsj.com



                                      Copyright 2009 Dow Jones & Company I Inc. All Rights Reserved
       This copy is for your personal, non-commercial use only. Distribution and use of this material are governed by our Subscriber
      Agreement and by copyright law. For non-personal use or to order multiple copies, please contact Dow Jones Reprints at 1-800-
                                                            843-0008 or visit
                                                          www.djreprints.com

...wsj.corn/..,fNA_WSJ_PUB:SBiO00142...                                                                                                2/3
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 59 of 153




                  Exhibit K
8/27/2010               Case 1:10-cv-01469-JDB      Document
                                           Press Briefing by Press3-2     Filed
                                                                   Secretary    08/30/10
                                                                             Rober...                                                  Page 60 of 153


                                                                                                                                             Get Email Updates         Contact Us




  Home' Bl'iejl'rW Room. Press Bl'iq/lllgS                                                                                     SearchWhlteHouse.gov



                                                     TheWhite House

                                                Office of the Press Secretary

                  ForImmediate Release                                                    August03,2010
                          Press Briefing by Press Secretary Robert Gibbs, 8/3/2010

                                                                                                                               BLOG POSTS ON T HIS ISSUE
                                          James S. Brady Press Briefing Room
                                                                                                                               AuglJ(~ 27, 2010 3'(\9 PM I:cDT
  See below for an answer to a question(marked with an asterisk) posed In the briefingthat required follow up,
                                                                                                                               Setting the Record Straight on
                                                                                                                               Weatherization
  'To date we havebilled BP and other responsible parties $222 million for response and cleanupactivities, The
                                                                                                                               A close look from the EnergyDepartmenton the
  nextbill should be delivered nextweek and we will continuebilling them until all the costs are covered.
                                                                                                                               progress of the Administration's efforts to
                                                                                                                               weatherize homes, a keypart of the ernerqlnq
  12:42 P.M. EDT                                                                                                               clean energyeconomy.

     MR,GIBBS: Wow,look at this, Sundaybest, everybody in their new seats. Church Is full today, that's good to
                                                                                                                               Augu,~ 27, ;W1Q 3'39    f"M EDT
  see, Ms.Ryan, you'regoing to ask that gentlemen in frontot vou to sit down a little bit because he's -- (Iaughter)-
                                                                                                                               Improving America's Disaster Response
  - he's a iittle on the tall side, Ms.Ryan. I'm just sayingthat it's--
                                                                                                                               In recognition of the fifthanniversary of Hurricane
                                                                                                                               Katrina, DHS Secretary Napolitanodiscusses the
    Q i'm vertically challenged.                                                                                               department'e progress in helping the GulfCoast
                                                                                                                               recoverand strengthening the nation's abilityto
    Q She'll put a phone book in her seat.                                                                                     respond to and recover from disasters,

    Q Oh,come on now,                                                                                                          /'\lou,j 2'7, 20'10 2:(\II"M EI)T
                                                                                                                               More than 600,000 White House Visitor
    MR.GiBBS: There's a gizmo up here if youwant to use that.                                                                  Records Online
                                                                                                                               As part of his commitmentto transparency,
    Q Abooster seat?                                                                                                           President Obarna orderedthat WhiteHouse
                                                                                                                               visitor records be released.This WhiteHouse
    Q serlcusly                                                                                                                has released over600,000 recordsto date.


    MR.GIBBS: But seriously? Is that -- are you trying to bring us down a little bit here?                                     VIEW ALL RELATED SLOG posTS


    Q    What's the big deal about all this?

    MR.GIBBS: Brother, you'reasking the wrong guy,

  Take us back to seriousness.                                                                                                               Pecebook              YouTube


    Q In the Glllf, obviouslythe static kill procedure, trying to move forward with that. And l knowyou've said
                                                                                                                                             Twitter               Vhneo
  beforethatthe Presidentgets updateddally,I think. I assume that's still true, right?
                                                                                                                                             Fllckr                ITunes

     MR.GIBBS: Yes,it is,                                                                                                                    MySpace               Llnkedln

    Q Is thereanything special about now thattheymay be corning to the end of the leak -- anything special
  about how he's getting updated, bywhom?

     MR.GI8BS: Well, I know Secretary Chu and others are down in Houstontoday. I think he will likelytouch base
  with them at some polnt--I don't havethe schedule in frontof me -- but likelyat some point todayspeak with
  Secretary Chu and others that are in Houston and are monitoringthe activities.

      I think it is importantto know the static kill, injectingthe mud into the top of the well, Is certainlyone part of the
  long-termeffortto finallykiil the well. Thatwill be followed byactivities at the bottompart of the well. Andthen
  ultimately, as we'vetalked about, the permanentsolution is stili the reliefwell that Is ongoing.

     Q So youguys wouldn't be sort of declaringvictory on this until you get the relief well done?


     MR. GIBBS: No, no, Again, I stili thinkthat-- and the science -- the scientists believethat the long-term

whitehouse.gov/ ..';press-briefi ng-press...                                                                                                                                    1/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2    Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                         Page 61 of 153
  permanentsolution Is stili ultimatelythe rellefwell.

     Look,I would touchon a few things overthe past couple of days. Obviously It's alwaysgood news that since
  the sealing cap went on some weeks ago now, all has not been fiowing Intothe Glilf. I would point out the
  release put out by EPAyesterdayon toxicology tests, which are Important, surroundingdispersants, and that--
  and their findings,and their continuedtesting by EPA NOMand others to ensure thatwe're monitoringthat
  environment, all of which Is tremendouslyimportantas we move forward.

     Q Let me Justswltohtopics qulokly. We had the Iraq speech yesterday, tile first of several,I take It,planned
  on thattopic. We havea second round tomorrowon the developments In the auto Industry. Whatare some of
  the other topics thatwe should expectto see the Presidentfoouslng on as success stories, good news,
  aohlevement kind of--

    MR.GIBBS: Well,let's saythat-- now that youmention those, let's just toucha little blton them. I mean,
  obviouslythe Presldent-- and I think manyof you that covered the campaign,regardless of which campaign you
  covered -- withouta doubt,I think It Is safe to say thatthe President's plan to remove our combat forces was
  among the most hotlydebatedIn both the primaryand In the general eleotlon.

     And I'll be honest with you,I think If you look back at what was said overthe course of manymonths both
  during the latterpart of the general eleouon, during the transition In the first part of the administration,I think many
  people believed that having -- ohangingthe mission awayfrom combat byAugust31 st, 2010, was likelynot
  doable. Thatwe know now Is on pace to happen. Some 90,000troops will be pulled out. along with 2 mlilion
  pieces of equipment -- pulled out of iraq bythe end of this month.

    You mentionedthe President visitingon Tbursdavfhe FordfacilityoutsIde of Chicago--

     Q Thursday, not tomorrow-- gettingahead of myself,aren't I?

     MR.GIBBS: Right. And,look, we've spent a lot of time on autos here both In the briefing room and certainlyIn
  the WestWing. And I thinkwe are still encouraged bywhat we see In a newlyrevitalized auto Industry. We're
  getting auto sales figures today. GM'swere out earlier and showed an increase In sales, notJustfrom last
  month, but a more than 24 percentIncreaseyearto year,whloh I think also gives you a sense of making overall
  economic progress, because the discussions thatwe were having about the auto Industrywas In manyways
  predicated on an economic environmentwhere youwere seiling -- going from a heightof seiling 17 to 17.5
  million cars a yeardown to seiling, dLulng the height of our economic downturn, sales that approached 9 to 9.5
  million. Now we're closer to -- on track forcloser to 11 to 11.5 million, which means that the Investments that the
  President and the team made In the auto Industryand the hard work of the workers In those facilities has led to a
  stronglyrevitalized auto Industry.

     Look, I thinkthatthe Presidentwill continueto talk about the steps thatwe tookto revitalize the economy, the
  steps that havebeen taken to make us safer and more secure, all of which he'll spend some time over the
  course ofihe nextseveral months reminding people.

    Q Arethere are other sorts of aohlevernent areas or specific achievements that he Intends to kind of pluck
  out and talk about in a waythat he has these as we getcioserto November?

    MR. GIBBS: Yes. I mean, look, I don't havethe schedule In frontof me, but I anticipatethatwe will spend, as I
  said, a bunchof our time overthe course of the nextseveral months or at least some of thattime reminding
  people of wherewe've come from. Thatwill definitelybe a big part of our fall.

     Yes, sir.

     Q Acouple questions. On the international front, Israeli and Lebanese forcesclashed on the border there,
  fivedead. What, If any,message does the Prealdenthavefor both sides?

     MR.GIBBS: Well, look, obviouslyIt's a --It Is an enormouslytense region. I think we haveseen, over the
  course olthe last several months, real progress In proximitytalks and In building towards what we hope can
  soon be directtalks on a comprehensive peace. Andwe hope that the conditions -- conditions certainly
  throughoutthe region don't change that.

     Q   Is there anycall for restrainton the part of the U.S.?

    MR.GIBBS: Well, obviouslyI think thatIs something that I'm sure YOU'll hear out otthe StateDepartmenttoday
  as well.

    Q Andon the domestic front,TreasurySecretary Gelthnerwas speaking todayabout Elizabeth Warren as a
  potentialcandidatefor the Consumer Flnanolal Protection Agency Chief. How much closer Is the Presidentto
  making a deoislon on that? Will he do so beforehe goes off to Martl1a's Vineyard for vacation?

     MR.GIBBS: I don't knowwhetherhe'll make a decision on that beforethe 19thof August. I do not expect

whltehouse.gov/..';press-briefing-press...                                                                                                    2/13
8/27/2010                Case 1:10-cv-01469-JDB      Document
                                            Press Briefing by Press3-2    Filed
                                                                    Secretary    08/30/10
                                                                              Rober...                                  Page 62 of 153
  anything this week on that topic. i don't thinkanything is imminent.

    Yes,ma'am.

     Q Robert, two questions. First of all, PresidentZardarltold t.e Monde todaythat"the international community
  to which Pakistanbelongs Is losing the war against the Tallban. Above ail, It Is becausewe've lost the battlefor
  hearts and minds," When a partnerlike that-- a supposed partnersays something like that,what does that say
  about where we are in Afghanistan?

    MR.GIBBS: Well, I don't think the Presidentwould agree that-- with PresldentZardarl's conclusionthatthe
  war is lost. I don't·" again, I haven'tseen the interview, I don't know what he -- whyhe's come to that
  conclusion, But I think It Is safe to say thatthe actions and the efforts thatthe coalition,International forcesand
  American forces,havetakenover the last several months haveverymuchthe hearts and minds of the Afghan
  people at the forefront.

     And I would say this, The Afghan people knowof the brutalityof the Tallban,Justas the Pakistanipeople,on
  the actions that their extremistcounterparts were takingIn Pakistanlast yearto moveon the capital of PakistanIs
  why thecountryof Pakistanstarted to take more direct actionagainst safe havens.

     So I think thatthe hearts and minds of those In Afghanistan and Pakistan are obviouslya keypart of our
  strategy, as well as the hearts what Is in the hearts and the minds of the extremists that seek to do Afghans or
                                 «



  Pakistanis harm.

     Q   Just to follow up?


     MR. GIBBS: Let me go around.

     Q   I just wanted to ask something a little offtopic, a little more fun, The President's birthdayIs tomorrow.

     MR, GIBBS: It Is,

     Q Anyspecial plans?


     MR. GIBBS: obvoustywe travel to Chicago later tomorrowafternoon. We'll probablyhave more information
  on this later, but I asslime that·" I think his plans for tomorrow are dinner with some friends In Chicago. AndI
  think he Is looking forward to spending the night in his house for a change.

    Q He's been referencing his age a lot lately, He did It at the sub shop, talking about his slowing
  metabolism. He did Ityesterday, talking about his grayinghair. Does he feel like the weight olthe presidencyIs
  perhaps accelerating his aging?

    MR,GIBBS: I can't Imagine that the weight of the job doesn't take a toll physicallyand mentallyon anybody that
  does it. Butat the same time, I think he's still •• I would say he's stili ln prettygood shape and is having •• is
  enjoyingthe Job evenWith its manychallenges, He knew what he was getting himself Into In deciding several
  years ago to undertake this.

     There's no doubt that it takes an enormous physical and mental strain on making the decisions thatyou
  make, on sending youngmen and women offto war or tackling the greatesteconomiccalamityour country has
  faced since the GreatDepression. But I knowhe greatlyenjoys It,and Itwill Justrequire him to get more frequent
  haircuts,

     Yes, ma'am,

     Q There's a debatethat's taking••


     MR.GIBBS: LikelyI'm going to hear aboutthat. (Laughter.)

     Q There's a debate that's taking place in New YorkCitywhetheror not It's appropriateto build a mosque, an
  Islamic cultural center, near the site of oround Zero, Whatis the administration's position on this?

     MR.GIBBS: Suzanne, I've been asked aboutthis a couple times, I thinkthis Is rightlya matter for New York
  Cityand the local communityto decide,

     Q The President takes a position on religious freedom,on tolerance. Whywouldn't the administrationweigh
  In onthis?

    MR.GIBBS: Weil, I thinkwe have·· I thinkyou've heard this administrationand the last administration talk
  about the factthat we are not atwarwlth a religion but with an idea that has corrupted a religion. But,that having
  been said, I'm not from here going to get involved In local decision-makingi1ke that.

whItehouse.gov/ ...jpress-briefing-press...                                                                                              3/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2    Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                        Page 63 of 153
      Q Do you think the Anti-Detamation League has a correctpoint of view in saying,out of the sensitivityto some
  of the victims of 9/11, it's not appropriate?

    MR. GIBBS: Suzanne, again, I think it is a decision that is appropriatelydebated at the local level,

      Q On anothertopic·· McCain,Coburn reportthat cites economic stimulus money they say has been
  mismanaged or wasted, Theycite 97 projects out of70,000, Do you believe thatthis is good news, bad news?
  Is there some acknowledgmentthat some of those projects actuallymight not be well managed?

     MR,GIBBS: Well, I think there was an acknowledgmenton their part,In puliing a couple of their projects out of
  their report thatweren't ultimately recovery projects, I think this has, Suzanne, much more to do with politics, I
  think maybe the best person for SenatorMcCainto debate on this would be the chief economic adviser of his
  own presidential campaign, who not onlyweighed In on the President's recovery pian, but has In the last week
  written an analysis of what our economywould look like without the steps that we took,

     It's a report that instead of 8 miliion jobs having been lost. that figure would be 16 million jobs, So I think this
  Is a •• look, everyday,the Vice President and the Vice President's staff work diligentlyto ensure that projects that
  receive funding abide by certain standards, All of that is on tile Internet·· a level of transparencynot seen In
  governmentprograms, particulartythose of the magnitude of this, And I would sllggest that John McCain and his
  chief economic adviser during that campaign, I think the debate Is probablybetterbetween the two ofthem.

    Q Do you It's a credible report?


     MR. GIBBS: From what I've read, no,

    Yes, sir,

     Q Following up on that,for those of us who covered the McCain campaign, I don't think anybodythought
  Zandl was actuallythe chief economic adviser, He was somebody who was consulted, AndZandl has told me
  that he's a registered Democrat. 80, I mean, isn't it a little disingenuous to hold him out there as an example of
  Republican thinking?

     MR, GIBBS: Because he's a registered Democrat?

    Q Well, theywere reaching out to people who thlnk differently, He Is not the person who formulated the
  McCain economic plan, He's not their chief economlc adviser,

     MR, GIBBS: Was he not a McCain •• okay, was It··

     Q   He was an outside adviser to the campaign ••

     MR, GIBBS: He was a keyeconomic adviser?

     Q No, he was somebody theyconslilted on economic Issues, But,I mean, to treathim as the guywho
  formulated the McCain economic plan I think Is just not accurate.

     MR, GIBBS: Well, I·· apparently, according to vou, Chip, he took part in a couple conferencecalls. I don't think
  either John McCain or MarkZandl have portrayed their role quite as minimally as you have, I would say··

     Q But I'm just saying he was not the person who formulated the core of the McCain economic plan,


    MR, GIBBS: Well, needless to say he was an active participantregardless of his partyregistration on the
  campaign of John McCain, I don't think we're going to doubt that his support was for John McCain, And John
  McCain has apparentlycome Into a disagreement with a guy that playeda prominent role In his presidential
  campaign,

     Q Hasn't he also advised your administration?


     MR, GIBB8: Pardon me?

     Q Zandl·· hasn't Zandl also advised this administration with the stimulus?


     MR, GIBB8: Theycertainlyhave•• we talked to a whole host of economists,

    Q Exactly, that's how theydescribed his role with the McCain campaign, that theytalked to a whole host of
  economists,

     MR. GIBBS: One of them being MarkZand!.


whitehouse.gov/" ';press-briefing-press...                                                                                                   4/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2     Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                    Page 64 of 153
    Q    Just as the White House·· he Is one of the people you consult.

     MR.GIBBS: We're happyto list Markas somebodywho we'vetaken advicefrom, We thoughthis advice was
  so right on the stimulus thatwe pursuedan economicrecovery plan thatI think Mark's own paper describes
  along with Alan Blinder,the former vicechair of the Fed,as having had a significantImpacton ensuring thatthe
  depth of our recession didn't reach a GreatDepression.

     Q Do you agree then with MarkZandl,who said the taxcuts shouldn't be allowed to expireIn the middle of a
  recession?

    MR, GIBBS: The President believes thatwe should not raise taxes on the middle class,

    Q He says across the board.

     MR. GIBBS: Right. The Presidentbelievesthat adding $700 billion to our deficitfortaxcuts for those making
  In excess of $250,000a yeardoesn't make sense,

    Q    So Is Zandlwrong about that?

    Q ThatIncludes businesses,


     MR. GIBBS: We disagree with him on that.

    Q    Andfhatlncludes businesses though, Robert, It's not just Individuals, right?

     MR. GIBBS: Well, understand that, again, this Is the debatewe had during the campaign In which we now
  know which waythe participants line up, The nLlmber·· you'll hear this a lot during this debate·· "You'regoing to
  raise taxes on"··

     Q Small business.


     MR. GIBBS: Right. Just as we said during the campaign that about 2 percental small businesses fall into
  that category. So When youhear _.I mean, let's be clear, this Isn't about small business, because ifyoll were for
  cuttingtaxes on small business, would yoube holding up a small business tax.cut In the United States Senate
  right now? Wouldyoube !wldlng up a bill thatallows them to deduct more ofthelr InvestmentIn equipmentIfyou
  were supportve of small business? Wouldyoube holding liP a bill thateliminates capital gains for small
  buelness? Well,no, right,because you'refor small business, exceptwhen you're not for small business.

     I would say I think theyuse the moniker 01small bustnees when It fits their political lens. But In reality, this
  Isn't something thatls going to Impact on 98 percentof small businesses. It's not going to hit a majorityof
  families In this COW1try. The President believeswe oughtto protectthose In the middle class.

    Q Changingtopics, The President Is hitting the campaign trail. Has the White House heard·- there have
  been these reports recentlythat the White House has heard from various Democrats that theypreferthe
  Presidentnot come to their districts and campaign lor them, Has the WhiteHouse heard Irom peoplewho have
  suggested that? Andif so, Why do you thinkthat is and will the Presidenthonor their request?

     MR. GIBBS: Chip, we'll help people wheretheythinkwe can help them tile most. I think that's largelybeen··
  that's been how Itwas when the Presidentcampaigned for Democrats as a senator,When he was running for
  the Senatein 2004, and I think how most WhiteHouses deal with political requests that come In.

    Q But in 2006 and 2008,Justabout everybody wanted him to come to their districts and now there seem to
  be a lot of peoplewho don't, Whydo youthink tilat Is?

    MR, GIBBS: I don't neceaaarllybelievethatIn 2006 •• I think If you look In 2006 and 2008, we stayed in a
  certain numberof states, I don't-· we neversaid we were going to all 50 states.

     Look,Chlp, again, I think It's a falrlyweil worn adage thatwe will go to places where candidates think that
  that's helpful. We will raise moneyfor places .- In places where candidates and committees think thatthat's
  helpful. We'll be In mall, we'll be In -.

     Q   Will youstayawayfrom places lfit's not helpful?

     MR.GIBBS: Well, of course. Absolutely, No,we're not going to go to places where people think It's unhelpful
  thatwe go, Thatwould be crazy, (Laughter.) I mean, I·- breakingnews alert, but,youknow           «




     Q /ve there are a lotofthose places, you think? (Laughter.)


     MR. GIBBS: I don't think so, I don't   «




whitehouse. gOY/ .. ';press-brieflng-press...                                                                                            5/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2    Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                  Page 65 of 153
    Q Can youname them?


    Q WI1ich districts?

    Q Could you name those places?


    Q Could you get backto us with a list?


    MR. GIBBS: Yes, i think I'vebroken new ground here, Wewill not go places where candidates think it is
  unhelpful for us to go, Storyand film at 11:00, (l.auqhter.)

    Q On the Gulf,in the Oval Office address, the Presidenttalked abouta Gulf restoration plan eventuallythatBP
  would payfor, Wtlereare we on that? is there going to be an announcementof that at some point?

    MR. GIBBS: Well, I would say this ••

    Q And what kind of moneyare we talking about?


     MR. GIBBS: Well, I would say·· I don't thinkwe've reachedthat point yet. Thereare a series of·· therewill be
  a series of fines, Therewill be a fine thatthe governmentrequires BPto paythatwill be based off of the amount
  of pollution put Into the Gulf,which I think byanyaccordwill be a substantialfine.

     In addition to that·· and I can checkon where the exactprocess Is·· naturalresources damage assessments
  will be made •• BPIs liable for the damage that it's caused to the environmentabove•• mats differentthan a
  penaltyfor the poltutton that's been emitted,

     Secretary MabLls Is working through the process of GulfCoast restoration, Andwe expectI think his reportto
  the President sometime the latter part of September,

    Q Andare we talking about a fund of billions of dollars that BPwill be ••


    MR. GIBBS: Well, I think maybe·.

    Q •• paying Into this?


     MR. GIBBS: I thinkthat the penaltyon the oil emitted,If I'm not mistaken,that is a penaltythat goes to the
  Treasury, The natural·· the damage assessment, I thinkwill, be withouthavinga lot of backing on this directlyIn
  front of me, I thinkwill be a substantial penaltybased on the damage thatthe pollution has caused,

      Q Andthe last question, Is the Presidentupset at all that his familyIs not going to be with htrnon his
  birthday?

     MR. GIBBS: Well,you get a long answer about ··1 think It's safe to say that of course he will miss them, He
  has a daughterat camp that I know he's alreadytalkedto a couple of us that obviouslyhe dearlymisses, But
  they'll be all backtogethersoon.

    Q Has he called camp?

    MR, GIBBS: I'm not going to get Into that.

    Wendell, welcome to the front row.

    Q Thankyou,

    Q Can we get a readoutof that? (Lauqhter.)


      Q If I can follow on Jennifer··If I can follow on Jennifer's question, In Secretary Gelthner's op-ed,"Welcome
  to the Recovery," he cites a number of statistics, Includingthe auto Industryrecovery and increased savings
  rates, And I wonderIf the President believes thereIs enough good economic news to get people past the 9,5
  percentunemploymentrate?

     MR, GIBBS: Well,look, I think before and afterSecretary Gelthner's op-ed, I don't think Secretary Geithnerin
  his own op-ed believes that 9.5 percent unemploymentdoesn't present serious challenges, AndI don't think
  anybody·· the Presidentand the Secretary Included •• believethat despite the progress that we made In where
  we were and where we'vecome to, I don't think anybodyis satisfied thatwe're •• thatwe've made enouqh or that
  we're out of the woods,

    We'll get jobs numbers at the end of the week, I will stipulate,as I havemanymonths In a row, that I don't see

whitehouse.gov/..';press-briefing-press..,                                                                                             6/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2     Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                   Page 66 of 153
  those numbers beforethey're announced. I don't know whatthis week's --or this month's numbers will show.
  But our hope Is thatwe will build off of positiveprivate sectorjob growthheadingInto the seventh monthIn a row
  as a positivesign.

      Is the economyadding jobs fast enough or as fast as we would like to see It? No, of course not. I thinkone of
  tile things thatwould be a good antidoteto where we are Is the Senate passing a small business bill thatwould
  spur investmentbysmall businesses and provide them the credit theyneedto expand and hire.

    Q Given the economicdifficulties,pollsters PatCaddell and DOlig Schoen say the tone of the President's
  comments, especiallyIn political circumstances recently, seems to haveabandonedthe politics of hope to be
  appealing more to the Democrats' base. IVe they--

    MR. GIBBS: How so?

     Q More negative, Forexample,yesterday at the DNe fundraiaer, talking about,as he has In the past,
  whether or not we should give the keysto the Republicansand put the car In reverse or drive. One,has he
  abandoned the politics of hope, at least forthe midterm elections? And two,does Rand D stand for reverse and
  drive,or Republican and Democrat?

     MR.GIBBS: Both. Ananalogyhe used during the campaign In which I thinkwe were criticized as being too
  much about hope. I don't- I can't divinewhatPat Caddell and Doug Schoen -- what their agenda Is. I will say
  this, Wendell. The Presidentbelieves that thereIs a choice thatwill be made, and it Is exemplified in the analogy
  fhat he uses -- are we going to go backwards to the typeof policies that led us to the greatesteconomiccalamity
  that most of us have everknown,or are we going to continueto make progress and go forward?

     Understandthe agenda of those on Capitol HilI. Let's take, for Instance, the last piece of -- the last piece of
  reform thatthe Presidentput into place was financial reform,new rules forthe way Wall Streetand banks
  operate. The Republican plan for that: repeal it. That seems like a fine thing to debatecome this fall.

     Q Is he concerned that he might turn off Independentvoters?

    MR. GIBBS: No, I think Independentvoters want rules in the road for -- new rules In the road for--

     Q Lookingat the poll, notJusttalking aboutthis specific legislation.

     MR. GIBBS: Look, I think ifyOll look at the tone of the President's remarks In the auto factories In Detroitand
  Hamtramckon Friday, I think the President-- the Presidentsaid don't bet against the American worker. I think
  that's the tone that he'll havea lot during the fall.

    AnyInterestingemalls.Ms. Guthrle? (Laughter.)

     Q Oh,sorry. (Laughter.) Gosh,that was embarrassing. On taxes          »




     MR. GIBBS: I didn't ask you to read them, Ijust-- (laughter.)

     Q You might wantto.


     MR.GIBBS: Bill, stop emalllnq Savannah. (Laughter.)

    Q It's from my boss. On letting the Bush taxcuts expire, giventhe continuing economic difficullles,would the
  administration be open to a compromise position of having the Bush taxcuts for the wealthiestAmericans be
  phased out overtime?

     MR.GIBBS: Well, look, our viewpointIs thatfor the wealthiestAmericans -- I don't think the wealthiest among
  us have-- well, theycertainlyhaven'tfelt the typeof economic downturnthatthe middle class not only
  experienced during that economic downturn, but in the yearsthat led up to It. And, again, as we'vesaid, adding
  those taxcuts on, continuingthose taxcuts,likelyadds another$700 billion to our debt.

     Q   So no room on compromise, on lettingthem expireat the end of this year?

     MR.GIBBS: I think the President-- the President's viewpointis protectour middle class -- protectthe middle-
  class taxcuts and let those for the wealthyexpire.

     Q On tile Judge'sdecision yesterdayin the Virginialawsuit -- I know It's procedural in nature, but he did say
  that one of the strongest claims the governmentmade in defense of that healthcare Individual mandate was that
  Itderivedfrom the government's power to tax. Bypressing a legal argumentIn courtthat that individualmandate
  Is a tax, Is the administration acknowledging It's basicallypassed a taxon everybody and would violate your
  pledge not to taxthe middle class?

     MR.GIBBS: No. Again, I'd go back to something like the car insurance example. I thinkwe all paya taxwhen

whltehouse.gov/ ..,jpress-brleflng-press."                                                                                              7/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2     Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                     Page 67 of 153
  all of us don't havehealth care, right? We paya taxln yourhealth care premiums, because Insteadof having
  health care that pays for the bills If you're In an auto accident, If you don't have Insuranceyougo to the emergency
  room and the rest of us payIt.

    The Presidentbelleved and this was not a position he originallytookIn the campaign, but believed that if
                             »


  we're going to bring down health care costs, youhaveto haveeverybody In the system.

    Q Butyou'reacknowledging It's a tax?


     MR.GIBBS: Again, I think that the Presidentbell.eved that If we're going to havethe typeof savings ttlat we
  need, if we're going to havethe typeof benefits we all know can come from health care,everybody has to be In
  the system.

     Q Is It a violation of the pledge not to raise taxes on the middle class?


     MR. GIBBS: No.

     Q How come?


    MR.GIBBS: Again,I ttllnk the Presidenthas spoken prettyclearlyto the reasons for making sure that each of
  us has coverage.

    Q Okay, one last thing real quick. Just to get It on the record, the First Lady's trip to Spain with Sasha,what
  portion of thatIs paid bytaxpayers and what portionby··

     MR. GIBBS: I would point you overto the First Lady's office. It's a private trip and is being paid for thatway.

    Q The Presidenttomorrow meets Wittl the AFL·CIO. Is he going to reassure them that trade pacts·· excuse
  me, free trade agreementsWith Korea and othercountries havestrict labor rules in place to protectAmerican
  workers?

     MR. GIBBS: Well, look,me Presidentbelieves thatwe ouqht to haverules in place that make sure tl1attrade
  works for everybody here In America. That'swl1y the President has pledged beforegoing to Korea In the fall that
  we'd present an agreementlhatmade sense for the auto Industry, made sense for the beef Industry, and notJust
  simply passing along a free trade agreementthatexistedbefore. The Presidentbelieves that» and I think If you
  look at eitherthe GDPnumbers or any reasonableeconomic growth plan for the future, it involves having to
  increase our exports.

     Here's a good exam pie, and it's sort of in the realm of some of the concerns thatwere had about the free trade
  agreement under the susn administrationwere aboutautos. And, look, because of help that FordIs gettingfrom
  the Departmentof Energy, the factory the Presidentwill visit outside of Chicagogot moneyto help retool. That
  retooling allows the new FordExplorernotto be built on a truckframe but to be built on a car frame,which means
  the car itself Is more fuel efficient, and that is a gatewayfor •• and Ford's business plan calls for specifically
  marketingthis car notJustin this countrybut overseas. Thathelps •• theyJustadded 1,200jobs, bythe way,at
  that facility, so that helps put people to work;that helps grow our economy; that helps with our tradedeficit and
  our Increasein exports.

     Q   Will he make anynew assurances of things that he wants to see?

    MR. GIBBS: I 11avenot seen ihe draftof the speech ln total yet. I think the Presidentwill talk aboutthe
  economic decisions thatwe havemade and Where we ga·- where we're gOing forward.

     Peter.

     Q Robert, following up on a couple questions you took earlier about the Gulf situation,what kind of
  reassurance can the administration offerto peoplewho live therewho are worriedthat once you do havethe
  ultimate solution with the relief well tl1at the governmentand BP are not going to be there forthe long haul on the
  environmental cleanup?

     MR.GIBBS: It's a verygoodquestion, and, look, I think if you go back to the answers that I gavearound BP's
  decision to changeCEOs,I think certainlyThadAllen,Carol Brownerand others haveat every opportunity taken
  the chanceto both tell BPtheycan't leave,and reassuring people thatwe're In the Gulffor the long haul.

     Capping the well, thoughfor the past 100 or so days has been our most Immediate project,tl1at does not,as
  you say,tl1at does not allow us to, and this governmentwill not,walk awayfrom the obligations to continue
  protecting the coastline, continuecleaning up the damage thet has been done, billing BP for that damage, as we
  talked about In both the cleanup activities themselves as well as tl1e damage assessments thatwill be made
  about thatdamage, and continuingto workto Implement the escrow fund thatwill payfor not just tl1e
  environmental but thenthe economic damages caused bythe spill In that region.


whitehouse.gov/ ..';press-briefi ng-press...                                                                                              8/13
8/27/2010               Case 1:10-cv-01469-JDB      Document
                                           Press Briefing by Press3-2     Filed
                                                                   Secretary    08/30/10
                                                                             Rober...                                      Page 68 of 153
    I think that we would all agree, we do all agree, thatwhat has happened requires our continued focus long
  past capping that well and our commitment is to continue to do so.

     Q Is there any initial dollar estimate or time estimate on Ulecleanup? How much It's going to cost and how
  long It's going to take?

     MR. GIBBS: Let me see if they have"" without me sort of guessing on this, let me see What typeof updated
  figures. I assume partly, too, what I said earlier in the question where I answered about Secretary Mabus,I think
  some of that will likely also come in his reportagain to the President later In September:

    Yes, ma'am.

    Q    Senator McConnell said In an Interviewtodaythat the President's Immigration lawsuit against Arizona was
  a "blatant political move to help his reelection." He said Itwas more about helping the President get reelected In
  2012 than helping the Democrats in 2010. Do you have anyreaction to that?

     MR.GIBBS: Well, I think later In the interview·· didn't later in the interviewthen he surmise that we ought to
  take a look at the 14th Amendment? So I guess "" I don't know if that was based on 2010 or 2012, but my hunch
  is It's based purelyon politics.

    The President and the Justice Departmentwere concernedabout the law creatinga patchworkof
  environmental·· I'm sorry·· of Immigration policies. The case that we made to the court in Arizona was just that,
  and the court ruled Indeed that Arizona and other states can't and shouldn't create a patchworkof Immigration
  laws throughoutthe country. So It wasn't an arqument thatwas based on anything other than a legal argument,
  and honestlya legal arqument that the Justice Department proveto a Judge.

    Q So Uleidea that this will have a lono-terrn benefit for Democrats ••


    MR. GIBBS: I will say·· I'vesaid this before, I'll say this again ··It builds off of Chip's political questlon, The
  President has made a lot of decisions In this White House. I think if you were to·· I think If you look at the polling
  on the particular decision, the numbers aren't exactlywith us, right? Ifwe were making decisions based on
  politics, or on polling, we'd get a new pollster. I don't think·· no, the DNG has a pollster. We wOlildn't·· those
  decisions are made on what's best for the country, not on politics.

    Q He also said that ElI7.abeth Warrenwould be a verycontroversial nominee to the Consumer Protection
  Agency. Do you haveany comment on that?

     MR. GIBBS: Based on what?

     Q That's what he said during the Interview.


     MR.GIBBS: I don't know what he bases ··It would be Interestingto know what he based his comments on.

     Q A lot of people have said that she could be a controversial pick.


     MR.GIBBS: Based on?

     Q Imean, Senator Dodd has said that she might not get enough votes to be ••


     MR.GIBBS: Based on?

     Q Okay, the AFL·GIO event, can I Justask one thing ··Is It at the WhiteHouse tomorrow?


     MR.GIBBS: I believe it's atthe Convention Center,yes.

     Q      AndWhy Is the President meeting with them? Do you haveany backgroundon the meeting tomorrow?

    MR.GIBBS: We can get It. It hasn't been put out yet. Butwe'lI send It out, I mean, look, I think working men
  and women are an Importantpart of this country. And the President looks forward to speaking tomorrowwith the
  executive council as he's done on a number of occasions.


     Ari.

     Q Human rights lawyers are challenging the administration's assertion that an American citizencan be
  targeted for killing overseas. Should Americans worrythat If they go overseas, their own governmentcould target
  them to be killed? Anwar al·Awlaklls the person In question, but the legal principle ••

     MR.GIBBS: Okay, let's ··Iet me just for the point of·· I don't know what I would make •• I think youlust largely
  said a tourist going overseas and Anwaral·Awlakiare somehow analogous In nature. I'm not a ...

whltehouse.gov/ ..';press-briefing-press...                                                                                                 9/13
8/27/2010             Case 1:10-cv-01469-JDB      Document
                                         Press Briefing by Press3-2    Filed
                                                                 Secretary    08/30/10
                                                                           Rober...                                  Page 69 of 153

    Q ButIf the U.S. decides that an American citizen Is affiliatedwith a terroristgroup--

    MR.GIBBS: No, no, let's be clear, let's be -- no, no, let's be clear.

    Q Is there anylegal process?

      MR.GIBBS: Let's be clear aboutAnwar al-Awlakl, okay? The United States hasn't decided thatAnwaral-
  Awlaklls aligned with a terrorist group. Anwaral-Awlakl has In videoscast his lot with al Qaedaand Its extremist
  allies. Anwaral-Awlakl is acting as a regional commander for al OaedaIn the Arabian Peninsula. So let's not
  take a tourist that might visit Italyoverseas and equate him to somebodywho has on countless times in video
  pledged to uphold and support the violentand murderous theories of al Qaeda. There--

    Q The U.S. has mistakenlyidentified peopleas terrorists In manyinstances In the last eight years,and If
  Americans can be targeted for killing --

     MR.GIBBS: Arl,It's hard to Imagine an Issue in which two things havebeen conflated more than your
  question In the past 18 months of me taking questions here. I think the notionthat somehow anybody In this
  counuvconfuses traveling overseas and the role thatAnwaral-Awlakl has In Incitingviolence-- they'renot evenin
  the same ballpark.

    Q Areyou acknowledging that AwlakiIs on the assassination list, tllen?

    MR. GIBBS: I Justanswered nls question aboutcomparing Joe the Touristto Anwaral-Awlaki.

    Q Just a quick follow to that. U.S.citizensare entitled to a certain[udlclal process when It comes to
  questions like this, when It comes to sentencing to death. And Is there a process in place thatwe don't know
  about?

    MR.GIBBS: There's a process in place thatI'm not at libertyto discuss.

    Q Thankyou. Returning to the tension in the MiddleEast,if It begins an all-outwar Involving Hamas:
  Hezbollah and Iran,the countries around --would the U.S.come to Israel's defense militarily?

     MR.GIBBS: It's hypotheucat dayhere at the WhiteHouse. I'm, Connie,not going to obviouslyget Into
  discussing what If therewas an all-out war in the MiddleEast. Obviously the Presidenthas since the moment he
  walked Into the Oval Office taken steps to pull us backfrom those typeof tensions. I haveon countless times
  stated our lone-held,countrywide position of protecting the securityof Israel and Its people, and me WhiteHouse
  and this countrywill continueto do so.

    Q Andanything new from Iren-- on tile three hostages in Iran?

     MR.GIBBS: Nothingnew. ObViously It's been -- Fridayand Saturday represented a year of them being
  wrongly held bythe Iraniangovernment. Andthe Presidenton Fridaycalled for and continues to call for the
  release of three people that are wronglyheld.

     Q Thanks,Robert,two questions. One,the Presidenthas been trying his best to bring those who do not
  support the U.S.on terrorism and also who does harborand financeterrorists In the Afghanistan region. Does
  the Presidentnow believePakistaniIntelligence, Pakistanimilitary, and Pakistanicivilian governments, that they
  will not-- theywill support the U.S. from now on?

     MR.GIBBS: Well, I will give youlargelywhat I gavelast week on this, and thatIs I think If youlook at the
  progress thatwe have made with Pakistanon safe havens, on confronting terrorists,I think thatIs a recordthat
  theyand we can be proud of. Is It·- does more haveto be done? Unquestionable. We havetoughwork ahead
  In Pakistan and in Afghanistan. Andtogetherwith our partners,we'll make progress.

    Q And second, on immigration-- and, first of all, my happybirthdayto the President In advance.

    Q Oh,boy. (l.auqhter.)

    Q My second question Is on Immigration.

    Q I havea follow-up. (Laughter.)

    MR.GIBBS: I'm going to put Georgeand Peterdown as no happybirthdayfor the President.

    All right, go ahead. I'm done. (Laughter.)

    Q   Thankyou. Secondon immigration, most of the polleechiefs around the countries are against the Arizona

whltehouse.qovl.. ';press-briefing-press...                                                                                           10/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2     Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                   Page 70 of 153
  immigration law, Whattheyare saying is that If lhls spreads around the country, it will bring more violence and It
  might be out of the hands of the police around the country, So where do we go from here?

     MR, GIBBS: Weli, look,Obviously the court ruled and stayed manyof the provisions that were set to go Into
  effectlast Thursdayaround this law, I think police chiefs In Phoenixand Tucson•• the two largest cities In
  Arizona •• have, as you said, Goyal. expressed manyreservations about what theybelieved this law would Intend
  for them to do, and along with others, spoke out and filed briefs with the court,

    Where It leaves us Is the same place thatIt leavesus ··Ieft us last week, Andif·· SenatorMcConneli brought
  up Immigration earlier, If SenatorMcConneli would like to solvea problem ratherthan to continueto talk about
  one thatwe haven'tsolved at a federal levelfor manyyears •• it's time to bring togetherDemocrats and
  Republicansto do Justthat.

    That's the onlywaywe're going to make progress on comprehensive Immigrationreform, Is to do lt toqether
  and to do It In a waythat's bipartisan,

      Q Thanks,Robert, With the Kaganvotecoming up this week, I wantedto ask, on July 19th,writtenanswers
  to the JudiciaryCommittee,she said that she had ceased doing her full duties as SolicitorGeneral afterthe May
  10th nomination, Has she been receiving her full salary as SolicitorGeneral since then, or should she?

     MR, GIBBS: I'd point you overto the Departmentof Justice on that. I don't knowwhat the payrecords are.

     Q Do youthink she should receive ••

     MR.GIBBS: I'd point youto the Departmentof Justice.

     Glenn.

     Q Robert, overthe last couple of weeks youfolks haveputthe Presidentout tilere and broughtfolks to the
  briefing to emphasizesortofthe things thatyou haveaccomplished In the past 18 months. We had the >- an
  updateon the auto bailout we had his Iraq speech yesterday, A lot of this doesn't seem to be gettingthroughto
  voters In general. We saw a Galilip poll todaythat has the Presidentat 41 percent, which is low, I think,on their
  scale for the administration. Is It frustrating ••

     MR.GIBBS: Leaving aside that the otller Gallup poll showed It at 45, ButI'll leaveGallup to explainthe margin
  of error.

     Q Oallupversus Galilip. Or Is It Gallup versus Zandi?

     MR. GIBBS: I guess, I think GallUp Is with·· kidding. (l.auqhter.) Go ahead.

     Q Is it frllstratlng to the Presidentthat these messages on these accomplishments don'tseemto be getting
  throughto people, and whydo you think they're not?

      MR.GIBBS: Look, I would say,Glenn,I don't thinkthe Presidentspends a lot of time •• the President spends a
  lot of time worried about how we make progress, not worried aboutwhether peopleare giving him enough credit
  for the progress that's been made.

     I'll be honestwith you•• and I said this last week, Glenn·· I don't think people ··1 don't» I wouldn't hold the
  auto investmentagainst the American people because I don't think the storyhas been told, I don't think thatthe
  American people knew thatfor the first time in 10 years we were adding jobs to the auto Industry, and had added
  55,000Jobs since GMemerged from bankruptcy; or that for the first quartersince 2004,ali three companies at
  the same time posted an operatingprofit;or thatthe moneyinvested bythis administrationwas verylikelyto be
  repaid In full.

     I don't ··1 think in rnanyways the auto storywhere we started•• or where It beganIn late March of 2009, and
  where we are now In late Julyand earlyAugustof201 0 Is in a much differentplace, I thinl< the Presidentbelieves
  that,and hopes that people will, whetherIt's adding jobs in the auto Industry, whetherIt's taking 94,000 soldiers
  out of Iraq,i think that the Presidentonly hopes that people iook at what he's done and base their concluslons off
  that.

     I get the ••

     Q How much of it is the unemploymentrate?


     MR.GIBBS: Alotoflt.

    Q I mean,voucan send him out on a sales pitch every day,but as iong as tile product includes 9.5 percent,
  can you get around that?


whltehouse.qov/ ..';press-brieflng-press, ..                                                                                            11/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2     Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                       Page 71 of 153
     MR.GIBBS: I think as the President has said before, if a pollster called youand youthoughtyoureconomic
  situation was not as good as it could be, lt was too expensive to send yourdaughterto college,yourneighbor
  had just lost their house, and vour « somebodyelse In your familyJustlost a Job, and the pollster asked youhow
  theythouqhtthe Presidentwas doing, I don't think he would be surprised that the American peoplewould answer
  to a pollster that they're concerned.

    Q Howdoes he get around that,though?

     MR.GIBBS: Well, two things: continuingto tell people what we're doing, and to continueto tell people the
  choices thatwe haveto make. And I think,as I said earlier -- again, I don't think a lot of people had the totalityof
  what the auto storywas. I don't know how manypeople know thatwe're at the lowest point In I don't knowhow
  manyyears in our troop level In Iraq,or thatIf you look at civiliandeaths •• what are likelyto be the number of
  civilian deaths in Iraq in 2010 and what theywere at the 11elght of the Iraqwar, we're talking abouta reduction of
  92 percent.

     But that's what the President's Job Is to continueto tell people what's been done.

     Ms. Ryan.

     Q Robert, on the crack cocaine sentencinglaw, It's down from 100 to one to 18 to one, but some on Capitol
  HIli feel that the fight still needs to contlnueto bring the disparitydown to one to one. Whatis this
  administration's efforts on that push? Areyou leaving It here and Justaccepting this, or moving forward, still
  trying to bring the disparitydown?

     MR.GIBBS: Well,let me see If there's anyguidanceon it. I will say this, April,I thinkthe signing of today's bill
  Into law representsthe hard work of Democrats and Repllblicans coming .- this is a good example_. of coming
  togetherand making progress on something that people had Identified as a glaring blight on the law.

     Look, I thinklf vou look at the people thatwere there at that signing, they'renot of the political persuaslons that
  either alwaysor evenpart of the time agree. I thinkthat demonstratesthe, as I said, the glaring natureof what
  these penalties had·- the glaring natureof what these penalties had done to people and how unfair theywere.
  And I think the Presidentwas proud to sign that into law.

     Q And also, SenateRepublicans are being blamed again for holding up or delaying the stand-alonevote for
  the Black Farmers. And John Boyd, the head of the NationalBlackFarmersAssociation, wants a meetingwith
  the Presidentand wants assurances thatthe BlackFarmerswill be paid their settlementmonies. Andhe's
  likening It to the assurances thatwere givento BlancheLincoln -- SenatorBlancheLincoln for $1.5 billion farm
  relief SUbsidy payments.

      MR.GIBBS: Well, again, this administration has worked a lot overthe past several months to tryto get this to a
  point where we can make good on the judgment thatwas handed down,and the administrationwill continueto
  try to do that,April.

     Q \Mil he meetwith •• will the Presidentmeetwith John Boyd at all7


     MR.GIBBS: I think he met veryrecentlywith Valerie Jarrett.

     Q   He wants to meet with the President to expresshis concern.

     MR.GIBBS: I don't haveanyknowledgethatthat's on the schedule.

     Q Thankyo", Robert.

     MR.GIBBS: Margaret.

    Q Robert, thanks. Do you haveany information, any detail aboutwhat's on deck for Friday? I checked the
  schedule and It said something about news.

     MR.GIBBS: Offthe top of my head, I don't. I'm trying to conjurethat up, but let me see If there's anygliidance
  for Friday.

     Q And then quickly, this is probablypreface to Arl's question earlier,but there is a lawsuit that the Centerfor
  Constitutional Rights and the ACLlJ Is bringingtodayregarding the policies or lack _. perceived lack of policies
  as theyrelateto Mr. al-Awlakl. And what I wanted to ask Is ·-1 mean, vouIust told us there Is a process In place
  thatyou're not at libertyto dlscuss. Is thatgoing to be the government's position,or are you going to disclose
  what the polleyIs? Do yell think there's anymerit to this lewsult?

    MR. GIBBS: Well, look, again, there is -·I'm lust not at libertyto discuss intelligencematters, Margaret. I
  would say--I will repeatthatAnwaral-Awlaki Is someone Who has sworn allegianceto al Qaeda in the Arabian

whItehouse.gov/ ..';press-brlefing-press..,                                                                                                 12/13
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                          Press Briefing by Press3-2    Filed
                                                                  Secretary    08/30/10
                                                                            Rober...                                                        Page 72 of 153
  Peninsula, Is a regional commander for that group In Yemen,has and continuesto direct attacksthere and, as
  we know, against innocent men, women and ohlldren In this country.


    And this President will take tile steps necesaaryto keep our countrysafe from thugs like him.

     Q I understand that. But the President is also a lawyerwith constitutional law training. He made clear during
  the campaign that sort of dotting the I's and crossing the t's mattered,evenif you're going afterbad guys.

     MR.GIBBS: And I think It's safe to assume that if·· without getting deep Into this •• the President understands
  the process and the President will do all that Is necessary to keep this countrysafe from people like him.

    Richard.

    Q Just quick on the taxcuts. Does the Presidentwantthe middle-class taxcuts to be extended permanently
  or··

    MR.GIBBS: Yes, permanent.

     Q He wants permanent?


    MR.GIBBS: Yes.

    Yes, sir.

    Q The British Prime Ministerlast week said that he would not tolerate exportof terrorism from Pakistan.
  Does the President agree With the views   »




     MR.GIBBS: I'll let Mr. Cameron deal with that.

     Yes, sir.

    Q President Ahmadlnejadof Iran sald that he was readyfor face-to-face talks with President Obarna. I was
  wondering If the WhiteHouse has an Initial reaction to that?

     MR.GIBBS: I would say this, that obviouslyIran has on any number of occasions changed their position
  based on I think largelythe pain that they'refeeling on sanctions, based on the decisions that their government
  has made that don't jibe with where the people are. We havealways said thatwe would be willing to sit down
  and discuss Iran's Illicit nuclear program if Iran Is serious about doing that. To date, that serlousness has not
  been there. Iran has obligations that It needs to meet, and failure to meet those obligations will continue to reslilt
  In unllaterat sanctions by this government,U.N.sanctlcns that have been passed, European Union sanctions
  that have been passed, and other countries beyond this taking unilateral action. I think those sanctions are
  beginning to havean Impact.or else the Iranian governmentwould not be changing its position so often about
  dlscusslnp Its program.


     Thanks, gllYS.

                  END         1:39 P.M. EDT




                                                                                     III '1'             ou            .GOV
                                                        En espa~ol   I Accei*Jibllity I Copyrtqht trttormetlon I Privacy Policy I Contact
                                                                     USA.gov I Subscribe 10 RSS Feeds I Apply (ora Job




wh itehouse. gOYl.. ';press-briefi nq-press..                                                                                                                13/13
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 73 of 153




                   Exhibit L
8/27/2010
                Case 1:10-cv-01469-JDB      Document
                                   Muslim cleric           3-2U.s. Filed
                                                 Aulaqi is 1st     citizen08/30/10
                                                                          0 ...
                                                                                         Page 74 of 153


 iPJ}t W01iJ)tngftm J1!1
 Muslim cleric Aulaqi is 1st U.S.
 citizen on list of those CIA is
 allowed to kill
 By Greg Miller
 Washington Post StaffWriter
 Wednesday, April 7, 2010; A08

 A Muslim cleric tied to the attempted bombing of a Detroit-
 bound airliner has become the first U.S. citizen added to a
 list of suspected terrorists the CIA is authorized to kill, a
 U.S. official said Tuesday.

 Anwar al-Aulaqi, who resides inYemen, was previously
 placed on a targetlist maintained by the U.S. military's Joint Special Operations Command and has survived at
 least one strike carried out by Yemeni forces with U.S. assistance against a gathering of suspected al-Qaeda
 operatives.

 Because he is a U.S. citizen, adding Aulaqi to the CIA list required special approval from the White House,
 officials said. The move means thatAulaqi would be considered a legitimate target not only for a military strike
 carried out by U.S. and Yemeni forces, but also for lethal CIA operations.

 'He's ineverybody's sights," said the U.S. offlcial, who spoke on the condition of anonymity because ofthe
 topic's sensitivity.

 CIA spokesman PaulGimigliano said: 'This agency conducts its counterterrorism operations instrict accord with
 the law."

 The decision to add Aulaqi to the CIA target list reflects the view among agency analysts that a manpreviously
 regarded mainly as a militant preacher has taken on an expanded role inal-Qaeda's Yemen-based offshoot,

 'He's recently become an operational figure for al-Qaeda inthe Arabian Peninsula," said a secondU.S. official.
 'He's working actively to kill Americans, so it's both lawful and sensible to try to stop him." The official stressed
 that there are "careful procedures our government follows inthese kinds of cases, but U.S. citizenship hardly
 gives youblanket protection overseas to plot the murder ofyour fellow citizens."

 Aulaqi corresponded bye-mail with Maj. NidalM. Hasan, the Army psychiatrist accused of killing 12 soldiers
 and one civilian at Fort Hood, Tex., lastyear. Aulaqi is not believed to have helped planthe attack, although he
 praised Hasan inan online posting for carrying it out.

 Concern grewaboutthe cleric's role after he was linked to the Nigerian accused of attempting to bomb a U.S.
 airliner on Christmas Day by detonating an explosive device he had smuggled in his underwear. Aulaqi
 acknowledged teaching and corresponding with the Nigerian but denied ordering the attack.

 The CIA is knownto have carried out at least one Predator strike inYemen. A U.S. citizen, KamalDerwish,
washingtonpost.com/ .../AR2010040604...                                                                                  1/2
8/27/2010         Case 1:10-cv-01469-JDB     Document
                                     Muslim cleric Aulaqi is 3-2
                                                             1st U.S. Filed
                                                                      citizen08/30/10
                                                                              0 ...
                                                                                                          Page 75 of 153
 was among sixalleged al-Qaeda operatives killed in that 2002 operation but was not the target.

 Viewall conunents that have been posted about this article.

   Post a Comment

   View all comments that have been posted about this article.



    You must be logged in to leave a comment. Login I Register




   Comments that include profanity or personal attacks or other inappropriate comments or material w ill be removed from the site.
   Additionally, entries that are unsigned or contain "signatures" by someone other than the actual author w ill be removed. Finally, we will
   take steps to block users who violate any of our posting standards, terms of use or privacy policies or any other policies governing this
   site. Please review the full rules governing commentaries and discussions. You are fully responsible for the content that you post.



       Sponsored Links

       I Had High Blood Pressure
       Now it's down to 120/75. Find out how I did it without drugs


       Business On Main
       Join The Communityofldeas, Tools, & Resources, Connected bySprint!


       Get NYC Deals
       Amazing Daily Deals 50-90% OffRestaurants, Spas, Events and More!

                                                                                                                        Buy a link here


                                              © 2010 The Washington Post Company




washingtonpost.com/.../AR2010040604...                                                                                                          2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 76 of 153




                  Exhibit M
8/27/2010        Case 1:10-cv-01469-JDB                Document   3-2
                                                           Reuters.com        Filed 08/30/10         Page 77 of 153




   » Print

   This copy is for your personal, non-com merclal use only. To order presentation-ready copies for distribution to
   colleagues, clients or customers, use the Reprints tool at the top of any article or visit: www.reutersreprints.com.



   u.s. targets American-born cleric in Yemen:
   officials
   Tue, Apr 6 2010

   By Adam Entous
   WASHINGTON (Reuters) - The Obama administration has authorized operations to capture or kill a U.S.-born Muslim
   cleric based in Yemen, who is described by a key lawmaker as Americas's top terrorist threat, officials said on Tuesday.
   The decision to add Anwar al-Awlaki, of al Qaeda in the Arabian Peninsula, to the target list followed a National Security
   Council review prompted byhis status as a U.S. citizen.
   Officials said Awlaki directly threatened the United States. "Awlaki is a proven threat," said a U.S. official, speaking on
   condition of anonym ity. "He's being targeted."
   Rep. Jane Harman, chairwoman of the House of Representatives Homeland Security Subcommittee on Intelligence,
   described Awlaki as "probably the person, the terrorist, who would be terrorist No.1 in terms of threat against us."
   "He is very much in the sights of the Yemenis, with us helping them," said Harman, who recently visited Yemen to meet
   with U.S. and Yemeni officials.
   She told Reuters that Awlaki's U.S. citizenship made going after him "certainly complicated."
   But Harman said President Barack Obama and his administration "made very clear that people, including Americans
   who are trying to attack our country, are people we will definitely pursue... are targets of the United States."
   The U.S. target list is secret and itwas not immediately clear whether Awlaki was the first American added, as some
   experts had suggested he would be.
   Yemen has carried out air strikes with U.S. assistance to target al Qaeda leaders, but there have been conflicting
   reports about whether Awlaki was present during any of those attacks. U.S. officials believe he rem ains in hiding in
   Yemen.
   CHANGING ASSESSMENT
   U.S. intelligence agencies had viewed Awlaki as chiefly an al Qaeda sympathizer and recruiter for Islamist causes with
   possible ties to some ofthe September 11,2001, hijackers.
   That assessment changed late last year with revelations about his contacts with a Nigerian suspect in the attempted
   bombing of a transatlantic passenger jet as it approached Detroit on Decem ber 26 and with a U.S. Army psychiatrist
   accused of shooting dead 13 people at a military base in Texas on November 6.
   Al Qaeda in the Arabian Penins uta (AQAP) claim ed res ponsibility for the attem pted Christmas Day bom bing of the flight
   from Amsterdam to Detroit.
   The suspected bomber, Umar FaroukAbdulmutallab, has been cooperating with U.S. authorities, providing intelligence
   about the group, which allegedly supplied him with explosives that were sewn into his underwear, officials said.
   U.S. counterterrorism officials described Awlaki as the main force behind AQAP's decision to transform itselffrom a
   regional threat into what U.S. spy agencies see as al Qaeda's most active affiliate outside Pakistan and Afghanistan.
   Born in New Mexico, Awlaki was an imam at mosques in Denver, San Diego and Falls Church, Virginia, just outside
   Washington. He returned to Yemen in 2004 where he taught at a university before he was arrested and imprisoned in
   2006 for suspected links to al Qaeda and involvement in attacks.
   Awlaki, part of a prominent Yemeni family, was released in Decem ber 2007 because he said he had repented,
   according to a Yemeni security official. But he was later charged again on similar counts and went into hiding.
   After Major Nidal Malik Hasan, a U.S. Army psychiatrist, went on a shooting rampage at Fort Hood, Texas, U.S.
   authorities said he had frequently been in email contact with Awlaki.
   And after the Christmas Day plot, U.S. and Yemeni officials said they learned that Awlaki had met with Abdulmutallab in

http://www.reuters.com/assets/print?ai...                                                                                        1/2
8/27/2010
                 Case 1:10-cv-01469-JDB                Document   3-2
                                                          Reuters.com
                                                                              Filed 08/30/10        Page 78 of 153
   Yemen.
   In a recent interview with a Yemeni freelance journalist, posted on AI Jazeera television's website, Awlaki described
   Abdulmutallab as "one of my students" but said he did not encourage the attack,
   (Reporting by Adam Entous; Editing by David Alexander and David Storey)


  © Thomson Reuters 2010. All rights reserved. Users may download and print extracts of content from this website for
   their own personal and non-commercial use only, Republication or redistribution of Thomson Reuters content, including
   by framing or similar means, is expressly prohibited withoutthe prior written consent ofThomson Reuters, Thomson
   Reuters and its logo are registered trademarks or trademarks of the Thomson Reuters group of companies around the
   world.
   Thomson Reuters journalists are subject to an Editorial Handbook which requires fair presentation and disclosure of
   relevant interests,
   This copy is for your personal, non-comm erclal use only. To order presentation-ready copies for distribution to
   colleagues, clients or customers, use the Reprints tool at the top of any article or visit: www.reutersreprints.com .




http://www.reuters.com/assets/print?ai...                                                                                  2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 79 of 153




                  Exhibit N
8/27/2010
                  Case 1:10-cv-01469-JDB     Document
                                      Under Panetta!      3-2
                                                     a more      FiledCIA
                                                            aggressive 08/30/10          Page 80 of 153
              -   -




                  tttil)tngton ,est
 Under Panetta, a more aggressive
 CIA
 By Peter Finn and Joby Warrick
 Washington Post Staff Writer
 Sunday, March 21, 2010; A01

 The planwas a standard one inthe CIA's war against
 extremists inPakistan: The agency was using a Predator
 drone to monitor a residential compound; a Taliban leader
 was expected to arrive shortly; a CIA missile would kill him.

 On the morning of Aug. 5, CIA Director LeonPanetta was                                                          . at&t
 informed thatBaitullah Mehsud was aboutto reach his
 father-in-law's home. Mehsud would be inthe open,
 minimizing the risk that civilians would be injured or killed. Panetta authorized the strike, according to a senior
 intelligence official who described the sequence ofevents.

 Some hours later, officials at CIA headquarters inLangley identified Mehsud on a feed from the Predator's
 camera. He was seenresting on the roof of the house, hooked up to a drip to palliate a kidney problem. He was
 not alone.

 Panetta was pulled out of a White House meeting and told that Mehsud's wife was also on the rooftop, giving her
 husband a massage. Mehsud, implicated insuicide bombings and the assassination offormerPakistani prime
 minister Benazir Bhutto, was a major target. Panetta told his officers to take the shot. Mehsud and his wife were
 killed.

 Panetta, an earthy former congressman with exquisitely honed Washington smarts, was President Obama's
 surprise choice to head the CIA. During his 13 months inthejob, Panettahas led a relentless assault on al-
 Qaeda and Tahban operatives inPakistan, delivering on Obama'spromise to target them more aggressively than
 his predecessor.

 Apart from a briefstint as a military intelligence officer inthe 1960s, little inPanetta's resume appearedto merit
 his nomination to become the 19thdirector of the CIA, but his willingness to use force has won over skeptics
 inside the agency and on Capitol Hill. Said one former senior intelligence official: ''I've never sensed him shirking
 from it."

 The stepped-up drone strikes, Panetta's opposition to the release ofinfonnation about CIA interrogation
 practices, and his resistance to greater oversight of the agency by the Office of the Director ofNational
 Intelligence (ODNI) have prompted criticism thathe is a thrall of the agency's old guard. In the meantime, the
 strikes have begun to draw greater scrutiny, with watchdog groups demanding to know more abouthowtheyare
 carried out andthe legal reasoning behind the killings.

 In an interview Wednesday at CIA headquarters, Panetta refused to directly address the matter of Predator
 strikes, inkeeping with the agency's long-standing practice of shielding its actions inPakistan from public view.
washingtonpost.com/ .../AR2010032003...                                                                                  1/5
8/27/2010       Case 1:10-cv-01469-JDB    Document
                                    Under Panetta,     3-2aggressive
                                                   a more      FiledCIA
                                                                     08/30/10            Page 81 of 153
 But-he said tbatU.S. counterterrorism policies inthe country are legal and highly effective-and thatheis acutely
 aware ofthe gravity of some ofthe decisions thrust uponhim.

 "Any time you make decisions on life and death, I don'ttake that lightly. That's a serious decision," he said. ''And
 yet, I also feel very comfortable with making those decisions because I knowI'm dealing with peoplewho
 threaten the safety of this country and are prepared to attackus at anymoment. "

 Mehsud's followers and their al-Qaeda allies vowedto avenge his death, and within months they put into motion
 a planthat culminated ina Dec. 30 suicide bombing thatkilled seven CIA officers and contractors at a base in
 easternAfghanistan.

 On the Monday after the bombing, the regular 8:30 a.m. meeting of senior staffmembers at CIA beganwith a
 minute of silence. Then the director spoke.

 'We're ina war," Panetta said, according to one participant. "We cannot afford to be hesitant. ... The fact is
 we're doing the right thing. My approachis going to be to work thatmuch harder ... that we beat these sons of
 bitches."

 Drone strikes scrutinized

 At the end ofthe George W. Bushadministration, the, CIA could keep seven Predators inthe airround-the-
 clock, butthe number will double by the end of this year, according to the senior intelligence official. Like other
 current and former officials interviewed for this report, this source spoke on the condition of anonymity because
 the agency does not acknowledge its actions inPakistan.

 Since 2009, as many as 666 terrorism suspects, including at least 20 senior figures, have been killed by missiles
 fired from unmanned aircraft flying overPakistan, according to figures compiled by the New America Foundation
 as ofmid-March. From 2004 to 2008, the number was 230. According to the foundation, 177 civilians mayalso
 have been killed inthe airstrikes since 2009. Intelligence officials say their countof noncombatants killed is much
 lower andnoted that on Aug. 5 only Mehsud and his wife werekilled, despite reports that other family members
 and bodyguards died inthe attack.

 Panetta authorizes every strike, sometimes reversing his decision or reauthorizing a targetifthe situation on the
 ground changes, according to current and former senior intelligence officials. "He asks a lot of questions about
 the target, the intelligence picture, potential collateral damage, women and children inthe vicinity," said the senior
 intelligence official.

 Killing by drone has drawnincreased scrutiny from human rights activists, who say suchstrikes raise legal
 questions whenused outside the traditional battlefield. Some critics worry thatthe antiseptic quality of drone
 attacks, inwhich targets are identified on a video screenand killed with the press of a button, is anesthetizing
 policymakers and the public to the costs ofwar. The ACLU sued the government this month to compel the
 disclosure ofthe legal basis for its use ofunmanned aircraft overseas.

 "The government's use ofdrones to conduct targeted killings raises complicated questions -- not only legal
 questions, but policy and moral questions as well," said Jameel Jaffer, director ofthe ACLU's National Security
 Project. "These kinds ofquestions ought to be discussed and debatedpublicly, not resolved secretly behind
 closed doors."

washingtonpost.com/ .../AR2010032003 ...                                                                                2/5
8/27/2010      Case 1:10-cv-01469-JDB    Document
                                   Under Panetta,     3-2
                                                  a more      FiledCIA
                                                         aggressive 08/30/10            Page 82 of 153
 Afterweathering a number of storms on Capitol Hill, including aface- offwith I-louse SpeakerNancyPelosi after
 the California Democrat accused the CIA oflying, Panettahas studiously cultivated his old colleagues, holding
 informal get-togethers with the Senate and House intelligence committees.

 ''It'sKrispy Kremes and coffee," said Sen. Diame Feinstein (D-Calif), chairman of the Senate intelligence
 committee. ''People are relaxed, the conversation is free-flow, and I think that is very useful. "

 Last summer, Panettashut down a still-embryonic Bush-era planto create an assassination teamthatwould
 targetterrorism suspects and was irritated that Congress had never been informed ofthe plan. 'He found it
 offensive," said the former senior intelligence official, recalling that itwas one of the few times he had seen
 Panettavisibly angry.

 Panettahas impressed the ranking Republican on the Senate intelligence committee. ''I'm from the Show-Me
 State. He's done a pretty goodjob of showing me," said Sen. Christopher S. Bond(Mo.), an early doubter of
 Panetta's ability to leadthe CIA. ''I think the CIA knows ... at least their director is supporting them even
 though other elements of the administration [are] causing thempainand grief."

 Another former senior intelligence official, who served under Bush, commends Panetta for his aggression but
 noted thatthe current successes are built uponagreements made with Pakistan inthe final year ofthe previous
 administration. The Obamaadministration has "been operating along the same continuum," the former official
 said.

 Retired CIA officer Henry Crmnpton, who pioneered the use of armed Predator drones inAfghanistan and was
 a top counterterrorism official at the State Department under Bush, said the number of strikes tells only part of
 the story.

 ''Youhave to know where to put the birdto begin with," Crumpton said. ''It's a dynamic process.... Onceyou
 have a strike, you have disruptions and you have more intelligence to collect. It's a wonderful cycle that involves
 all-source collection and analysis, and the Predator is only part of it. "

 Advocate for his agency

 Expectations were lowwhenPanetta arrived at CIA headquarters inFebruary 2009. One recently retired officer
 recalled that some ofhis colleagues were initially angered by the appointment of a liberal politician who lacked
 extensive experience inthe intelligence world and had publicly equated waterboarding with torture.

 But almost from the first week, Panetta positioned himselfas a strong advocate for the CIA, evenwhenitput him
 at odds with the White House and the Office of the Director ofNationalIntelligence. Panetta lobbied fiercely
 against the release ofJustice Department memos that spelled out howthe Bushadministration had authorized the
 use ofwaterboarding and othercoercive interrogation measures. He famously unleashed an epithet-laden tirade
 at a White House meeting overAttorney General Eric H. Holder Jr.'s decision to investigate CIA officers who
 participated inthe interrogations.

 Panetta has refused to yield to the ODNI overthe CIA's independence and preeminence in overseas
 intelligence- gathering. The long- simmering conflict came to a head last spring whenDirector ofNational
 Intelligence Dennis C. Blair asserted that his agency should directly oversee the CIA's covert operations, while
 also deciding who would serve as the chiefU.S. intelligence officer inoverseas locations. Traditionally, the top
 CIA officer ineach country automatically assumed thattitle.
washingtonpost.comj..';AR2010032003...                                                                                 3/5
8/27/2010
                Case 1:10-cv-01469-JDB    Document 3-2 Filed 08/30/10
                                    Under Panetta, a more aggressive CIA
                                                                                          Page 83 of 153

 Vice President Bide!}, Panetta's longtime friend, was summoned to referee the dispute, which was resolved
 mostly inthe CIA's favor: The CIA station chiefwould continue to be the top intelligence officer, and the agency
 would be required only to consult with the ODNI aboutits covert missions.

 "Panetta was not only standing up for the agency, but he was seen as a guy who could just go and talk to the
 president," the recently retired officer said. ''He doesn't have to bow 18 times. It's really valuable for the CIA to
 have someone who can do that."

 Since becoming director, Panettahas visited more than20 CIA stations worldwide, where he holds all-hands
 meetings andworks the room with his easy charm, according to insiders. 'Morale is good, especially downrange"
 in forward areas, Crumpton said.

 Critics worrythat Panettahas become a captive ofthe agency he leads.

 'To survive inthe CIA, he had to becomemore Catholic thanthe pope," said Anthony D. Romero, executive
 director ofthe ACLU. ''He opposed important public disclosure of past use oftorture and abuse, and has
 worked to limit the scope of criminal investigations into any crimes committed by CIA officials. "

 In the worst of times

 On Dec. 30, a couple of hours before dawn, Panetta was awakened by his security detail at his home in
 California and informed that something had gone wrong at a CIA base ineasternAfghanistan. By about 8 a.m.,
 Panetta was told that nine people had been killed there: sevenCIA officers and contractors, including the base
 chief one of the agency's leading al-Qaeda experts; a Jordanian intelligence officer; and an Afghan driver. The
 attack also wounded several others.

 Panettahas launched an internal review ofthe episode, inwhich, Feinstein said, "clearly tradecraftwasn't
 followed." A report is expected nextmonth.

 In the interview, Panettasaid he recognized thatthe administration's strategy entailed risk. ''Youcan'tjust
 conductthe kind of aggressive operations we are conducting against the enemy and not expectthat theyare not
 going to try to retaliate," he said.

 Panetta has ledthe mourning at the CIA, holding a service at headquarters attended by more than 1,000 people,
 including the president. The tenor JohnMcDermott sangthe wistful ballad "Danny Boy."

 'The workforce takes a shot like this inthe stomach, ittakes the wind out of them," said John O. Brenna!},
 Obama's principal counterterrorism adviser. 'Leon showed his leadership by engaging the workforce from the
 very beginning and overseeing the mourning that goes on."

 OnFeb. 3, at a snow-blanketed Arlington National Cemetery, Panettaattended the funeral ofthe base chief a
 45-year-oldmother oftlrree. Justbefore the playing oftaps, he handed a folded American flag to the family and
 laterwatched one of the woman's young sons carryit away from the grave.

 As Panetta took his seat inhis car after the service, an aide said, he exhaled deeply.

 Staff researcher Julie Tate contributed to this report.

washingtonpost.com/.../AR2010032003 ...                                                                                  4/5
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 84 of 153




                  Exhibit O
                     Case 1:10-cv-01469-JDB
The New Yorker, Oct 26,2009
                                                                        Document http://arcbives.newyorker.com/global/print.asp?path=/djvu/Conde%20Na...
                                                                                 3-2 Filed 08/30/10 Page 85 of 153




                   SWANNIJ                                                                        THE POtlTICALSCENE

                                                                                THE PftEDATOll WAR
                                                                                   What ((nilLI/J1'isksqfihe C.I.A, scovert r1roneprogram?

                                                                                                    BY JANE MAYER

                                                                   O·    nAugust5th, ofI1cials attheCentral
                                                                    ,··lntemgence Agello/,lnLaligley,
                                                                   Virginia, wJtchedit live video feed relay~
                                                                                                                also thought ttl h!lVehelped IusMghlUl
                                                                                                                confederates attl1ck AlllcriCallal1d coall"
                                                                                                                tloli troops across the.border. Rc)ger
                                                                   ing closeup footagp afone offhc most         Cres&'tl', afonnercountettcrrorlsmoHieitd
                                                                   wantedterrorists in Pakistan, Baitullah      011 tHe National SccurityCmmell,who is
                                                                   Mehsud,.theleaderofthe T;llihan In Pa-       l10wapartner atGoo~lllirbor,a.corlSult~
                            ATAUCTION                              klstau,cQuld beseen reclining on the         ingl1rm, told llle, "Mel1Stldwas someone
                                                                   rooftop of hisntther~hl·.;hw's house,ill     both "veandPhkistal1 werehappy to see
                      Nov sat 10:30al'n&z:30pm
                                                                   Ziinghara, a hamlet InSOllth Wa7Atislan.     go up insnioke." Indeed,ll1ere was JI0
                   Old Master thr(lugh Modern Prints
                                                                   It v.'twahotaUnidlcrcight, addhewl1s         c;on:troversJ when, a few days after the
                           Nov,!:) atz;3opm                        joined outside byhlswiIDatidhis uucle;       mlssilesttjke" CNNreported that Ptesi~
                     ThejamesB,Parks Collection                    a meclk:; ftt one point, the rcn1arkably     derit BarackObarna had autHorized it;
                            ofFinePrlnts                           crisp ixnagesshovvcd that JV[chsud, who          However, at aboutthe.same time,
                   Specialist: Todd\Xleymal1.7.1H54'4710, ext3:1                                                 therewaswklcspre.'1d.apger aftertl1e W'aii
                          lweyi'l1l1n@Swanngallill'les,c000'       suffered from diabetes and a kidney ail-
                                                                   111ci1t,was rccehril1gttl1 I                 .Sttf/et/ti!1r1utl revealed t11at dUring; the
                    104Easl25lh ShNew, Yor/(, NY10Of0                  ThevJdeo\vas                             BushAdmlnistllltlon theC.I.A.hadcon-
                        Vievi catalogues andbldonllMat             ItIfriil'cc!camtraQf
                           WWW,$\Illl;mg;lllllril\l~¢Om    M'\l    motely COllttoUcd,                                                          ll1cHheworJd.
                                                                   hadbecnhoveiing,lllidetected, tw:o miles 'Il1erut'brgrewwheri the.7Jmes reported
                                                                   or-so above the house, Pakistan's Interior that the C.LA-Tllld turned toa private
                                                                   Micister,A.Rehm~mM@k,toldme re~ eOI1j:l'llctoftohc!p wlthlhis highly sensi,.
                                                                   centlyth\\cMehsudwas.resting on his .                                     trovershll firm
                                                                   back:MaIik, using hIs handsto make a                       now kllownas Xe Services.
                                                                   piCtllreft"rtle,explalnedthat thePreI11~' Members oftheSennte and}I(\useil1tel,.
                                                                    t(trst!\rgeteti; eotndseeIVlehStid'sentlfe ligedCecomri1itteesden1Mded investiga~
                                                                   body, nOt just thetop ofhishead. "ltWllll tloitaofthe                           they sald,
                                                                    a perfect picture," Malik, who watched had beenhi                       lem. Aridmal1Y
                                                                   the Videotapelatef, Stiid. ''VVe used to see lqgalexpem argued that,hadthe program
                                                                   ]ill11L'SI?ond l)1ovieswherehetalked into becorl1efltl1yopel"~tlol1al, It wouldhave
                                                                   his shoe orhiswatch. We thoughtIt was violated a 1976 qxecutlV(: order, signed by
                                                                    a fairy tale. Bnt thiswas fat'tl" Thei.rnage President GemldRFord, bannlngAmer:-
                                                                   temaiuedjl1st llSstable whenthe C.T.A. ic~m itltelllgen>:e forcesttonieng;ag1ng in
                                                                   re111otelyhiul1ched t\yoHellfiremissl1eil assl!Ssh.!IUOll.                            .
                                                                   fiom thGPrerntor. Authorities ,,,,atched          Hina Shamsl,ahUl1lan-rightslawyer
                                                                   the fictyblast In tealtime, After the dust lit the New Y(lrk UtilversltyScho()I()f
                                                                    cloud dissipated, .ll1l that remained of Law" was struCk by the incon.sisfency of
                                                                   Mehsnd wasa detachedtorso. Eleven thepubli(j's respol1ses."Wegotsoupset
                                                                    others died;11is,vife, his father-in-law, his ltbout a targeted,.ktllingogram thllt
                                                                    mother-h1-'law,a lientel1ant, a~td~evcn didn't happen," slu .' .. ,e. "Buttl1t:\
                                                                    t          ds,                                dronepl:ogral11 exists; " She saidof the
                                                                                       overnment. c&i,lsidered :Predatbrprogral11, ''Thcseare tatI;1:tedIh-
                                                                   Mehslldits top enemy, holding hhll.fe-' tcrnationalkilJings bythestate." Thepro-
                                                                    spol1sible for thevast m~~orit>, ofrecent grtl11~, asit httppens,also uses priwte con-
                                                                    terrorist attacks.inside thecOl1l1trYl in,. tractors for llvadety of tasksi including
                                                                    dudingtheasstlssinfftionofformer Pril11e .flying the drones. Employees of Xc Ser:-
                                                                    Minister Benazir Bhutto1 iu Dcc'Cmber, viCeSmaUlfrnl1 andloadtheHel16rc mis-
                                                                    2007, imd the,Jx)u1blng, last S~tember, siles.Oilthe aitcr'Jft. Viclci])J.vqU,afoffilCl·
                                                                    oftheMll1:riott1IotelinJslamabad,whicll C1.A.lawyer, who nowteaches .at the
                                                                    killedmorethanf1ft)'people. Mehsudwas US. NtwillAeadem>', iiTAlUlapolls, 01r-




10f8                                                                                                                                                            10/26/20096:33 PM
                         Case 1:10-cv-01469-JDB
The New Yorker, Oct 26, 2009
                                                                              Document htip://archives.newyorker.com/global/print.asp?path=/djvu/Conde%20Na...
                                                                                        3-2 Filed 08/30/10 Page 86 of 153




                    $C~i'Peoplel1l'C 111otmm'CcqmfPl'~l1tl1e               Nt;WCtthele&9, repm'fsoffatulair suD,os          drCll,(1)!;'o£them ..... yeatsold. In
                    withfiEred!l.tt)l' IItrlkethatlzi1Is'tlat))'pC()~   inPakistuncmergeevety fG\vdl})'s, Such                      19¥vit11 ttS. policy; therewa,<>no
                   ple thal1 with11 thtoat·s1ittin~ thl1tkills          stodesluodften seool1dhal1dand difficult                           wledgment of eitherstrlke.
                   onc.'.'.B1.It,sheaddtxl, '!n.1echinlzedkiU1ng         to tOHMn,as the Paldsta111 g(J\>emmcltt                 SinCe th6i, the CJAbo111batdniel1w
                   IsstiU.ldU1ng:'                                      andthem:ilital'y have tried to 'wall offthe         have continuedat arapid pace. Acctit'd-
                                                                        triba1!ll:eIIS fi'om jOUi1.1I1lists. Hut,cvcn ira   'lugtoajustcompleted stlidybytheNew
                          us,g\,vem
                   T·heprogt·lullS~Tlw
                      ..•...
                                          ment tul1.s twodrone
                                             mIlitary's version,
                    ~\'hJeh isprlbJid~t N:krlowl
                                                                        predsea\:cplll1.t iselusive, thcolltlines are
                                                                         clear: the CJ'.A. hlWJolued thel>llklstill'll
                                                                        inttlligenceserviceitlnn~res,slvc         cam-
                                                                                                                            America l"ot111dation, the number of
                                                                                                                            dronestr~s·hasrisendraU1atica1ly since
                                                                                                                             (Jbarn!l' beCfll'lle Jlresidcnt.;.])4ring .his
                    In the.1'eeogriizedwat'lA)                          paign tocradicatc leceland·t()reii:>'l1 mitt-        fitst nineanda balfmomb.s.in office,hc
                    stan andJraq•.andtm:gets enemies                    tants, \vho ha\'C takeul'¢fiJge i)l Some of         has alltl10rlzed as many C.tA.aerialat-
                    troopsstationedthere;,Assuch,lt Is<\11 GX:'         themoSfltmc<X:SsiblepwiJf theCOLlntry.               tacksln Pakistan asGeorge W. Bush did
                    tension of c()l1ventiomt!wrtr£"re; The                 'rhenrsttl'vci C.lA airstl'Ikcis Qfthe            in his final threeyears iri office. The
                    C;1;A:sprognim 1s aimed at terror $lIS",            ObarnaAdrninismitlon. tookplncc on                   study's authors, PeterBel:gen IUld Kath-
                    pccts l\i,mud dle'WQrld,itldudingin COUl1-          tncmomll1g               ·23rd"-thePres-             erincTi~dem!l.nn,.reportthat theObama
                    tt'ieswhel'il U.S. troops arenothased.lt            idenf'sthird            Within hours,                l\d.mhl1strationhas Sl1l1~tiQned a,r least
                    waslnitiatedby the Bush Administration              It was dear tnfltthe morning's bqmb-                !oJty"ope OJ,A missile strikes In Paki-
                    and, f\ecordingtoJuan Zl1l'ate, at'Quhtel'-         ings;h1. Paldatal), hadkill¢dartestln1ated           $t:ansinc~! tak.lo.go$ce---l'\ .t!l.te of Il.p-
                    terrorism adviser in the .Bush White                          eh le.ltlonesttlke,lQurAmbs,               }.woxiniatdy otte hOlnbh).tf.a weekSoat
                    House, Ohatna has lellhl p1acevitt\:laU)'                   IhjttH~ltcdWjth At~cdajdled.                 this yeM,! Yatio.usestinlates Sllgf,test, the
                    allthe key personneL The prograrn Is                Britin thesecond strIke ;tdronetargeted              C.l.A.ntfud<s have killed: beuveen three
                    classified ascovert, andthe intelligence            thewmnghouse,hlttirig·the resldenccof                hundred and twenty-slxand fiv~ hun-
                    agency declines to provide 1111),1nfo11'na-  a pro-govemmenttrlballeaderslx uli1es                       dredand thJrt:y'-~ight peoplc. Criti¢;say
                  ~. tiontothepuPJlcab()utwhQl:ejtoperate~,      outsidGthe town 9fWlt11a;in StlUth Wac                      thatmany ofthevkthnshavebceninno-
                  ~. howitsc1ects targets, who is !t:ehaq,te, or ziristan, The blast killed theti1baIle-ad-                  ccntb)'swnders, including children.
                  i:i hOWl1.1anyp(ppk have been.laUed.           ~r's ~fJ:t:lr~ family, in.cluding threcchil~                    In the 1Mt week of September alone,
                                                                                                                            THe NEW YQI1KElI,OCTOIlElI26, 2009          37




20f8                                                                                                                                                                           10/26/20096:33 PM
The New Yorker, Oct 26,Case
                        2009 1:10-cv-01469-JDB                           Document http://archives.newyorker.com/globallprint.
                                                                                  3-2 Filed 08/30/10 Page 87                  aspof 153
                                                                                                                                  ?path=1djvu/Conde%20Na."




                                                                                                                     dor wlthPakismn, a l111tlQl1 thatacrunlly
                                                                                                                     matters." Vice-l)tesl~entJ()SCph Bidct1l'e""
                                                                                                                     ported\yholdsash:nllarvlew.                 .
                                                                                                                          It'sel~~y tounderstand theappe<uofn
                                                                                                                     "push-butlon"approndr to                 gAl
                                                                                                                     Qgeda, but the embrace uf
                                                                                                                                  bas Qccurredwith remarkably
                                                                                                                                 ,       SSLoll,given thutltrepn::-
                                                                                                                     SCllt!lIlXadicn1lynew lltldgeogluphlcillly
                                                                                                                     unboundeduseofstllu:""h'llnctioned lethal
                                                                                                                     foroe. And,beentlse of the'c.tA. pro-
                                                                                                                     granl'ssccreey, therels no visible S}'$fenl
                                                                                                                     otaceountalli!ity Ih'place,de~pite thefllet
                                                                                                                     thill' the n~ncy Ims killed tminy civilians'
                                                                                                                     inside a poIitknllyfragil¢, nttdear~attned'
                                                                                                                     counnywithwhichtheUS. is notal'war,
                                                                                                                      Should.somethlnggqwl'()ng In the
                                                                                                                     C.LA;s. pl'ogram-Iastmonrh, the Air
                                                                                                                     1orc¢ lostcontrol of adroneand hadto
                                                                                                                      shootitdown ovet'Afghllti.istal1~jtsun­
                                                                                                                     dearwha.t thl.lconsequenccs would be.
                                                                                                                          The Predators in the CIA progUll11
                                                                                                                      ttte"flowri" bycivilians, both inteUigellce
                                                                                                                     officers and privateeontmctors, ACCQr<k-
                                                                                                                     ingt9 a fornlel' counterterrcrism offi-
                                                                                                                      cial, .thecontractors are "seasoned f>ro~
                                                                                                                     fessiQl'lals-often retired militaryand
                                                                                                                      il~tclligcnee .officials." (fheh1telligcnce
                                                                                                                      agem:.y Qutsources ttsigttificimtportIol1 t)£
                                                                                                                      ItS work)Witbm the C.I.A,control of
                                                                                                                     .theunmanned vehicli:$lssplitamong sev-
                                                                                                                      eralteams,
                                                                                                                      worksabrQad,
                                                            .           .                                             ghartl,~tanand Pakist;tn, bandlingtakeoff,q
                                                                                                                      tj.ndilltldings, Once thedt1Jnl::saxcaloft,
                                                                                                                      tbefonner counterterrorism official said,
                 thel'ewerereportedlyiour such attacks·-            ~lkJhet'beethr()ugbiln open. wind()w:; the conttblsaredeettonkatly"slewed
                 three of them iiI one twenty-four-hour                 Wiu,poolie dlsenchantmentmount- Ovcr'to asetCif"l'eachbackQpetatol's," in
                 pel'iod. fAt auy given moment, a',f(mner           ingovel'the                d"'Ployl11ent in Af~ Langky. IMtigjo)'stkksthatresemble
                 White HOtlsecount¢lterrodsnl offidal               ghanistltO,a              . nmaAdl1liniptl\i- vidco~lecontl'ols,then:lu¢hbuckQpor­
                 says, thqC.1.A:. hasll1ultii~le dn:mosJlying       uon divldc13QVCl'whe~ler toescruute the atQrrwhodQll'tllccdconventionalflight
                 ovet~P;j;k.i$t'<\n,sl;out1ng n.H' tar~(;s. fAc,-   ArneriGlltl mllitlil)'PI'CilC!l"e there, tlllUty tntinlng:--sitnext.to intelligence officel's
                 cording hi theofficial, "there are s() !tlltny     in WMhlngtousnppmt aneveng.-enter andwat<:h,qnlargeflat-screen monitors,
                 dronos" inthe ltil'thlltnrg1.tI116htshave          t:ellal1ce on predtlto{stli.kes, In this view, tt.livevidec)l£-edfromthedrone:s GMlem,
                 C)itlptcdoverwhkh n~1110te operlttOtsti1l1         the US. j ratherthan tlyitJili; to stabllize From their suburban redoubt, theyelltl
                 claim whichtargets, provokIng "cot11".             Atglmllistallhy w'Jging II counteHnsur- tuXilthepll1ilC, '40011'1111 onthela.lldilCupe
                 Imttid.;and~contl'oI isSUes."                      gency opcl'auonngalnst Taliban ft)rccs, below,und cle<'ide whetherto lockol1toa
                     General Atomics Aerouauucal Sys-               shouldJiX'lls pure1yoncounterterrorism, target. Astreamofadditional "slgna1" in-
                 tems,thl;j defel1llecontractol' tlIllf mal1u-      anduse thelatestteebl1oloi:,rytq surgicnlly telligence,scntJo LMglc)'hytheNational
                 fact~trcs thePl'edlttor undits l'l1.<)rebeIWily    climinateAl Qgeda leaders ~U1d ulelral- .SecurityfAdministrtttion. provides elee-
                 nrnK'(l sibling, theReaper,Qulhnrelykeep           lies. In Septep.1beri theeo11$crvutivepun- t!ol,k111cnnsofcQtroborating thatatllr-
                 IIp\v1th thegoVetJllhei1t'sdelhand, The            ctitGoorge              .        an ihfluential get has beencorrectly identified. The
                 Air For~{s£leetha.~grown fro.msCirne               colwlui. inth                   Fost; wrltueto White Honse hasdelegnted b:iggcr en-
                 fifty drones in2001 to nearly hvo huu-              Get Our ofAfgl1nrtistni1," ttrguii1gulut thodty toC.l.A offkial~, including the
                 dred; the C.LAwill not divulge how                 "America should do onlywhatcan be head of the Counter-TcrrorlstOenter,
                 manydrone,.,itopenttes.The.g;overnmertt            dol1cftQmoffshore, using intelllgcnce, whose identity remains velled ftQm the
                 p1lms t<J commissionhundt'lXls mOte, in-           drones, cruise missiles, uir.strikes·and public Peeuuiletl,e agency has placed him
                 cluding newgeneratlons pftiny"nano"                small, potent Speclall'orcesunits, con". undercover;
                 drqli.CS, whlchcanfly afier the;ir pr<;y 1U{e;     ccntratingollthe pm'pus 1,50Q-n1ile bor-               Pcoplewl1o have.seen tut:i!.r strikelive
                 00     THCNCW 'r!:)f\Km\,OClPllE'\~6, 2{)O9




30f8                                                                                                                                                                  10/26/20096:33 PM
The New Yorker, Oct 26,Case
                        2009 1:10-cv-01469-JDB                      Document http://archives.newyorker.com/global/print.asp?path=/djvu/Conde%20Na...
                                                                             3-2 Filed 08/30/10 Page 88 of 153




                on a monitor described it as both awe- putsit, "Drones area technological step to give suspected terrorists due process.
                insphlng and horrU)'ing. "You could see thatfinther isolates theAmerican people                   In November, 2002, top Bush Ad-
                these little figures scurrying, andthe ex- from military action, undermining politi- ministration officials publicly announced
                plosion going oft; !UJd when the smoke cuI checks on •.• endless war."                        a successful Predatorstrike agl1il1st anA1
                cleared there was justrubble andcharred                                                       Qgeda target, Qged Salim Sinanal-
                stuff;'a former C.LA. officer whowas
                based in Afghanistan after September 1.1th    T     he advent of. the Predator targeted- Harethi, a suspect in the 2000 bombing
                                                                    killing program"is l'e'<lJlya seachange," of the U.S.S, Cole. Harethl was killed
                says of one attack. (He watched thecar- says GarySohs, whoteaches at George- after a Hellfire missile vaporized the car
                nage ona small monitorin the field.) townUniversity's Law Center and re- in which he and five other passengers
                Humanbeings running forcover aresuch cently retired fromltll1ning the law pro- wereriding, on a desert roadin Yeraen,
                a Common sightthat they have inspired a J:,ftaU\ attheU.S.lVIilitaryAcademy. "Not Paul VVoJfowitz, then the DeputyDe-
                slang term: "squlners"                          onlywouldwehave expressed abhorrence fense Secretary, praised the newtactic,
                     PeterW.Singer, theauthor of"VVired ofsuch a policy a fevl' years ago; wedid." telling CNN,"Onehopes each time that
                forWar;' a recent bookabeut therobot- lu}u1y, 2001, twomonths beforeAlQge- youget a success like that, not only to
                ics revolution in modem combat, argue,~ dis attacks on NewYorkandWashing- have gottenrid of somebody dangerous
                that the drone technology iswon:yingly ton profoundly altered America's mind- but to have imposed changes In theirtac-
                "seductive;' because it creates thepercep- set, the U.S. denounced Israel's useof tics, operations, andprocedures:'
                 tion that war can be "costless," Cut oft' t'Jrf,'Cted killingagttinst Pttlestinian terror-       At first.some intelligence esperts were
                from therealities of thebombings inPa- ists. 'Ihe AmerlcanAmbassador toIsrael, uneasy about drone attacks. In 2002,
                 kistan, Americans have beeninsulated Martin Indyk, said at the time, "The Jeflfey Smith, a former C.LA. general
                 from the human toll, aswellas fromthe United States government is very dearly counsel, told Seymour M. Hersh, furan
                 political and the moralconsequences. on record as against targeted assassina- article in this magazine, "If theyre dead,
                 Nearly allthevictims have remalnedface- tions, ... Theyare extrajudicial killings, theyre, not talking to you, andyoucreate
                 less, andthedamage caused bythebomb- andwedo notsuppott that."                               more martyrs." And,in an interview with
                 ings hasremalned unseen, In contrast to           Before September 1.1th, the C.I.A, theWashington Post, Smith said thaton-
                 Gaza,where thetargeted killing ofHtunas whlch hadbeenchastened bypastassas- going drone attacks could "suggest that
                 fighters bytheIsraeli military has been ex- sination scandals, refused to deploy the it'sacceptablebehavior to assassinate peo-
                 tcnsivdydoeumented_l1l11king dearthat Predator foranything otherthansurveil- ple..•• Assassination asa noun ofinter-
                 the collateral damuge, and theloss ofcs- lance. DanielBenjamin, the StateDe- national conduct exposes Amedcaulead-
                 vilim1life, canbe severe-r-Pakistanu tribal partment'scounterterrorism director, and ers andAmericans overseas."
                 areas have become largely forbidden ter- Steven Simon, aformer counterterrorism                   Seven years later, there isnolonger any
                 dtoryformedia otgani7Aitions. Asall)Sult, adviser, report in their 2002 book"The doubt that targeted killing has become
                 no videos of a drone attackin progress Ag;e of Sacred Terrot'" that theweekbe- official U.S. policy. "Thethings wewere
                 have been released, andonly afew photo- fore Al Qgeda attacked theU.S. George cornplainlng about from Israel afewyears
                 graphs of the immediate aftermath of a Tenet,thentheahreJ1cjs dircctoJ',argl1ed ago we nowembrace," Solis says. Now, he
                 Predator strike have beenpublt~hed.            that it would be "a terrible mistake" for notes, nobody in the govemmcnt callsIt
                     The seeming unreality ofthePredator "theDirector of Central Intelligence to assassination.
                 enterprise isalso felt by thepilots. Some fire aweapon likethis,"                                 '111e Predatorprogram isdescribed by
                 ofthemreportedly weal' flight suitswhen           Yet onceAmerica had suffered ter- manyin theintelligence world asAmeri-
                  theyoperate a drone'sremote controls. rorist attacks on itsownsoiltheagency's cas              , sin. gl       ..a: 0
                                                                                                                        >0 most errec      '·
                                                                                                                                        veweapon       ,
                                                                                                                                                   sgamst
                 Whentheirshifts end, ofcourse.these cu- posture changed, and It petitioned the Al Qgeda, In May, Leon Panetta, the
                  bidewarriors candrive hometohave din- WhiteHousefor newauthOrity. Within C.l.A.'s director, referred to thePredator
                  nerwith theirfinnilies. Critics have sug- days, President Bl.1sh hadsigned a secret program as"theonly g,1mc in towd'in an
                 gested thatunmanne-d systems, bysparing Memorandum ofNotificatlon, giving unguarded moment alterapublic lecture.
                  these combatants from danger andsacri- the C,I.A. the dght to kill. members of Counterterrorism officials credit drones
                 fice, arecwhat SirBrian Burridge, AlQaeda andtheir confederatesvIrtually ,~~th ha\1ng killed more thana dozen se-
                  a former           Air ChlefMarshal in anywhere in the world, Congress en- niorAl Qgeda leaders t\l1d their ullles in
                 Iraq, hascalled "avirtueless Wal'," requir- dorsed this policy, pa.%ing a bill called the pastyear, eliminating more than half
                  ingneithercourage norheroism. Accord- the Attthodzation for Use of lVlUitill)' oftheC.l.A.'s twenty most wanted "high
                  ingtoSil1h'Cr, some Predator pilots suffer Force. Bush's legal advisers modelled value" targets. In addition to Baitullah
                  from combat stress thatequals, orexceeds, theirrationale on Israel's position against Mebsud, the list includes Nazlrnuddln
                  thatofpilots in the battlefield. Thiasug~ terrorism, argning that the U.S.govern- Zalalov, aformer lieutenant ofOsamabin
                  gests that virtual killing, for allitssterile ment had the right to use lethal force Laden; Ilyas Kashmiri, Al Qgeda's chief
                  trappings, isa discomfiting form of war- Hg\dnst suspected terrorists In"anticipa- of paramilitary operations in Pakistan;
                  fare, Meanwhile, somesodal critics, such tory self-defense. By elassifying terror- Sand binLaden, Osama's eldest son; Abu
                  asMal)'Dudziak, aprofessor at theUni- ism as an act of war, rather than as a Sulayman al-jazairi, an Algerian Al
                  versity of Southern Californla's Gould crime, the Bush Adrnlnlstratlon rea- Qgedaplanner who labelieved to have
                  School of Law, argue that the Predator soned that it was 110 longer bound by helped train operatives forattacks in Eu-
                  strategy hasa largerpolitical cost. As she lega]constralnts requiring thegovernment ropeand the United States; and Osama
                 40    THENew 'rOflKElt. ocrollm 26. 2009




40f8                                                                                                                                                         10/26/20096:33 PM
                          Case 1:10-cv-01469-JDB
The New Yorker, Oct 26, 2009
                                                                     Document http://archives.newyorker.com/globallprint.asp?path=1djvu/Conde%20Na...
                                                                              3-2 Filed 08/30/10 Page 89 of 153




                   al-Kinl and Sheikh Ahmed Salim require somepubhcjustification when targetedkilling takes placehas to give
                   Swedan, Al Qgedaoperatives who are wego about killing people."                            it~ permission.
                   thought tohave played centralroles in the          Since 2004, Philip Alston, anAustra-        Many lawyers who have looked at
                   1998 bombings ofAmedcan emb,\ssies lianhmlinn:-rightshtwyer whohasserved America's droneprogram in Pakistan b~
                   inEastMrica.                                    astheUnited Nations SpecialRapporteur lievo that it meets these basic legal tests.
                        JuanZarate, the Bush counterterror- on Extrajudicial, Summary, or Arbltrary Buttheyarenevertheless troubled, asthe
                   ism adviser, believes that '~AI Qgeda ison Executions, has repeatedly tried, but U.S. govcrnment keeps broadening the
                   itsheeL~"partly because "somanybigwigs" failed, to get a response to bask ques- definition of acceptable high-value tar-
                   have been killed by drones. Though he tions about the C.l.A.'sprogrnm-fll:st gets. LastMarch, the Obama Adminis-
                   aekno"dedges that Osama binLadeu and from theBush Adrninistration, and now tration made anunannounced decision to
                   Aymanal-Zaw'J.hid, thegroup's toplead- fr0111 Obama's, \/ilhen heasked, infCl11)1Itl "linsupport fill'thedrone
                   ers, remain at large, he estimates that no correspondence, for the C.l.A,'s legal Pakistan by giving Pres                         Ali
                   morethan fifty members of Al Qgeda's justifications fortargeted killings, hesays, Zru'dari morecontrol overwhom to tar-
                   senior le'Jdership still exist, alongwitht\'I'O "they blew me off." (A C.l.A. spokesper- 81:.'1:. "Alotofthetarg;ets are nominated by
                   to threehundred senior members outside sontoldme thatthe agency "uses lawful, thePakistanis-Jt's part of thehu-gain of
                    theterror organizatiods "inner core."          highly accurate, and effective tools and getting Palostani cooperation," says Bruce
                        Zarate and other supporters of the tactics to take thefight to AIQgeda and Riedel, a former C.l.A. officer whohas
                    Predator progmm argue that it has had itsviolent allies. Thse cltrctUI, precise ap- served as an adviser to the Obama Ad-
                   positiveripple effects. Surviving militants proach has brought major success against ministration on Afghanistan and Paki-
                   areforced to operate farmore cautiously, avelYdangerous anddeadly enemy.") Al- stan, Accordingto the New America
                   which divertsthcir energyfrom planning ston then presented a critical reporton Foundation's study, only sixofthe forty-
                    new attacks. And thereis evidence that the drone program to the u.N. Human oneCIA. drone strikes cOHducted bythe
                    thedrone strikes, which depend on local Rights Council,buf:, he says, theU.S. rep~ Obama Administration in Pakistan have
                    informants for targeting information, rcsentatives ignored hisconcerns.                   targeted Al Qgeda members, Eighteen
                    have caused debilitltting suspicion and           Alston describes the C.I.A.program were directed at Tallban targets In Paki-
                    discord withln the ranks. Four Europe- as operating in "anaccountability void," stan, andfifreen were aimedspecifically at
                    ans who werecapturedlast December adding, "It'sa lot likethe torture issue. Baitullah Mehsud, Talat Masood, are-
                    after trying tojoinAl Qgeda in Pakistan Youstartbysaying we'll just bro after the tiredPakistani lieutenant gener-JJ andan
                    described a lifeof constant fearanddis- handful of9/11 lUlwterminds. But,once ~tuthol'jty on sc(,'Urity issues, says that the
                    trustamong the militants, whose obses- you've puttheregimen forwaterboartling U.S.'s tactical shift, along withthe elimi-
                    sion with drone strikes had ledthem to andothertechniques in place, youuse it nationof Mehsud, has quieted some of
                    communicate onlywithelaborate setret}' much more hldiscrh:ninatdy. It becomes thePitkistani criticism oftheAmeoean air
                    andtoleave theirsqualid hideouts onlyat standard opt"l'ating procedure, Itbecomes strikes, although the bombings are still
                    night. As the Times has reported, mill- all too easy. Planners shut saylng, 'Let's seen asundercutting the COLUltry'S SClVCl'-
                    tantshavebeen sounnervedbythedrone use drones in abroader context: Onceyou eibrtlt)'. But,f:,riven that manyof the tar-
                    program that theyhave released a video usetargeting less stdngently, it canbe- geted Pakistanl Taliban figul'cs were ob-
                    showing the execution ofaCCUS{X1 infor- come indiscrh:ninate."                            scure in U.S. ccunterterrorlsm circles,
                    mants. Pakistanis have also beengripped                                                   some critics havewondered whetherthey
                    byrumors that paid CJ.A. infon:nants
                    have been planting tiny silicon-chip
                                                                   .·
                                                                   U    ndcrinternational law, in order for werelegitimate targets for a Predator
                                                                        theU.S.government to legally tar- strike. "These strikes arekilling a lot of
                    homing devices for the drones in the get civilian terror suspects abroad it has low-levelmllitants, which raises theques-
                    tribal areas.                                  to define II terrorist b'fOUP asoneengag- tionofwhether theyaregoingbeyond the
                         The drone prog;mm, forallits tactlcal ingin armed confliet, andthe useofferee nuthorization to killleaders," PeterBer-
                    successes, has stirreddeep ethical con- must be a "military necessity," There gen toldme. RogerCressey, the former
                    Cl'1'l1S. Michacl Walzer, apolitical philos-   mustbenoreasonable alternative to kill- National Security Council official, who
                    opherandthe authorof the book"Just ing,suchascapture, andto warrant death remains a strong supporter of the drone
                    andUnjustW~trs,"snys that he isunset- thetarget musrbe "difC(,tly pruticipating program, $l\YS, "Thedebate is that wdve
                    tled by the notion of an intelligence in hostilities." TI,e useofforce has to be bccndoing thissolongwe're nowbomb-
                    agency wielding such lethal power in se- considered "proportionate" to the threat, lng low-level guys whe don't deserve a
                    cret. "Under whatcodedoes the C.l.A. Finally, theforeign nationin\vhich such Hellfire missile uptheirass." (Inhisview,
                    operate?" he asks. "I don't know. The                                                      <INot every target hasto bea rockstill'.")
                    military operates undera legal code, and                                                        The Obama Administration has also
                    it has [udlclal mechanisms." He saidof                                                     widened thescope ofauthorizcd drone at:-
                     the C.I.A.'s drone program, "There                                                        tacks in Mghlllustl\n. An August report
                     should be alimited, finite group ofpeo-                                                   by the Senate Foreign Relations Com-
                     plewhoare targets, and that listshould                                                    mittee disclosed thattheJointlntegmted
                     bepublicly defensible and available. In-                                                  Prioritized TargetList-the Pentagon's
                     stead, it's not beingpublicly defended,                                                   roster of approved terrorist targets, con-
                     People arebeing killed, andwegenerally                                                    taining three hundred and sixty-seven
                    ,g!     THo NEW YOrlKEII, OCfOlIEl\ 26, 2009




50f8                                                                                                                                                        10/26/20096:33 PM
                     Case 1:10-cv-01469-JDB
The New Yorker, Oct 26,2009                                           Document http://archives,newyorker.com/gl
                                                                               3-2 Filed 08/30/10 0Page                 90 of 153
                                                                                                                bal/print,asp?path=1djvu/Conde%20Na...




               n;uuell--W\\SxecentlyexpandedtQinc1ude
               sl>l11e.fi£tyAfghandt'tlglordswhl>llt'e·sns-
               peeted ofgiVingl11oney tohelp:6nance
               theTallbll.ll. T'hese newtargets areastep
               reul(wed frotn AlQgeda. According to
               the Senate report! ~There is 110 evi({(lliCC
               that any signifie,\nt amortntof thedr'lg
               proceeds goes to Al Qaecia." Theinclu-
               sion ofAfghWlnmx:otics tmffiekersoa tile
               U.S, targetlist could prove .awkward,
               some opserv(,\!'s say, giventhatPresident
               H,ll.lllid                  .
               Mohlllunl11dQashuB '
               idenrs brothel', AlwnedWali K<lt'l..ai,lll'e
               stronglysuspccrcdofilwolvcl11cntintlllt'-
               cotics, Al1grcwBacevich,a. professor of
                  ,      andltltenmtional relarlonsnr.Boa-
               ton ivel'sity, who haswritten extqn,..
               sively onlooitatymattel's,.said,"Are fhey
               going t()tm:get~a;7,ai'!lobrother?"He went
               011, "We shb.tid beVClycllI'efulapout,who
               we define asthe enei'l1ywe hit,!(jto kl1l.
               Leaders ofAlQgeda, ofcoorse. Butyou
               cadtkiUpooploonTucsdayund·negotiatc                  "TlJe dealer willallo'llJ meto l'etUrJltbe !i1J1IJijJnyillveSI1JUJlltsgo bad."
               w'lththem onWettnesdt!,y."
                    Defining whois antfwhoi$not too                                                        •           •
                tal1gentiil {<if tl1\1 'U.S .to kill Cf'(11 be
                difficult,JohnRadsan, aformerlawycr in
                the C.IA'sofficeofgeneralcoUlisCl,who            radius ora missile,thnt, too,Iswci&hed             'UunU sure thew's apolk}'~uiding it,"he
                is·l1o\Y It professor at Willianl Mitchell       hi a computer algodtlll1l pefme a lethal           sA)rs: "Itcan't bejustcatch":as-Clltch-Cllll;"
               'College ofLaw,In St~ l>mil,Mii1Ii.Cst)tll,       strikeisauthorized. Ace.6rdinglu the re-               DlInielByn'lan)thed\tcctol' ofGeorge~
               says, "You can't targe{som''tll1ejust be-         centSel1a:te. Foreign RclanollSCotnmlt-            town Unlversity's Centerfor Peace snd
                eausehe ~$ited allAlQgeda Web Site.              tee report,. the US.ulilitatypillces.no            SecurityStud1es,llI'fwesthat,vvhen possi-
                But-you also don't want to wait.liltil           name on itstittgetlng]jstuntilthere arc            hle,"jt'SJlhliost alwi\)'$better toarrestter-
                they're abortt to dettlliate ubomb. Ifs a        "tvYove~Jfhble humansourecs"and"sttb-              rorists~iat1 to:kiI!thelll. You f,retintelli-
                sIltling stale;" Equrilly fi'aughtistliO<lues"   stnntialaclditioool evldence"thnttheper-                          Dead 111en tcll notales!'The
                tioit. ofhow n~anycivilhuldeathscal1 be          sonisanenMly.                                              'skilllng ()fSaatlbhil,aden, Osa-
               justified. "Ifit'sOsatnabin Laden in a                 Itt Israd,whichcClli.ductsuntndl1l1ed         tnat/son, ptovicleSlt casein point. Bythe
                housewith {I, four-ycar-6Id,tl1ost people        all' stdkesht thePalestinhtritertitodes, the       dme tluitSaud bin I,aden had reached
                v.'lJlsaygoalleati," Radsansays. "Butlfifs       process o£identif}>ing tat'geto, int:heorylit      Pakistan's trIbal areas, latel.'t.9tyear,therc
                three orfourchildlen? Some say thafstoo          least, 1sevennlore cJilJ.cting.Militatylaw-        was littlechance that any law~ellforce-
                manJ'. And ifhe's in <I schooli' Manysay         yers havel(} be convinced thatthet);rget           tllent authority Cl)tjld             himalive,
                don'tdo it.~ Suchjudgl11eotcaltsarcbeing         cuntreusonaljlybe captured, (thd thathe            Butl<lccotding t                       L¢verett,
                illadedallyby theC.I.A., which, l~adsal1         poses. a threat to national sec.ldty. Mill-        ~Ul adviset totheNlitiol1itlSCi;:utity Coun-
                points out, "doesdthavemuehe><lJerience          titly specialistsin Araoculturealoohave to         dlbetWeen2001and 2003, theBUsh Ad.:.
                \Vlthkilling.'rraditionllllyltheagencythat       beconvlneed thattlte hitwiUdo more                 ministl\\t!onw(1uld have hadseveral OJ?-
                docs thatisthe DepattmentofDefense,"             good thlln harm/"Yoll have to hcineted-            pbttunit1CstoJmtcrrogate.Saud binIAlden
                     Though theCl.A:slTIethodologyre-            iblycautious: Amos Guiorul a law pro-              catHer, int had beenwilling to make t\
                Inains unknown, the Pentagon hascre-             fessor at the UniversIty of Utah, says.            denl.with.Jxan,where,acefl!Xling to U.S.
                atedc1ahorate fOl1Xlulns rohelp thel11ili-        From 1994to 1997, be advised Israeli              intelligcnee,.. he .li:vedocct\siQ1lalJ)'. after
                tal'ymake such k:thal i;:itkttlations..A top     cOrf\111andeJ;s{)t1 nJtgl:wd kIllings itnhe         $el?tel11bert1th,·w'I'he)tanillnsofteredto
                miIitltry- expert, whodedined to he              Ga7Al Stt'lp. "Ntlt cveryol1eis at thelevel        wotkoutllnlntetnatiol'1al fiiilfllC'lVork for
                 named, spoke of the mllitllry'ssystem,           appropriate ror tllXf,iete<t killing: he says.    tral1llfert'ing ter!'or suspects, b\1t the Blish
                 say:ing,·'Theres.a'whole.taxunorny'oftlir-       "YOUWllrit a leader,. th~. hu1:Jwith rl1any       Adriiinistmtionreroscd:' she hilid.JnDe-
                 gets!' Some people are apptOvcd forkill,.        spokes." Guiora,who follows the Preda-            <:etnb6r1 2008, Saad bin Laden leftIran
                ingonslght;Forothers, add1tlqnalpet-             tor prOgl'lllU. closely) fellI'S thlltnational..   forPakistlllt.;within mtmths,aceorn
                 mission is needed. A target's location           securityofficJals herelacka dearp9licy             NPllla Prei{(\tor missile had ended
                 enters theequation, too. Ifa school, hos-        anda finn definition of sm:cess.~Once             lite. "We.aboolntelydidnotget the most
                 pital, Qrmosquejswlthit:). thelikely blast      youst,ll'ttargcted ldillng,y()u bettermnke         wecocld," Levetcttsaid. "Saad binbdei1
                                                                                                                    1'\'IH NEW 'rOl\KEI\,OCTOllE1l26; 2009




6of8                                                                                                                                                                   10/26/20096:33 PM
                     Case 1:10-cv-01469-JDB
The New Yorker, Oct 26,2009                                         Document http://
                                                                             3-2 archives.newyorker.com/global/print.asp?path=1djvu/Conde%20Na",
                                                                                     Filed 08/30/10 Page 91 of 153




               would have been very, very valuable in         The C.l.A.'searly attempts attarget- mond formatien, At that point, drones
               terms ofwhat he knew. He probably           ing Osama bin Laden were also prob- were unarmed, and were used onlyfor
               would have beenIt goldmine,"                lematic, After Al Qgeda blew up the surveillance, 'Theopncs were not great,
                  Bymun is working on a bookabout            u.s.
                                                                Embassies inTllnz,<l.nia andKenya, but it was hun," Herny Crumpton, then
               Israel's experiences with counterterror-    in AUb'USt, 1998,President BillClinton the C.I,A..'s topcovert-operations officer
               ism, including targeted kiIJlng, Though     retaliated, by launching seventy-five forthe region, told Time. Buttwoother
               thestrikes therehaveweakened thePal-        Tomahawkcruise missiles at a sitc in former C.IA. officers, who also saw the
               estinlan leadership, he said, "ifyou use    Afghanistan wherebin Ladenwas ex- footage, have doubts. "It's like an urban
               these toolswrong, youcanlose themoral       pectedto attenda summitmeeting. Ac- le&'COO," oneof themtoldme. "Ihey just
               highground, whichisgoing tohurtyou.         cordingto reports, the bombardment jumped to conclusions, You couldntsee
               Inevitably, some of the intelligence is     killed sometwenty Pakistani militants his face, It could have beenJoe Schmo,
               going to bewrong, soyou're always roll-     but missed bin Laden,who hadleftthe Believe me, no tall man with a beard is
               ing the dice. That's the reality of rel,l,. scene hours eal'Her.                      safe anywhere in Southwest Asia." In
               timeintelligence."                              The development of the Predator, in Feb"tJrtry, 2002, along the mountainous
                                                           theearly nineteen-nineties, "vas supposed eastern border ofAfghanistan, a Predator
                  ndeed, thehistory oftargeted kill.ing is to help eliminate such mistakes. The reportedly followed and killed threesus-
               I  marked byerrors. 1111973, forexam- drones canhover above a tal'bl'llt fill' up to picious Afghlll1S, including a tallmanin
               ple,Israeli intelligence %'Cnts murdered a forty hours before.refuelling, andthepre- robes whowas thought to bebinLaden.
               Moroccan waiter by mistake. They cise video footag'C makes it much easier to Thevictims turned outtobe innoceatvil-
               thought that he wasa terrorist whohad identiJYtarf,l'llts, Butthestrikes are only as lagers, guthering scmI' metal.
               been involved in slaughteringIsraeli ath- accurate astheintelligence thatgoes into        In Afg1w.nlstan andPakistan, thelocal
               letes attheMunichOlymplcs, ayear ear- them. Tips from Informants on the informants, whoalso serve asconfirmlng
               lier, And in 1986 the Reagan Adminis- ground aresubject to error, asistheinter- witnesses for the air strikes, are notori-
               tration attempted to retaliate against the pretation ofvideo images. Not longbe,. ously unreliable. A former CJA officer
               LibyanleaderMuarnmar Qgddafi forhis fore September 11, 2001" forinstance, whowas based inAfghlUJistan after Sep-
               suspected role in thedeadly bomblngofa several U.S. counterterrorism officials be- tember 11th told me that an Afghan
               disco frequented by American service- carne certain that a dronehad captured source hadoncesworn tohimthatoneof
               men in Germany. The U.S. launched footaf,re ofbin Ladenin a locale he was Al Qgedi's topleaders was being treated
               an air strike on Qgd,hdi'shousehold. known to frequent in Afg11anistlll1. The in a ncarby dinic. The former o:f1icer said
               The bombs missedhim, but they did video showed a tall man in robes, SUI'- thathe could barely holdoffan airstl'ike
               kill hisfifieea-month-old daughter.          rounded by armed bodygual'ds in a dia- after hepassed onthetip to hlssuperiors,
                                                                                                     "Theyscrambled tOf,rethel' an cUte team,"
                                                                                                     he recalled. "Wecaught hellfrom head-
                                                                                                     quarters. Theysaid 'Whyaren't yournov-
                                                                                                     ingon it?'when weinsisted on checking
                                                                                                     it our.£1'st." It turned out to be an inten-
                                                                                                     tionallyfalse lead. "Sometimes you're
                                                                                                     dealing with tribal chiefs," the former
                                                                                                     officer said. "Often, they sayanenemy of
                                                                                                     theil'S isAl Qgeda because theyjustwant
                                                                                                      to get ridofsomebody, Ortheymade crap
                                                                                                      up because they wanted to pl'ove they
                                                                                                     werevaluable, so that theycould make
                                                                                                      money. You couldn't take their word,"
                                                                                                          The consequences of badground in-
                                                                                                      telligence canbe tragic, In September, a
                                                                                                      NKfO all' strike inAfghanistan killed be-
                                                                                                      tween seventy andahundred andtwenty-
                                                                                                      five people, many of themcivilians, who
                                                                                                     were taking fuel from twostranded oil
                                                                                                      trucks; theyhadbeenmistaken forTall-
                                                                                                      ban insurgents, (The incident is being
                                                                                                      investigated by NATO.) According to a
                                                                                                      reporter for the Guardien, the bomb
                                                                                                      strike, by an F-15E fighter plane, left
                                                                                                      SUd1 atangle ofbody parts thatvillage el-
                                                                                                      ders resorted to handingout pieces of
                                                                                                      unidentifiable corpses to the grieving
                                                 "Diagnosis cookie?"                                  families, so that theycould have some-




70f8                                                                                                                                                10/26/20096:33 PM
                      Case 1:10-cv-01469-JDB
The New Yorker, Oct 26,2009                                     Document http://archives.newyorker.com/global/print.asp?path=/djvu/Conde%20Na...
                                                                          3-2 Filed 08/30/10 Page 92 of 153




               thing to bur}'. One Mghan villag'C¥ told      edly killed between two andsix uniden- 2fU'dari government-a shaky and un-
               the newspaper, "I tooka piece offlesh         tified militants outsideMakeen, andthen popular l'egime--as littlemore thanan
               with me home andI called it myson."           killed dozens more people-s-possibly as American puppet. A study rlnrt Kilcul-
                                                             many as eighty-six-during funeral len co-wrote for the Center for New
                      redator drones, with their superior prayers for the earlier casualties, An ac- American Security, a thulktank, argues,
                P     surveillance abilities, have a better count in the Pakistani publication The "Every oneof these dead non-combat-
                track record £inaccuracy than fighterjets, News described tenof the dead aschil- nntsrepresents analieoated fWllily, it new
                \tcC()rding to intelligence officIals. Also, dren. Fourwere identified aselderly tribal revenge feud, andmore recruits foramil-
                the drone's smaller Hellfire missiles are leaders. One eyewitness, who lost his itant movement that hasgrown expo-
                said to cause farless collateral damage. rightlegdming thebombing, told Agence nentially even as drone strikes have in-
                Still, therecent uunpaign to kill Baitullah France-Presse that the mourners sus- creased." His co-writer, Andrew Rxul1l,
                Mehsud olTers asobering rose studyofthe pected what was coming: "After the a fanner Army Rangerwho hasadvised
                hazards of robotic warfare, It appeal.'S to prayel'S ended.people were asking each General StanleyMcChrystal inAfghan-
                have taken sixteen missile strikes, and othertolCilve theares, asdroneswere hov- istan, told me, "Neithel' Kilcullen norI
                rourteen months, before the C.lA suc- cling." Thedrones, which make abuzzing isa fundamentalist-we're not saying
                ceeded in kHUng hun. During this hunt, noise, are nicknamed machay ("wasps") by drones arenotpartof the strategy. But
                between twohundred andseven andthree thePashtun natives, andcansometimes wearesaying thattightnow they arepart
                hundred andtwenty-one additional peo- beseen andheard, depending onweather of theproblem. Ifwe use tactics thatare
                plewere killed, depending onwhich news condltlons, Before the mourners could killing people's brothers andsons, notto
                accountsyou relyupon. It'sall but: impos- clear out, theeyewitness said, two drones mention their sisters and wives, we can
                sible to geta complete picture of whom started ,6rhlg intothe crowd, "It created work atcross-purposes with insuring that
                the CJ.A killed during thiscampaign, havoc," he said, "There was smoke and the tribal population doesn't sidewith
                which tookplace largely in Wazidstan. dust everywhere, Injured people were CI)'- themilitants. Using thePredstorisa tac-
                 Not only hasthePakistani government ing andasking for help." Thenathird rois- tic,notastrategy."
                dosed orf theregion to theoutside press; aile hit, "1 feU to theground," hesakL            Exurn says that he's worried by the
                it has also shut outIntemetional human-           The local. population was dearly an- remote-control nature of'Predator war-
                itarian organizations like theInternational gered bythePakistani government fill' al- :&re. "As a military person, 1putmyself'in
                 Committee fo1' the Red Cross andDoe- lowingtheu'S, to tfUbret afuneral. (Intel- the shoes of someone in iFATA"-Paki-
                 torsWithout Borders. "VVe can't get ligencehad suggested thutMehsudwould stan's Federally AdmJnistet~d Trirnu Ar-
                within a hundred kilometres ofY"la- beamong themoumers.) Aneditorial in eas-''<\I1d there's something about pilot-
                 zirisran," Brice de laVingne, theopera- TheNinu,denOlmced thestrike assinking less drones that doesn't strike me asan
                 tlcnal (:oordinator forDoctors Without to the level of the terrorists, The U!:du honorableway ofwarfare," hesaid.flAs a
                 Borders inPakistan, told me. "We tried to newapaper]imgdedared thatObama ,~"'\S classics major, I have a classical sense of
                 setup an emelgency room, but the au- "shutting hisears to thescreams ofthou- whatit means to be a warrior." All Iraq
                 thorities wouldn't give usauthorization,' sands ofwcmenwhorn your drones have combat veteran whohelped desigl1 much
                     A few Paklstani and international turned intodust," U.S. offidab were un- of the military's doctrine for using un-
                 news stories, most ofwhich tel}' on sec- deterred, continuing drone strikes in the manned drones also hasqualms. He said,
                 ondhand sources rather thanon eyewit- 1'egion until Mehsud was killed.                  "There's something important about put-
                 ness accounts, ofter the basic details. On       Aftersuch attacks, the Tellban, at- ting your own sons anddaughters at risk
                June 14,2008, a CJ.A drone strike on tempting to stirupanti-American senti- when you choose towagewarasa nation.
                 Mehsuds home town, Makcen, killed an ment in the region, routinely claims, We risk losing that flesh-and-blood in-
                 unidentified person. OnJam1wy2, 2009, falsely, thatthevlctims are allinnocent ci- vestment ifwegotoofi\i' down this road,"
                 four more unidentified peoplewere killed. vilians. In several Pakistani cities, large      Bruce Riedel, who 11M beendeeply
                 OnFebruary 14th, more thanthirty peo- protests have been held todecry thedrone involved inthese debates duringthepast
                 piewere killed, twenty-five ofwhomwere progmm, And, inthepast year, perpetra- few years, sees thechoicesfadng Obama
                 apPw'ently members ofAI Qgeda and the tors of terrorist bombings in Pakistan (1.5 exceedingly hard. "Is the drone pro-
                 Taliban, though none were identified as have begun presenting their acts as"re- gmm helping orhurtlng?"he asked. "It's
                 major leaders. On Aprillst, a drone at- venge for the drone attacks." In recent a tough question. These are not cost-
                 tack on Mehsud's deputy, Hakimullah weeks, a rash ofbloody assaults onPakl- free operations," He likened the drone
                 Mehsud, killed ten to twelve ofhisfol- stani government strongholds has mised attacks to"going nfier abeehive, onebee
                 lowers instead. On Apti129th, missiles thespectre thatformerly unaligned mili- ata time." The problem isthat,inevita-
                 fired from drones killed between six and tantgroups have joined together against bly, "thehive will. always produce more
                 ten more people, one of whom WItS the2nrdari Administration.                            bees:'But, he said, "the 0111y pressure
                 believed to he anAl Q!eda leader, On             David Kilcullen, acounter-insurgency currentlybeing putonPakistan andM-
                 May9th, five to ten more unidentified warfare expert who hasadvised General ghanistan isthedrones," He added, "It's
                 people werekilled; onMay12th, asmany David Perraeus in Iraq, hassaid thatthe really all we've got to disrupt Al Qgeda.
                 aseight people died, Onjune 14th, three propagimdn costs of drone attacks have The reason theAdministmtion contin-
                 toeightmore peoplewere killed bydrone been disastrously high, Militants have ues to useit is obvious: it doesn't really
                 attacks. Onjune23rd, theC.LA report- used the drone strikes to denounce the have anything else," +
                                                                                                       THE NEW YOlIKElI, OCrDl)ER 26, 2009   45




8 of8                                                                                                                                              10/26/20096:33 PM
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 93 of 153




                   Exhibit P
8/27/2010             Case 1:10-cv-01469-JDB
                                         C,LA. to Document
                                                  Expand Use of3-2
                                                                DronesFiled 08/30/10
                                                                       in Pakls...                                    Page 94 of 153

 II,c1.'telt1il otk ;'lues.
                  1
                                                                                                                   ~'liIiNrER~FRIIEN!O!I.'I FOMIIIA!-
                                                                                                                                 $F'!l'UiKlREil ll't

 This copy if> for your personal, nOnC()ITHYHHdal use only. You can order presentallon-ready copies for
                                                                                                                        l> I ·\11I1i f'-;l.       j     t
 dl strlbution to your colleagues. clients or customers here or use the "Reprints tool that appears next to any
 artlcle. Visit www.nytreprints.com for sampies and additional information. Order a reprint of this article now.
                                                                                                                     NATAliI'
                                                                                                                    PORT l\-tAN'
                                                                                                                                                1'\,
                                                                                                                                              ~




 Decem her 4,2009

 C.I.A. to Expand Use of Drones in Pakistan
 By SCOTT SHANE

 WASHINGTON - Two weeks ago in Pakistan, Central Intelligence Agency sharpshooters killed
 eight people suspected of being militants of the Taliban and AI Qaeda, and wounded two others
 in a compound that was said to be used for terrorist training.

 Then, the job in North Waziristan done, the C.I.A. officers could head home from the agency's
 Langley, Va., headquarters, facing only the hazards ofthe area's famously snarled suburban
 traffic.

 It was only the latest strike by the agency's covert program to kill operatives of AI Qaeda, the
 Taliban and their allies using Hellfire missiles fired from Predator aircraft controlled from half a
 world away.

 The White House has authorized an expansion of the C.I.A.'s drone program in Pakistan's
 lawless tribal areas, officials said this week, to parallel the president's decision, announced
 Tuesday, to send 30,000 more troops to Afghanistan. American officials are talking with
 Pakistan about the possibility of striking in Baluchistan for the first time - a controversial move
 since it is outside the tribal areas - because that is where Afghan Taliban leaders are believed
 to hide.

 By increasing covert pressure on Al Qaeda and its allies in Pakistan, while ground forces push
 back the Taliban's advances in Afghanistan, American officials hope to eliminate any haven for
 militants in the region.

 One of Washington's worst-kept secrets, the drone program is quietly hailed by
 counterterrorism officials as a resounding success, eliminating key terrorists and throwing their
 operations into disarray. But despite close cooperation from Pakistani intelligence, the program
 has generated public anger in Pakistan, and some counterinsurgency experts wonder whether it
 does more harm than good.

 Assessments of the drone campaign have relied largely on sketchy reports in the Pakistani
 press, and some have estimated several hundred civilian casualties. Saying that such numbers
 are wrong, one government official agreed to speak about the program on the condition of
 anonymity. About 80 missile attacks from drones in less than two years have killed "more than
 400" enemy fighters, the official said, offering a number lower than most estimates but in the
 same range. His account of collateral damage, however, was strikingly lower than many

nytlmes,com/2009/12/.../04drones,htm ..,                                                                                                                    1/4
8/27/2010       Case 1:10-cv-01469-JDBC.LA. to Document
                                               Expand Use of3-2
                                                             DronesFiled 08/30/10 Page 95 of 153
                                                                    in Pakis...
 unofficial counts: "We believe the number_of civilian casualties is justoverzo,and those "Were
 people who were either at the side of major terrorists or were at facilities used by terrorists."

 That claim, which the official said reflected the Predators' ability to loiter over a target feeding
 video images for hours before and after a strike, is likely to come under scrutiny from human
 rights advocates. Tom Parker, policy director for counterterrorism at Amnesty International,
 said he found the estimate "unlikely," noting that reassessments of strikes in past wars had
 usually found civilian deaths undercounted. Mr. Parker said his group was uneasy about drone
 attacks anyway: "Anything that dehumanizes the process makes it easier to pull the trigger."

 Yet with few other tools to use against AI Qaeda, the drone program has enjoyed bipartisan
 support in Congress and was escalated by the Obama administration in January. More C.I.A.
 drone attacks have been conducted under President Obama than under President George W.
 Bush. The political consensus in support of the drone program, its antiseptic, high-tech appeal
 and its secrecy have obscured just how radical it is. For the first time in history, a civilian
 intelligence agency is using robots to carry out a military mission, selecting people for killing in a
 country where the United States is not officially at war.

 In the months after the Sept. 11, 2001, attacks, C.I.A. officials were not eager to embrace killing
 terrorists from afar with video-game controls, said one former intelligence official. "There was
 also a lot of reluctance at Langley to get into a lethal program like this," the official said. But
 officers grew comfortable with the program as they checked off their hit list more than a dozen
 notorious figures, including Abu Khabab aI-Masri, a Qaeda expert on explosives; Rashid Rauf,
 accused of being the planner of the 2006 trans-Atlantic airliner plot; and Baitullah Mehsud,
 leader of the Pakistani Taliban.

 The drone warfare pioneered by the C.I.A.in Pakistan and the Air Force in Iraq and
 Afghanistan is the leading edge of a wave of push-button combat that will raise legal, moral and
 political questions around the world, said P. W. Singer, a scholar at the Brookings Institution and
 author of the book "Wired for War ."

 Forty-four countries have unmanned aircraft for surveillance, Mr. Singer said. So far, only the
 United States and Israel have used the planes for strikes, but that number will grow.

 "We're talking about a technology that's not going away," he said.

 There is little doubt that "warheads on foreheads," in the macho lingo of intelligence officers,
 have been disruptive to the militants in Pakistan, removing leaders and fighters, slowing
 movement and sowing dissension as survivors hunt for spies who may be tipping off the
 Americans. Yet the drones are unpopular with many Pakistanis, who see them as a violation of
 their country's sovereignty - one reason the United States refuses to officially acknowledge the
 attacks. A poll by Gallup Pakistan last summer found only 9 percent of Pakistanis in favor of the
 attacks and 67 percent against, with a majority ranking the United States as a greater threat to
 Pakistan than its archrival, India, or the Pakistani Taliban.


nytlmes.com/2009/12/., ./04drones. htm...                                                                 2/4
8/27/2010       Case 1:10-cv-01469-JDB   C.I.A. to Document
                                                   Expand Use of3-2
                                                                 DronesFiled 08/30/10
                                                                        in Pakls. ..     Page 96 of 153
 Inter~tingly, ~esidentsl)fthe tribal areas where the attacks actually occpr, who bitterly resent
 the militants' brutal rule, are far less critical of the drones, said Farhat Taj, an anthropologist
 with the Aryana Institute for Regional Research and Advocacy. A study of 550 professional
 people living in the tribal areas was conducted late last year by the institute, a Pakistani
 research group. About half of those interviewed called the drone strikes "accurate," 6 in 10 said
 they damaged militant organizations, and almost as many denied they increased anti-
 Americanism.

 Dr. Taj, who lived at the edge ofthe tribal areas until 2002, said residents would prefer to be
 protected by the Pakistani Army. "But they feel powerless toward the militants and they see
 the drones as their liberator," she said.

 In an interview this week with the German magazine Der Spiegel, the Pakistani prime minister,
 Syed Yousuf Raza Gilani, said the drone strikes "do no good, because they boost anti-American
 resentment throughout the country." American officials say that despite such public comments,
 Pakistan privately supplies crucial intelligence, proposes targets and allows the Predators to
 take off from a base in Baluchistan.

 Pakistan's public criticism of the drone attacks has muddied the legal status of the strikes,
 which United States officials say are justified as defensive measures against groups that have
 vowed to attack Americans. Philip Alston, the United Nations' special rapporteur for
 extrajudicial executions and a prominent critic of the program, has said it is impossible to judge
 whether the program violates international law without knowing whether Pakistan permits the
 incursions, how targets are selected and what is done to minimize civilian casualties.

 A spokesman for the C.I.A., Paul Gimigliano, defended the program without quite
 acknowledging its existence. "While the C.I.A. does not comment on reports of Predator
 operations, the tools we use in the fight against Al Qaeda and its violent allies are exceptionally
 accurate, precise and effective," he said. "Press reports suggesting that hundreds of Pakistani
 civilians have somehow been killed as a result of alleged or supposed U.S. activities are - to
 state what should be obvious under any circumstances - flat-out false."

 From 2004 to 2007, the C.I.A. carried out only a handful of strikes. But pressure from the
 Congressional intelligence committees, greater confidence in the technology and reduced
 resistance from Pakistan led to a sharp increase starting in the summer of 2008.

 Former C.I.A. officials say there is a rigorous protocol for identifying militants, using video from
 the Predators, intercepted cellphone calls and tips from Pakistani intelligence, often originating
 with militants' resentful neighbors. Operators at C.I.A. headquarters can use the drones' video
 feed to study a militant's identity and follow fighters to training areas or weapons caches,
 officials say. Targeters often can see where wives and children are located in a compound or
 wait until fighters drive away from a house or village before they are hit.

 Mr. Mehsud's wife and parents-in-law were killed with him, but that was an exceptional
 decision prompted by the rare chance to attack him, the official said.
nytlmes,com/2009/12/"./04drones,htm",                                                                     3/4
8/27/2010        Case 1:10-cv-01469-JDB
                                    C.LA. to Document
                                             Expand Use of3-2
                                                           DronesFiled 08/30/10
                                                                  in Pakis...                                  Page 97 of 153
 The NewAlfierica-Fourfdatioll, a policy group in Washington, studied press reports ana -
 estimated that since 2006 at least 500 militants and 250 civilians had been killed in the drone
 strikes. A separate count, by The Long War Journal, found 885 militants' deaths and 94
 civilians'.

 But the government official insisted on the accuracy of his far lower figure of approximately 20
 civilian deaths, noting that the Pakistani press rarely reported local protests about civilian
 deaths, routine occurrences when bombs in Afghanistan have gone astray.

 Daniel S. Markey, who studies South Asia at the Councilon Foreign Relations, said the
 comments of two anti-Taliban tribal leaders he spoke with on a recent trip to Pakistan seemed
 to capture the paradox of the drones.

 The tribal leaders told him that the strikes were eliminating dangerous militants while causing
 few civilian deaths. But they pleaded for a halt to the attacks, saying the strikes stirred up anger
 toward the United States and the Pakistani Army, and "made them look like puppets," he said.

 "It gave the lie," Mr. Markey said, "to the argument we've made for a long time: that this fight
 is theirs, too."


                                                       Copyright 2010 The New York Times Company

             Privacy Polley   I Terms of Service I Search I Corrections I      I First Look I Help I Contact Us I Work for Us I Site Map




nytlmes.com/2009/12/..,f04drones.htm ...                                                                                                   4/4
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 98 of 153




                  Exhibit Q
     Case 1:10-cv-01469-JDB                 Document 3-2            Filed 08/30/10           Page 99 of 153
                                                                               - - -Yemen:-29-
                                                                  Cracking down under pressure




3. AL-QA'IDA AND THE RESPONSE




The role of armed Islamist militants in Yemen rose to prominence during the civil war in
1994, when they fought alongside the army of the former YAR (North Yemen) to defeat the
armed forces of the former PDRY (South Yemen). The PDRY was a secular state, widely
perceived to be communist and backed by the USSR, The Islamist militants siding with the
YAR comprised Yemenis and other nationals, mainly from Arab countries, Many had settled
in Yemen, with the encouragement of the government in the north, after taking part in the
war against the Soviet occupation of Afghanistan during the 1980s.

Following the civil war, some militants, with the acquiescence of the authorities, acted as a
kind of religious police, particularly in the south, There, they attempted to enforce their own
vision of Islamic morality, such as strict dress codes for women and the prohibition of
alcohol, and used violence on occasion,

In early 2009, according to media reports, al-Qa'ida in Yemen merged with its counterpart in
Saudi Arabia, some of whose members are believed to be in hiding in Yemen, Estimates of
the size of the group, said to be called al-Qa'ida in the Arabian Peninsula, range from a few
dozen to several hundred. The government tends to blame all attacks by Islamist militants on
al-Oa'lda, but some militants have said they belong to other groups, such as Yemeni Islamic
Jihad and the Brigades of the Soldiers of Yemen, Some have been accused of belonging to
such groups when brought to trial. It is unclear to what extent such groups are affiliated with
al-Oa'Ida.

Clearly, governments have a duty to take measures to protect citizens and other people within
their jurisdiction from attack by armed groups, but the measures must be lawful,
proportionate to the threat posed and consistent with international human rights law and
standards (and, in situations that rise to the level of an armed conflict, international
humanitarian law). The Yemeni authorities have become increasingly willing to use or
condone methods that are manifestly outside such parameters when confronting people
suspected of links to al-Qa'ida, and are branding as "terrorists" a wide range of opponents
and using "anti-terrorist" measures against them, Further, they are citing the defence of
Case 1:10-cv-01469-JDB                    Document 3-2      Filed 08/30/10             Page 100 of 153
      30   Yemen:
           Cracking down under pressure



      national security as a pretext to stifle peaceful criticism of the government.

      The armed attacks by al-Oa'ida and the government's response to them have not crossed the
      threshold of intensity and scale that would mean the situation is categorized as an armed
      conflict. 101 Accordingly, the proper standards applicable to operations against al-Oai'da and
      other armed groups in Yemen are law enforcement standards. These oblige the Yemeni
      authorities to seek to arrest suspected militants rather than to carry out premeditated killings,
      not to use unnecessary or excessive force during arrest operations, and to conduct prompt
      and effective investigations after incidents in which suspects are killed,

      ATTACKS BY AL-QA'IDA AND OTHER ARMED GROUPS
      Starting in the 1990s, some Islamist militants began carrying out violent attacks. According
      to 26 September, a pro-government daily newspaper, "al-Oa'ida elements" carried out 65
      "terrorist operations" in Yemen between 1992 and December 2009,102 Suicide and other
      bomb attacks have been reported sporadically since then.

      The targets of suicide bombings and other attacks have included government officials, foreign
      embassies and tourists. More than 30 people, not including security force members and
      attackers, have been killed since 1998. For example, on 28 December 1998 the kidnappings
      of 16 tourists and four Yemeni drivers by members of the Islamic Army armed group resulted
      in the killings next day of three British nationals and an Australian, They were killed during a
      rescue attempt by Yemeni security forces; it was unclear whether they died at the hands of
      the armed group or were killed by the security forces in their effort to rescue thern.!" More
      recently, in July 2007 a suicide bomber killed eight Spanish tourists and two Yemeni drivers
      accompanying them in Ma'rib,104 In September 2008 a suicide bomb attack against the US
      embassy in Sana'a killed at least 16 people, including people waiting outside, security
      guards and six attackers.':" In March 2009 a bomb killed four South Korean tourists and
      their Yemeni guide in Shibam in Hadrarnawt.'?" In April 2010 the British ambassador in
      Sana'a narrowly escaped a bomb attack claimed by al-Oa'lda.'?' In June 2010 an attack on
      the Political Security building in Aden resulted in the deaths of seven security officers, three
      women and a seven-year-old child, The government said the attack was carried out by al-
      Oa'ida and that some detainees had escaped during the incldent.l?"

      Amnesty International condemns all attacks that deliberately target members of the public,
      which can never be justified under any circumstances. It calls for prompt, thorough and
      impartial investigations into such attacks and for those responsible to be brought to justice in
      proceedings that meet international standards of fairness, and without the imposition of the
      death penalty.

      UNLAWFUL KILLINGS BY SECURITY FORCES
      The security forces have killed at least 113 people since the beginning of 2009 in operations
      that the government said were targeting people they described as "terrorists". Such attacks
      appear to have become more frequent since December 2009, In some cases, people were
      said to have been killed during exchanges of fire between militants and security forces trying
      to apprehend them, In others, the security forces appear to have made no attempt to detain
      the militants, and the killings may have amounted to extrajudicial executions. In yet other
      cases, the security forces unlawfully killed people by using excessive force. Amnesty
      International is not aware of judicial investigations into any such incidents to determine
     Case 1:10-cv-01469-JDB                               Document 3-2                       Filed 08/30/10                                  Page 101 of 153
                                                                                                              Yemen:                         31
                                                                                         Cracking down under pressure



whether or not the use of lethal force by security forces was justified or not in the particular
circumstances or unlawful.

Two of the most serious incidents were the killing of 41 men, women and children on 17
December 2009 in the southern governorate of Abyan (see box below), in an attack
apparently targeting Mohammad al-Kazemi and other people suspected of links to al-Oa'ida,
and an attack one week laterwhich killed as many as 30 people, alleged to be suspected
members of al-Oa'lda, when missiles were fired into a farmhouse in Rafadh in the eastern
governorate of Shabwah.




Part of acruise missile carrying cluster munitions, Yemen © Private




                                                                                                         rro
                                                                                                                r~spon~ibility, claiming·
                                                                                                                rany ~eaths of women
                                                                                                     ,   .. ···,,".···_,_".c.
                                                                                        --      . . _---



                                                                                       __~C.,::- .:>_:::;<_>.:'-,--_._:::_;_:.' :.'; -, ..

                                                                                         IsHee the site'a'week after the
                                                                                       . mmitteeconcluded thiltfive
                                                                      ...... .. e'sett.lement and 27 members oUhe
                                                                      I~Haidra family, a 13-year~old girl, was reporfedto
Case 1:10-cv-01469-JDB                      Document 3-2                   Filed 08/30/10                Page 102 of 153
      32     Yemen:
             Cracking down under pressure



                                                          tmentforherinjuries, In itsreport thecominittee said that on
                                                                   .ines and            fswereburntandall that was
                                                                                                        sand anumber


      T
      ~o\lernmenf
       "innocent"; btl
      apologizecUo
      totarget al-O
      pMple killed

                                                                                                                  nce of
                                                                                                     ntelligence, They
                                                                                                     Ible tor tne
                                                                                                   ioa meinbers who
                                                  ,    •.........                 inevitably meantfailure. At no point
                                    . . cOnJirm whether the f(lilitatyoperation had beencatrled 04t by Yemeni forces
                                 sassisting them.




                                                                                              -_. . _.... _---_._ ..._--



                                                                                              )ck, sOme US media
                                                                              . .        ed statements by unnamed US
                                                                             governmentsources who said that US cruise
                                                                             missile              esi~entiaHrrders had
      Part ofacruise missile carrying cluster munitions, Yemen © Private     been                   al~Qa'ida sites in
                                                                             :y

           •sty Int                             'ioformation.from the'Pentag                      ntofUSforces in the
            'jalah                              To'ns, may have been taken tomini    .... . injuries, but has yet to
      receive ares                                  oft stated thattheUSA declinea toCbnfinenton the strike, saying
    Case 1:10-cv-01469-JDB                 Document 3-2           Filed 08/30/10                Page 103 of 153
                                                                                      Yemen:    33
                                                                 Cracking down under pressure




One recent fatal attack by the security forces was on 25 May 2010 in Ma'rib, when four
people were killed, including Jaber al-Shabwani, the deputy governor of Ma'rib. Jaber al-
Shabwani was reported to have been travelling to meet and mediate with al-Oa'lda members
to persuade them to surrender to the authorities, when the vehicle he was in was attacked.
According to press reports, the attack was carried out from an aircraft, although some sources
say it may have been an unmanned drone. As with the 17 December 2009 attack in Abyan,
the USA appears to have been involved. Shortly after the incident in Ma'rib, a US diplomat
stated that the USA had trained Yemeni forces, shared information and provided equipment:
"So we are working together. The Yemeni forces always take the lead in operations carried out
in Yemen ... "1l4 On 5 June, Yemen's Foreign Affairs Minister said the government would
investigate whether drones were used in the attack, and if so, whether they were used by
Yemeni security forces or others. He later confirmed that "others" could include the USA.l15
No outcome from this investigation was known to have been disclosed by the end of June
2010.

Other people accused by the government of belonging to al-Oa'ida and reported to have been
killed in 2010 include two men on a wanted list who were stopped and killed during a clash
at a checkpoint in al-Hudaydah on 18 April;116 three people who were killed on 14 March,
including two men alleged to be al-Oa'lda leaders; 117 the father of an al-Oa'lda suspect shot
dead in his home by a soldier on 4 March after the father reportedly fired at the soldier; 118
six people killed on 15 January, including Qassem Yahya Mahdi al-Rayml, alleged to be a
leader of al-Oa'lda.!" a man alleged to be a senior al-Oa'Ida leader killed in Shabwah on 12
January: 120 and at least two people killed on 4 January, including the nephew of Mohammad
al-Haniq who was the target but escaped. 121
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 104 of 153




                   Exhibit R
8/27/2010         Case 1:10-cv-01469-JDB      Document
                                      Secret Assault       3-2 Widens
                                                     on Terrorism Filed 08/30/10
                                                                        on ...                                  Page 105 of 153

                        I1rmt'. Reprints
 This copy is for your personal, noncommercial use only. You can order presentation-ready copiestor
 distribution to your colleagues, clients or customers here or use the "Repn nts" tool that appears next to any
 article. Visit www.nytreprints.corn for samples and additional information. Order a reprint of this article now.



 Augusl14, 2010



 Secret Assault on Terr-or-ism Widens on
 Two Continents
 By SCOTT SHANE, MARK MAZZETTI and ROBERT F. WORTH
 This article is by Scott Shane, Mark Mazzetti and Robert F. Worth.

 WASHINGTON - At first, the news from Yemen on May 25 sounded like a modest victory in
 the campaign against terrorists: an airstrike had hit a group suspected of being operatives for Al
 Qaeda in the remote desert of Marib Province, birthplace of the legendary queen of Sheba.

 But the strike, it turned out, had also killed the province's deputy governor, a respected local
 leader who Yemeni officials said had been trying to talk Qaeda members into giving up their
 fight. Yemen's president, AliAbdullah Saleh, accepted responsibility for the death and paid
 blood money to the offended tribes.

 The strike, though, was not the work of Mr. Saleh's decrepit Soviet-era air force. It was a secret
 mission by the United States military, according to American officials, at least the fourth such
 assault on Al Qaeda in the arid mountains and deserts of Yemen since December.

 The attack offered a glimpse of the Obama administration's shadow war against Al Qaeda and
 its allies. In roughly a dozen countries - from the deserts of North Africa, to the mountains of
 Pakistan, to former Soviet republics crippled by ethnic and religious strife - the United States
 has significantly increased military and intelligence operations, pursuing the enemy using
 robotic drones and commando teams, paying contractors to spy and training local operatives to
 chase terrorists.

  The White House has intensified the Central Intelligence Agency's drone missile campaign in
  Pakistan, approved raids against Qaeda operatives in Somalia and launched clandestine
  operations from Kenya. The administration has worked with European allies to dismantle
  terrorist groups in North Africa, efforts that include a recent French strike in Algeria. And the
  Pentagon tapped a network of private contractors to gather intelligence about things like
  militant hide-outs in Pakistan and the location of an American soldier currently in Taliban
  hands.


nytimes.com/20101...j15shadowwar.ht...                                                                                            1/8
8/27/2010       Case 1:10-cv-01469-JDB      Document
                                    Secret Assault       3-2 Widens
                                                   on Terrorism Filed 08/30/10
                                                                      on ...     Page 106 of 153
 While the stealth war began in the Bush administration, it has expanded under President
 Obama, who rose to prominence in part for his early opposition to the invasion of Iraq. Virtually
 none of the newly aggressive steps undertaken by the United States government have been
 publicly acknowledged. In contrast with the troop buildup in Afghanistan, which came after
 months of robust debate, for example, the American military campaign in Yemen began without
 notice in December and has never been officially confirmed.

 Obama administration officials point to the benefits of bringing the fight against Al Qaeda and
 other militants into the shadows. Afghanistan and Iraq, they said, have sobered American
 politicians and voters about the staggering costs of big wars that topple governments, require
 years of occupation and can be a catalyst for further radicalization throughout the Muslim
 world.

 Instead of "the hammer," in the words of John O. Brennan, President Obama's top
 counterterrorism adviser, America will rely on the "scalpel." In a speech in May, Mr. Brennan,
 an architect of the White House strategy, used this analogy while pledging a "multigenerational"
 campaign against Al Qaeda and its extremist affiliates.

 Yet such wars come with many risks: the potential for botched operations that fuel anti-
 American rage; a blurring of the lines between soldiers and spies that could put troops at risk of
 being denied Geneva Convention protections; a weakening of the Congressional oversight
 system put in place to prevent abuses by America's secret operatives; and a reliance on
 authoritarian foreign leaders and surrogates with sometimes murky loyalties.

 The May strike in Yemen, for example, provoked a revenge attack on an oilpipeline by local
 tribesmen and produced a propaganda bonanza for Al Qaeda in the Arabian Peninsula. It also
 left President Saleh privately furious about the death of the provincial official, J abir al-
 Shabwani, and scrambling to prevent an anti- American backlash, according to Yemeni officials.

 The administration's demands have accelerated a transformation of the C.I.A. into a
 paramilitary organization as much as a spying agency, which some critics worry could lower the
 threshold for future quasi-military operations. In Pakistan's mountains, the agency had
 broadened its drone campaign beyond selective strikes against Qaeda leaders and now regularly
 obliterates suspected enemy compounds and logistics convoys, just as the military would grind
 down an enemy force.

  For its part, the Pentagon is becoming more like the C.I.A. Across the Middle East and
  elsewhere, Special Operations troops under secret "Execute Orders" have conducted spying
  missions that were once the preserve of civilian intelligence agencies. With code names like
  Eager Pawn and Indigo Spade, such programs typically operate with even less transparency
nyti mes.com/2010/ .../15shadowwar. ht...                                                          2/8
8/27/2010      Case 1:10-cv-01469-JDB      Document
                                   Secret Assault       3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 107 of 153
 and Congressional oversight than traditional covert actions by the C.I.A.

 And, as American counterterrorism operations spread beyond war zones into territory hostile
 to the military, private contractors have taken on a prominent role, raising concerns that the
 United States has outsourced some of its most important missions to a sometimes
 unaccountable private army.

 A Proving Ground

 Yemen is a testing ground for the "scalpel" approach Mr. Brennan endorses. Administration
 officials warn of the growing strength of Al Qaeda's affiliate there, citing as evidence its attempt
 on Dec. 25 to blow up a trans-Atlantic jetliner using a young Nigerian operative. Some American
 officials believe that militants in Yemen could now pose an even greater threat than Al Qaeda's
 leadership in Pakistan.

 The officials said that they have benefited from the Yemeni government's new resolve to fight
 Al Qaeda and that the American strikes - carried out with cruise missiles and Harrier fighter
 jets - had been approved by Yemen's leaders. The strikes, administration officials say, have
 killed dozens of militants suspected of plotting future attacks. The Pentagon and the C.I.A. have
 quietly bulked up the number of their operatives at the embassy in Sana, the Yemeni capital,
 over the past year.

 "Where we want to get is to much more small scale, preferably locally driven operations," said
 Representative Adam Smith, Democrat of Washington, who serves on the Intelligence and
 Armed Services Committees.

  "For the first time in our history, an entity has declared a covert war against us," Mr. Smith
  said, referring to Al Qaeda. "And we are using similar elements of American power to respond
  to that covert war."

  Some security experts draw parallels to the cold war, when the United States drew heavily on
  covert operations as it fought a series of proxy battles with the Soviet Union.

  And some of the central players of those days have returned to take on supporting roles in the
  shadow war. Michael G. Vickers, who helped run the C.I.A.'s campaign to funnel guns and
  money to the Afghanistan mujahedeen in the 1980s and was featured in the book and movie
  "Charlie Wilson's War," is now the top Pentagon official overseeing Special Operations troops
  around the globe. Duane R. Clarridge, a profane former C.I.A. officer who ran operations in
  Central America and was indicted in the Iran-contra scandal, turned up this year helping run a
  Pentagon-financed private spying operation in Pakistan.

nytimes.com/2010/.../15shadowwar.ht...                                                              3/8
8/27/2010      Case 1:10-cv-01469-JDB      Document
                                   Secret Assault        3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 108 of 153
 In pursuing this strategy, the White House is benefiting from a unique political landscape.
 Republican lawmakers have been unwillingto take Mr. Obama to task for aggressively hunting
 terrorists, and many Democrats seem eager to embrace any move away from the long, costly
 wars begun by the Bush administration.

 Still, it has astonished some old hands of the military and intelligence establishment. Jack
 Devine, a former top C.I.A. clandestine officer who helped run the covert war against the Soviet
 Army in Afghanistan in the 1980s, said his record showed that he was "not exactly a cream
 puff" when it came to advocating secret operations.

 But he warned that the safeguards introduced after Congressional investigations into
 clandestine wars of the past - from C.I.A. assassination attempts to the Iran-contra affair, in
 which money from secret arms dealings with Iran was funneled to right-wing rebels in
 Nicaragua known as the contras - were beginning to be weakened. "We got the covert action
 programs under well-defined rules after we had made mistakes and learned from them," he
 said. "Now, we're coming up with a new model, and I'm concerned there are not clear rules."

 Cooperation and Control'

 The initial American strike in Yemen came on Dec. 17, hitting what was believed to be a Qaeda
 training camp in Abyan Province, in the southern part of the country. The first report from the
 Yemeni government said that its air force had killed"around 34" Qaeda fighters there, and that
 others had been captured elsewhere in coordinated ground operations.

 The next day, Mr. Obama called President Saleh to thank him for his cooperation and pledge
 continuing American support. Mr. Saleh's approval for the strike - rushed because of
 intelligence reports that Qaeda suicide bombers might be headed to Sana - was the culmination
 of administration efforts to win him over, including visits by Mr. Brennan and Gen. David H.
 Petraeus, then the commander of military operations in the Middle East.

  The accounts of the American strikes in Yemen, which include many details that have not
  previously been reported, are based on interviews with American and Yemeni officials who
  requested anonymity because the military campaign in Yemen is classified, as well as
  documents from Yemeni investigators.

  As word of the Dec. 17 attack filtered out, a very mixed picture emerged. The Yemeni press
  quickly identified the United States as responsible for the strike. Qaeda members seized on
  video of dead children and joined a protest rally a few days later, broadcast by Al Jazeera, in
  which a speaker shouldering anAK-47 rifle appealed to Yemeni counterterrorism troops.

  "Soldiers, you should know we do not want to fight you," the Qaeda operative, standing amid
nytimes.com/2010/...j15shadowwar,ht...                                                              4/8
8/27/2010      Case 1:10-cv-01469-JDB      Document
                                   Secret Assault        3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 109 of 153
 angry Yemenis, declared. "There is no problem between you and us. The problem is between us
 and America and its agents. Beware taking the side of America!"

 A Navy ship offshore had fired the weapon in the attack, a cruise missile loaded with cluster
 bombs, according to a report by Amnesty International. Unlike conventional bombs, cluster
 bombs disperse small munitions, some of which do not immediately explode, increasing the
 likelihood of civilian causalities. The use of cluster munitions, later documented by Amnesty,
 was condemned by human rights groups.

 An inquiry by the Yemeni Parliament found that the strike had killed at least 41 members of
 two families living near the makeshift Qaeda camp. Three more civilians were killed and nine
 were wounded four days later when they stepped on unexploded munitions from the strike, the
 inquiry found.

 American officials cited strained resources for decisions about some of the Yemen strikes, With
 the C.LA.'s armed drones tied up with the bombing campaign in Pakistan, the officials said,
 cruise missiles were all that was available at the time. Drones are favored by the White House
 for clandestine strikes because they can linger over targets for hours or days before unleashing
 Hellfire missiles, reducing the risk that women, children or other noncombatants will fall victim.

 The Yemen operation has raised a broader question: who should be running the shadow war?
 White House officials are debating whether the C.I.A. should take over the Yemen campaign as
 a "covert action," which would allow the United States to carry out operations even without the
 approval of Yemen's government. By law, covert action programs require presidential
 authorization and formal notification to the Congressional intelligence committees. No such
 requirements apply to the military's so-called Special Access Programs, like the Yemen strikes.

  Obama administration officials defend their efforts in Yemen. The strikes have been "conducted
  very methodically," and claims of innocent civilians being killed are "very much exaggerated,"
  said a senior counterterrorism official. He added that comparing the nascent Yemen campaign
  with American drone strikes in Pakistan was unfair, since the United States has had a decade to
  build an intelligence network in Pakistan that feeds the drone program.

  In Yemen, officials said, there is a dearth of solid intelligence about Qaeda operations. "It will
  take time to develop and grow that capability," the senior official said.

  On Dec. 24, another cruise missile struck in a remote valley called Rafadh, about 400 miles
  southeast of the Yemeni capital and two hours from the nearest paved road. The Yemeni
  authorities said the strike killed dozens of Qaeda operatives, including the leader of the Qaeda
  branch in Yemen, Nasser al-Wuhayshi, and his Saudi deputy, Said Ali al-Shihri. But officials

nytimes.com/2010/..,f15shadowwar.ht...                                                                 5/8
8/27/2010      Case 1:10-cv-01469-JDB      Document
                                   Secret Assault       3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 110 of 153
 later acknowledged that neither man was hit, and local witnesses say the missile killed five low-
 level Qaeda members.

 The next known American strike, on March 14, was more successful, killing a Qaeda operative
 named J amil al-Anbari and possibly another militant. Al Qaeda's Yemeni branch acknowledged
 Mr. Anbari's death. On June 19, the group retaliated with a lethal attack on a government
 security compound in Aden that left 11 people dead and said the "brigade of the martyr J amil
 al-Anbari" carried it out.

 In part, the spotty record of the Yemen airstrikes may derive from another unavoidable risk of
 the new shadow war: the need to depend on local proxies who may be unreliable or corrupt, or
 whose agendas differ from that of the United States.

 American officials have a troubled history with Mr. Saleh, a wily political survivor who
 cultivates radical clerics at election time and has a history of making deals with jihadists. Until
 recently, taking on Al Qaeda had not been a priority for his government, which has been fighting
 an intermittent armed rebellion since 2004.

 And for all Mr. Saleh's power - his portraits hang everywhere in the Yemeni capital- his
 government is deeply unpopular in the remote provinces where the militants have sought
 sanctuary. The tribes there tend to regularly switch sides, making it difficult to depend on them
 for information about Al Qaeda. "My state is anyone who fills my pocket with money," goes one
 old tribal motto.

 The Yemeni security services are similarly unreliable and have collaborated with jihadists at
 times. The United States has trained elite counterterrorism teams there in recent years, but
 the military still suffers from corruption and poor discipline.

 It is still not clear why Mr. Shabwani, the Marib deputy governor, was killed. The day he died,
 he was planning to meet members of Al Qaeda's Yemeni branch in Wadi Abeeda, a remote,
 lawless plain dotted with orange groves east of Yemen's capital. The most widely accepted
 explanation is that Yemeni and American officials failed to fully communicate before the attack.

 Abdul Ghani al-Eryani, a Yemeni political analyst, said the civilian deaths in the first strike and
 the killing of the deputy governor in May "had a devastating impact." The mishaps, he said,
 "embarrassed the government and gave ammunition to Al Qaeda and the Salafists," he said,
 referring to adherents of the form of Islam embraced by militants.

 American officials said President Saleh was angry about the strike in May, but not so angry as
 to call for a halt to the clandestine American operations. "At the end of the day, it's not like he
 said, 'No more,' " said one Obama administration official. "He didn't kick us out of the country."
nytimes.com/2010/.../15shadowwar.ht...                                                                 6/8
8/27/2010
               Case 1:10-cv-01469-JDB      Document
                                   Secret Assault        3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 111 of 153

 Weighing Success

 Despite the airstrike campaign, the leadership of Al Qaeda in the Arabian Peninsula survives,
 and there is little sign the group is much weaker.

 Attacks by Qaeda militants in Yemen have picked up again, with several deadly assaults on
 Yemeni army convoys in recent weeks. Al Qaeda's Yemen branch has managed to put out its
 first English-language online magazine, Inspire, complete with bomb-making instructions.
 Intelligence officials believe that Samir lilian, a 24-year-old American who arrived from North
 Carolina last year, played a major role in producing the slick publication.

 As a test case, the strikes have raised the classic trade- off of the post- Sept. 11 era: Do the
 selective hits make the United States safer by eliminating terrorists? Or do they help the
 terrorist network frame its violence as a heroic religious struggle against American aggression,
 recruiting new operatives for the enemy?

 Al Qaeda has worked tirelessly to exploit the strikes, and in Anwar al-Awlaki, the American-
 born cleric now hiding in Yemen, the group has perhaps the most sophisticated ideological
 opponent the United States has faced since 2001.

 "If George W. Bush is remembered by getting America stuck in Afghanistan and Iraq, it's
 looking like Obama wants to be remembered as the president who got America stuck in
 Yemen," the cleric said in a March Internet address that was almost gleeful about the American
        .
 campaign.

  Most Yemenis have little sympathy for Al Qaeda and have observed the American strikes with
  "passive indignation," Mr. Eryani said. But, he added, "I think the strikes over all have been
  counterproductive."

  Edmund J. Hull, the United States ambassador to Yemen from 2001 to 2004, cautioned that
  American policy must not be limited to using force against Al Qaeda.

  "I think it's both understandable and defensible for the Obama administration to pursue
  aggressive counterterrorism operations," Mr. Hull said. But he added: "I'm concerned that
  counterterrorism is defined as an intelligence and military program. To be successful in the long
  run, we have to take a far broader approach that emphasizes political, social and economic
  forces."

  Obama administration officials say that is exactly what they are doing - sharply increasing the
  foreign aid budget for Yemen and offering both money and advice to address the country's

nytimes.com/2010/...j15shadowwar.ht. ..                                                             7/8
8/27/2010      Case 1:10-cv-01469-JDB      Document
                                   Secret Assault       3-2 Widens
                                                  on Terrorism Filed on
                                                                     08/30/10
                                                                        ...     Page 112 of 153
 crippling problems. They emphasized that the core of the American effort was not the strikes
 but training for elite Yemeni units, providing equipment and sharing intelligence to support
 Yemeni sweeps against Al Qaeda.

 Still, the historical track record of limited military efforts like the Yemen strikes is not
 encouraging. Micah Zenko, a fellow at the Center for Preventive Action at the Council on
 Foreign Relations, examines in a forthcoming book what he has labeled "discrete military
 operations" from the Balkans to Pakistan since the end of the cold war in 1991. He found that
 these operations seldom achieve either their military or political objectives.

 But he said that over the years, military force had proved to be a seductive tool that tended to
 dominate "all the discussions and planning" and push more subtle solutions to the side.

 When terrorists threaten Americans, Mr. Zenko said, "there is tremendous pressure from the
 National Security Council and the Congressional committees to, quote, 'do something.' "

 That is apparent to visitors at the American Embassy in Sana, who have noticed that it is
 increasingly crowded with military personnel and intelligence operatives. For now, the shadow
 warriors are taking the lead.

 Muhammad al-Ahmadi contributed reporting from Yemen.


  This article has been revised to reflect the following correction:

 Correction: August 22, 2010

 An article last Sunday about the Obama administration's shadow war against AIQaeda and its allies
  in roughly a dozen countries gave an outdated affiliation in some editions for Micah Zenko, who in a
 forthcoming book looks at what he calls "discrete military operations" from the Balkans to Pakistan
 since the end of the cold war. Mr. Zenko is a fellow at the Center for Preventive Action at the Council
  on Foreign Relations; he is no longer a scholar at the Kennedy School of Government at Harvard.




nvtlmes.com/zotn/.../15shadowwar.ht...                                                                     8/8
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 113 of 153




                   Exhibit S
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                           U.S. Turns          3-2
                                                      Up Heat On       Filed
                                                                 Internet    08/30/10
                                                                          Imam '"                                              Page 114 of 153
 August 26. 2010                                                                                                          NPRShop   I   NPRConmunity    I Login I Register


                                 FIND A STATION                                                                            SEARCH




                      news
  News' U.S. , National Security


      Simi!                   Corrments (3)        Recornrr19nd (9)     A'int




 < U.S. Turns Up. Heat On Internet Imam Awlaki



  Copyrlght@2010 NationalPublic Radlo@, For personal, noncommercial use only. See Terms of Use. For other uses, prior
  permission requlrecl.

  Heard on Morning Edition                                                                           text size A   A A

  July 29,2010- RENEE MONTAGNE, host:

  This is MORNING EDITION from NPRNews. I'm Renee Montagne.

  DONGONYEA, host:

  And I'm Don Gonyea.

  The U.S. government is turning up the heat on an American-born radical cleric. His name is Anwar
  al-Awlaki. He's thought to be a key operative of al-Qaida's arm in Yemen. He's been linked to the
  Fort Hood shootings In Texas and the attempted bombing of a U.S. airliner last Christmas Day.

  Several months ago, intelligence officials acknowledged he was on the CIA's capture or kill list.
                                                                                                                         s.hop                     Visit the NPR Shop ' .

  That means he's essentially a target for assassination. Yet al-Awlakl has not been formerly indicted
  for anything. NPR's Dina Temple-Raston explains.                                                                                                 WIA'i~:IR
                                                                                                                                                   01
  DINA TEMPLE-RASTON: NPRhas learned that about a month ago several U.S. lawmakers                                                                 Sill
  received unexpected phone call from Yemen. It was from a Dr. Nasseral-Awlakl, an accomplished                                                        FRaCO Waathef
                                                                                                                                                       Tracker' Radio
  academic and former Yemeni government official. He also happens to be the father of Anwar al-
  Awlakl, who was born in NewMexico while his dad was studying in the U.S.                                                                             ji;valillblm Now>


  His father told the lawyers that his son had been falsely accused and that he wanted to sue. He
  said that by putting his son on the CIA's capture or kill list, the U.S. government has deprived him of
  his Fifth Amendment right - the right to due process.

  Mr. JUAN ZARATE (Former Deputy, National Security Council): I don't think there's much of a case
  here.

  TEMPLE-RASTON: Juan Zarate is a former deputy at the National Security Council.

  Mr. ZARATE: When an individual like AnwarAwlakl joins the enemy force in an ongoing war, which
  the Obama administration calls a war on al-Qalda In a global context, there's very little that that
  American citizen can do in court to challengewhat may happen to that individual in the field of
  battle.

  TEMPLE-RASTON: Intelligence sources tell NPR that there have been almost a dozen drone and
  airstrlkestargeting Awlaki in Yemen. So far he's escaped them all.

  Not long after Dr. Awlaki called the U.S. attorneys, an interesting thing happened. The U.S.
  Treasury put Awlaki on their list of designated global terrorists. And then a day after that, the U.N.
  branded him a bona fide memberof al-Qalda. Zarate says a formal indictment is next.

  Mr. ZARATE: If an indictment hasn't been brought already, I would anticipate one coming, given the
  fact that Awlaki has crossed the line from merelybeing a radical ideologue to actually being an
  operational part of al-Qaida in the Arabian Peninsula.

  TEMPLE-RASTON: Officials declined to comment on the record about Awlaki and the legal moves
  against him. In fact, he may have already been indicted and we wouldn't know about It if the

npr.orq/ternplates/...jtranscript.php?sto...                                                                                                                                 1/3
8/27/2010              Case 1:10-cv-01469-JDB      Document
                                           U.S. Turns          3-2
                                                      Up Heat On       Filed
                                                                 Internet    08/30/10
                                                                          Imam ...                                             Page 115 of 153
 indictment were under seal.

 Officials said they knewthat Awlaki's father was considering a suit against the government, but they
 wouldn't say whetherthat is what motivated them to put Awlaki on terrorist watch lists now. There
 are other possible reasons.

 Professor SAM RASCOFF (NewYork University): 1m Sam Rascoff. I'ma lawprofessor at NYU. I
 used to run Intelligence analysis forthe NewYork City Police Department.

 TEMPLE-RASTON: Rascoffhas been tracking Awlaki for years and watched him go from a
 propagandistfor al-Qalda to a leader for the group.

 Mr. RASCOFF: Were beginning to hear more and more of Awlaki as a senior operative, a
 lieutenant as it were, for osama bin Laden, someone who's actuallytaking concrete terrorist
 decisions and actually causing operatives like the December 25th bomber to get on planes and try
 to blowthings up.

  TEMPLE-RASTON: Intelligence officials say Awlaki is thought to have actually trained a cell of
  foreign fighters in Yemen late last year, one of whom was the young Nigerian who allegedly tried to
  blow up Northwest Flight 253 on Christmas Day. The sources claim there's no doubt about Awlaki's
  decision to go from al-Qalda propagandistto operative. But they haven't had to prove that in court.

  Mr. RASCOFF: Herethe executive is claiming the powerto go ahead and target al-Awlaki for
  assassination without going through anything that resembles traditional legal process, most
  specifically without a jury conviction.

  TEMPLE-RASTON: Again, NYU lawprofessor Sam Rascoff.

  Mr. RASCOFF: It essentially amounts to going right to the death penalty phase of things.

  TEMPLE-RASTON: And shouldn't that worry us?

  Mr. RASCOFF: Well, I think it ought to give us pause. It ought to make us return to our first
  principles and think: What are we trying to achieve here? Who is Awlaki? Is he considered more
  like a criminal accused in an American court by virtue of his American citizenship? Or is he
  something closer to an enemy fighter? In which case the fact that he happens to be an American
  shouldn't mattervery much.

  TEMPLE-RASTON: The answerto that question could become clearer in the coming days if the
  Justice Department makesAwlaki's indictment official.

  Dina Temple-Raston, NPRNews.

  Copyright© 2010NationalPuhllc Radio®. All rights reserved. No quotesfrom the materialscontainedIlerein maybe usedIn
  any media vJthout attribution to NationalPublio Racllo. This transcriptis provicled for personal, nonccmmerctet use only.
  pursuantto our Termsof Use. Anyother use requiresNPR'sprior permission. Visitour permissionspage for further
  tmormenon.
  NPR trenecripts are creete«on a rush deadlineby a contractorfor NPR, anclaccuracyand availability may va/y. TIJ/s text may
  not be in its final form and maybe updatedor revisedin the future. Pleasebe alMJre thatthe autilOrltative record of NPR's
  programming is ihe audio.




      E-Imil       Share       Conments(3)          Recommend (9)         Fflnt



  More National Security
  national security                                                                    PODCAST + RSSFEEDS
  Report: Military Needs New Office To Stem Suicides                                                          Podcast   RSS
  The reportsays the services' existing prevention programs don'twork as
  well as theycould.
                                                                                        National Security

                      national security                                                 Morning Edition
                      Marines Need To Regain 'Maritime Soul,'
                      Gates Says




npr.orq/templates/...jtranscrlpt.php?sto...                                                                                                      2/3
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 116 of 153




                   Exhibit T
8/27/2010      Case 1:10-cv-01469-JDB
                                   TG-779: Document    3-2 Filed
                                           Treasury Designates Anwar 08/30/10
                                                                     AI. ..                    Page 117 of 153




                     July16,2010
                     TG-779

                                          Treasury Designates Anwar Al-Aulaql,
                                     Key Leader of AI-Qa'ida in the Arabian Peninsula

                      Treasury Targets al-Qa'ida Leader with Ties to Umar Farouk A bdulmutallab

                     WASHINGTON - The U.S. Department of the Treasury today designated Anwar al-
                     Aulaqi, a key leader for al-Qa'ida in the Arabian Penins ula (AQAP), a Yemen-
                     based terrorist group. Aulaqi was designated pursuantto Executive Order 13224
                     for supporting acts of terrorism and for acting for or on behalf of AQAP. Since its
                     inception in January2009, AQAP has claimed responsibility for numerous
                     terrorist attacks against Saudi, Korean, Yemeni and U.S. targets. Executive Order
                     13224 freezes any assets Aulaqi has under U.S. jurisdiction and prohibits U.S.
                     persons from engaging in any transactions with him.

                     "Anwar al-Aulaqi has proven that he is extraordinarily dangerous, com mitted to
                     carrying out deadly attacks on Americans and others worldwide," said Under
                     Secretary for Terrorism and Financial Intelligence Stuart Levey. "He has involved
                     himself in every aspect of the supply chain of terrorism -- fundraising for terrorist
                     groups, recruiting and training operatives, and planning and ordering attacks on
                     innocents."

                     Aulaqi has pledged an oath of loyalty to AQAP emir, Nasir al-Wahishi, and plays a
                     major role in setting the strategic direction for AQAP. Aulaqi has also recruited
                     individuals to join AQAP, facilitated training at camps in Yemen in support of acts
                     of terrorism, and helped focus AQAP's attention on planning attacks on U.S.
                     interests.

                     Since late 2009, Aulaqi has taken on an increasingly operational role in the group,
                     including preparing Umar Farouk Abdulmutallab, who attempted to detonate an
                     explos ive device aboard a Northwest Airlines flight from Amsterdam to Detroit on
                     Christmas Day2009, for his operation. In November 2009, while in Yemen,
                     Abdulmutallab swore allegiance to the em ir of AQAP and shortly thereafter
                     received instructions from Aulaqi to detonate an explosive device aboard a U.S.
                     airplane over U.S. airspace. After receiving this direction from Aulaqi,
                     Abdulmutallab obtained the explosive device he used in the attempted Christmas
                     Day attack.

                     Aulaqi was imprisoned in Yemen in 2006 on charges of kidnapping for ransom
                     and being involved in an al-Qa'ida piotto kidnap a U.S. official butwas released
                     from jail in December 2007 and subsequentlywent into hiding in Yemen.

                     "Aulaqi has soughtto encourage his supporters to provide moneyforterrorist
                     causes. Those who provide material support to Aulaqi or AQAP violate sanctions
                     and expose themselves to serious consequences ," continued Levey.

                     Today's action supports the international effort to degrade AQAP's capabilities to
                     execute violent attacks and to disrupt, dismantle, and defeat its financial and
                     support networks. The U.S. Government will continue to work with allies to identify
                     and take action against persons acting for or on behalf of, or providing financial
                     and other prohibited support to, Aulaqi and AQAP.

                     Identifying Information


www.treas.gov/press/releases/tg779.htm                                                                           1/2
8/27/2010      Case 1:10-cv-01469-JDB
                                   TG-779: Document    3-2 Filed
                                           Treasury Designates Anwar 08/30/10
                                                                     AI...      Page 118 of 153
                    Individual:
                    Anwar al-Aulaqi
                    AKA:
                    Anwar al-Awlaki
                    AKA:
                    Anwar al-Awlaqi
                    AKA:
                    Anwar Nasser Aulaqi
                    AKA:
                    Anwar Nasser Abdulla Aulaqi
                    AKA:
                    Anwar Nasswer Aulaqi
                    DOB:
                    April 21,1971
                    Alternate DOB:
                    April 22, 1971
                     POB:
                     Las Cruces, New Mexico
                     Citizenship:
                     United States
                     Citizenship:
                     Yemen
                     Location:
                     Shabwah Governorate, Yemen

                                                     ###




www.treas.gov/press/releases/tg779.htm                                                            2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 119 of 153




                   Exhibit U
8/27/2010            Case 1:10-cv-01469-JDB    Document
                                         Yemen won't extradite3-2
                                                               radicalFiled
                                                                      cleric -08/30/10
                                                                               ...                                                    Page 120 of 153




    Yemen won't extradite radical cleric
    Official: Laws prohibit sending al-Awlaki to U.S.


    Ap A$$Q()i~l~l! PI$;$
    updated 6/8/2010 7:39:35 AM ET

    SAN'A, Yemen - Yemen would not hand over a U'.Si-born, al-Qaida-linked cleric to the United States because the country's law bans extradition
    of its citizens, a Yemeni official said Tuesday.

    The radical Yerneni-American cleric, Anwar al-Awlaki, is believed to be hiding in Yemen since 2004.

    The U.S. says he is an active al-Qaida recruiter and has placed him on the CIA's list of targets for assassination, despite his American citizenship.
    Yemen's al-Qaida offshoot last month released a video of al-Awlaki calling for the killing of Americans.

    Al-Awlaki is also believed to have helped inspire recent attacks in the U.S., including the Fort Hood shooting, the Times Square bombing attem pt
    and the failed Christmas Day airline bombing.

    Yemen's Islamic Affairs Minister Hamoud al-Bitar told The Associated Press that Yemen is encouraging al-Awlaki to turn himself in, but if and
    when in Yemeni custody, he will not be extradited to the U.S.

    "There are constitutional and legal texts the government cannot get around," al- Hitar said.

    He said the U.S. should provide any proof it has of al-Awlaki's terrorist ties "to the Yemeni justice system, so it can do its job."

    Al-Hitar's remark" come as the U.S. has encouraged Yemen to step up its crackdown on al-Qaida,

    Al-Qaida refuge?
    U.S officials worry the network's offshoot has found refuge in the country's remote, lawless areas and could be plotting attacks against U.S. and
    other Western targets from the hideouts. There are also concerns that insurgents, including Americans, are training in militant camps in Yemen.

    On Monday, the U.S. State Department said Yemeni authorities had arrested 12 Americans. The arrests may be connected to a joint U.S.-Yemeni
    anti-terror campaign, though a department spokesman did not provide details.

    High on the list of U.S. concerns is that al-Awlaki, born in New Mexico to Yemeni parents, has used his fluent English and deep understanding of
    American culture to explain the philosophy of violent jihad to young Muslims in America and elsewhere in the West.

    Members of al-Awlaki's tribe deny he is connected to al-Qaida despite last month's video posting featuring his calls for killing of Americans. In the
    4s-minute video, al-Awlaki said U.S. deaths are justified and encouraged, citing what he said was U.S. intentional killing of a million Muslim
    civilians in Iraq, Afghanistan and elsewhere.

    Copyright 2010 The Associated Press, All rights reserved, This material may not be published, broadcast, rewritten or redistributed,




www.msnbc.msn.com/ld/37567224/                                                                                                                              1/1
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 121 of 153




                   Exhibit V
8/27/2010        Case 1:10-cv-01469-JDB
                                     Anwar AIDocument    3-2Cleric,
                                              Awlaki, Yemeni     Filed 08/30/10
                                                                    Advoc...      Page 122 of 153

    Check out our Google Chrome Extension. Get up to-the-minute reports, blogs and analysis with
 quick-view articles from all sections.




     August 27,2010




         Anwar                  AI         Awlaki,      This is the print preview: Back to normalview»


 Yemeni Cleric, Advocates Killing Americans
 In AI Qaeda Video
     MAAMOUN YOUSSEF 105/23/1009:54 PM lAP

     CAIRO - A U.S.-born cleric who has encouraged Muslims to kill American soldiers called
 for the killing of U.S. civilians in his first video released by a Yemeni offshoot of al-Qaida,
 providing the most overt link yet between the radical preacher and the terror group.

     Dressed in a white Yemeni robe, turban and with a traditional jambiyah dagger tucked into
 his waistband, Anwar AI-Awlaki used the 45-minute video posted Sunday to justify civilian
 deaths - and encourage them - by accusing the United States of intentionally killing a million
 Muslim civilians in Iraq, Afghanistan and elsewhere.

     American civilians are to blame, he said, because "the American people, in general, are
 taking part in this and they elected this administration and they are financing the war."

     "Those who might be killed in a plane are merely a drop of water in a sea," he said in the
 video in response to a question about Muslim groups that disapproved of the airliner plot
 because it targeted civilians.

     AI-Awlaki, who was born in New Mexico and is believed to be hiding in his parents' native
 Yemen, has used his personal website to encourage Muslims around the world to kill U.S.
 troops in Iraq.

     He has emerged as a prominent al-Qaida recruiter and has been tied by U.S. intelligence
 to the 9/11 hijackers, the suspects in the November shooting at an Army base in Fort Hood,
 Texas, and the December attempt to blow up a U.S. jetliner bound for Detroit.

    For U.S. officials, al-Awlaki is of particular concern because he is one of the few English-
 speaking radical clerics able to explain to young Muslims in America and other Western
 countries the philosophy of violent jihad.


huffingtonpost.com/ ...janwar-al-awlaki- ...                                                             1/3
8/27/2010       Case 1:10-cv-01469-JDB
                                    Anwar AIDocument    3-2Cleric,
                                             Awlaki, Yemeni    Filed  08/30/10
                                                                   Advoc...      Page 123 of 153
    AI-Awlaki's direct role in al-Qaida - if any - remains unclear. The U.S. says he is an active
 participant in the group, though members of his tribe have denied that.

    However, Sunday's video provides the clearest link yet between the cleric and the terror
 group.

    It was produced by al-Qaida in the Arabian Peninsula's media arm, which touted the
 recording as its first interview with al-Awlaki. It may also indicate al-Qaida is trying to seize
 upon al-Awlaki's recruiting prowess by featuring him in its videos.

    In the months before the Fort Hood shooting, which killed 13 people, al-Awlaki exchanged
 s-malls with the alleged attacker, U.S. Maj. Nidal Malik Hasan. Hasan initiated the contacts,
 drawn by al-Awlaki's Internet sermons, and approached him for religious advice.

     Yemen's government says al-Awlaki is also suspected of contacts with Umar Farouk
 Abdulmutallab, who traveled to Yemen late last year, and U.S. investigators say Abdulmutallab
 told them he received training and his bomb from Yemen's al-Qaida offshoot.

     InSunday's video, al-Awlaki praised both men and referred to them as his "students."

   Speaking of Hasan, the cleric said, "What he did was heroic and great. ... I ask every
 Muslim serving in the U.S. Army to follow suit."

      Because of what U.S. officials view as al-Awlaki's growing role with al-Qaida, the Obama
 administration placed him on the CIA's list of targets for assassination - despite his American
 citizenship.

     White House spokesman Robert Gibbs said Sunday that the U.S. is "actively trying to find"
 al-Awlaki.

    "The president will continue to take action directly at terrorists like Awlaki and keep our
 country safe from their murderous thugs," Gibbs said on CBS's "Face the Nation."

     Ali Mohammed ai-Ansi, Yemen's national security chief and head of the president's office,
 said in remarks published Sunday in Yemen's ruling-party newspaper that the country's security
 forces will continue to pursue al-Awlaki until he turns himself in or he is arrested.

   Yemen has indicated that if its security forces capture al-Awlaki, it wants to try the cleric on
 Yemeni soil.

    AI-Awlaki was born in 1971 in New Mexico. His father, Nasser al-Awlaki, was in the United
 States studying agriculture at the time and later returned with his family to Yemen to serve as
 agriculture minister. The father remains a prominent figure in Yemen, teaching at San'a
 University in the capital.

    The younger al-Awlaki returned to the United States in 1991 to study civil engineering at
 Colorado State University, then education at San Diego State University, followed by doctoral
 work at George Washington University in Washington, D.C.

     He was also a preacher at mosques in California and Virginia before returning to Yemen in
 2004.

     "We have had more freedom in America than in any Muslim country," he said in Sunday's

huffingtonpost.com/.../anwar-al-awlaki-...                                                            2/3
8/27/2010        Case 1:10-cv-01469-JDB
                                     Anwar AIDocument    3-2Cleric,
                                              Awlaki, Yemeni     Filed 08/30/10
                                                                    Advoc...      Page 124 of 153
 video. "But when America started to feel the danger of Islam's message, it tightened limits on
 freedom, and after 9/11 it was impossible to live in America as a Muslim."

    AI-Awlaki is believed to be hiding in Yemen's Shabwa province, the rugged region of
 towering mountains that is home to his large tribe. He said he was moving from place to place
 under the protection of his tribe.

    "As for the Americans, I will never surrender to them," al-Awlaki said. "If the Americans want
 me, let them come look for me. God is the protector."




    Join HuffPost Social News and connect with your friends on
 Twitter




huffi ngtonpost.com/.../anwar-al-awlaki-...                                                          3/3
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 125 of 153




                  Exhibit W
8/27/2010        Case 1:10-cv-01469-JDB
                                     SABA:: Document
                                            Yemen News 3-2
                                                       Agency Filed
                                                              - Print 08/30/10
                                                                      art ...    Page 126 of 153




            E1a....
       SABA- Yemen news agency

       Print date: 27-08-2010
       Article link: http://www.sabanews.net/ar/news213826.htm


             Local

        AI-Qirbi: Yemen will not extradite al-Awlaki to U.S.
            [10/May/2010]

        SANA'A, May 10 (Saba) - Foreign Minister Abu Bakr al-Qirbi has said that Yemen
        would not hand Anwar al-Awlaki to the U.S.

        The man the U.S. wants to be extradited will stand trial in Yemen under the
        national law, the minister said in an interview with the Kuwaiti AI-Dar Newspaper.

            We have clearly said that because of his recent terrorist activity, al-Awlaki is now
            wanted by the Yemeni government; hence, he must be tried once he is captured
            and convicted in his homeland but never by other governments, he added.

            Yemen's position over handing the man to the U.S. is clear and firm because we
            refuse to hand our people to other countries, he affirmed.

            The minister also denied there was a Syrian initiative to reconcile the Yemeni
            parties.

            What Syrians did in this regard was offering suggestions to start dialogue between
            the ruling party and the opposition, he said.

            Moreover, al-Qirbi highlighted the condition of the secessionist movement in the
            south saying the movement receives financial support from separatists who gained
            wealth after the 1994 separation war.

            There are also Yemenis swerving and spreading the culture of hatred among the
            Yemeni people and using the case of the south at the expense of their country's
            interest, he said.

            But we assure that the government is able to address all issues in the best
            interest of the Yemeni people and bring all outlaws and criminals to justice, he
            concluded.

            The U.S. accuses al-Awlaki, who is currently fugitive, of contacting the U.S. officer
            who killed 13 people, including 12 soldiers, and injured 30 others in a shootout at
            a Texas army base in late last year.

            FR



www.sabanews.net/en/print213826.htm                                                                 1/1
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 127 of 153




                   Exhibit X
8/27/2010            Case 1:10-cv-01469-JDB    Document
                                        Yemen Seeks        3-2of Cleric
                                                    Surrender      Filed   08/30/10
                                                                        Linke...                                                 Page 128 of 153

        World           u.s.         New York         Business           Markets             Tech    Personal Rnance

                        Life & Culture            Opinion       Careers            Real Estate       Small Business




         Dow Jones Reprints: This copy Is for your personal, non-commercial use only, To order presentation-ready copies for distribution to your
         colleagues, clients or customers, use the Order Reprints tool at the bottom of any article or visit www.dJreprlnts.com
            See a sample reprint in PDF format.        Order a reprint of this article now


     THE WALL srREETJOURNlL,
     W8J.oorn


     MIDDLE EAST NEWS            I    JANUARY 15, 2010

     Yemen in Talks for Surrender of Cleric
     Government Negotiates With Tribe Sheltering U.S.-Born Imam; Official Threatens More Military
     Efforts to Catch Suspect
     ByMARGARET COKER And CHARLES LEVINSON

     SAN'A,Yemen-The Yemeni government is negotiating terms for the surrender of Anwar al Awlaki,
     the U.S.-born cleric linked to the alleged Christmas Day bomber, according to Yemen's head of
     intelligence.

     Ali Mohamed Al Anisi, the director of Yemen's National Security Agency and a senior presidential
     adviser, said talks were underway with members of Mr. Awlaki's tribe in an effort to convince the
     cleric to turn himself in.

                                                                              Mr. Anisi said Mr. Awlaki was in hiding in Yemen's
                                                                              remote Shabwa province, under the protection of
                                                                              relatives, whose tribe controls the region.

                                                                              He said Yemeni forces were prepared to bring him
                                                                              in forcibly if negotiations fail. "We are ready to
                                                                              launch more operations to hunt him down," he said.

                                                                              Yemen is under international pressure to show
                                                                              progress in its battle against al Qaeda in the Arabian
                                                                              Peninsula, the Yemen-based affiliate of the global
                                                                              terror network. The affiliate claimed responsibility
                                                                              for the thwarted bombing of a Detroit-bound
                                                                              Northwest Airlines flight on Dec. 25. The group
                                                                              also said it was behind an assassination attempt in
                                                                              August against a leading member of the Saudi royal
                                                                              family. Local al Qaeda elements were also blamed
                                                                              for an attack on the U.S. Embassy in San'a in 2008.

                                                                              Mr. Awlaki, 38years old, emerged as a focus of the
                                                                              probe into the alleged Christmas Day bombing plot,
                                                                              according to Yemeni and U.S. officials, after
                                                              Landov
       Anwar al Aw laki, show n on Sept. 21, 2001, at his            "        reportedly telling a U.S. official he had blessed the
                                                                              operation.
       Falls Church, v«. rrosque, returnedto Yemen in 2004.


...wsj.com/...fNA_WSJ_PUB:SB1000142...                                                                                                              1/4
8/27/2010      Case 1:10-cv-01469-JDB    Document
                                   Yemen Seeks        3-2of Cleric
                                               Surrender      Filed   08/30/10
                                                                   Linke...                  Page 129 of 153
     t M J _ m_ _   '~_N;'wd&m"_t_ _"Wd%m_#""i1l!m%'£#'AW__
                                                      Years ago, he was the imam at a Virginia mosque
      More on Yemen                                   attended by u.s. Army Maj. Nidal Hasan, the
       WSJ.com/Mideast: News, video, graphics
                                                      suspect in the Fort Hood, Texas, shooting spree in
                                                      November, and said in interview in the fall that he
                                                      counseled Maj. Hasan before the attack.
     Investigators say he also had incidental contact with two ofthe 9/11 hijackers.

     There is no indication Mr. Awlaki played a direct role in any ofthe attacks, and he has never been
     indicted in the U.S.

     Yemeni and U.S. officials say Mr. Awlaki has now become a key inspirational figure for the al Qaeda
     branch in Yemen.

     "Anwar Awlaki is a member of the al Qaeda leadership in Yemen," said a U.S. security official. "We
     believe that he should be captured, tried and convicted."

     Attempts to reach Awlaki family members to comment weren't successful. People close to the New
     Mexico-born preacher deny he is a member of al Qaeda, saying he disapproves of attacks on
     civilians.

     Yemen's deputy prime minister has said Mr. Awlaki "likely" met with Umar Farouk Abdulmutallab,
     the Nigerian charged in the attempted bombing ofthe Dec. 25 flight, in Yemen last fall.

     Mr. Awlaki has been on a Yemeni list of terror suspects for the past three years and has been under
     surveillance since that time, but didn't become "a big figure" in al Qaeda until this fall, when his
     name came up in relation to the Fort Hood case, Mr. Anisi said.

     "That made him jump up the ranks and raised his influence here," Mr. Anisi said.

     Mr. Anisi said Mr. Awlaki survived a Dec. 24 airstrike aimed at a group of suspected al Qaeda
     leaders meeting in Shabwa province.

     Yemeni officials and those who have heard Mr. Awlaki preach describe him as a roving preacher,
     traveling village-to-village through Yemen's tribal-controlled hinterland, spearheading the terror
     group's efforts to recruit poor Yemeni youth to take up anti-Western jihad.

      Last year, about two dozen young men gathered under a tent in the rugged terrain of Mareb
      province to hear Mr. Awlald speak, according to a person who was present.

      Using a laptop computer and a projector screen, Mr. Awlaki showed the seated youth a series of
      DVDsabout civilians dying in Iraq, this person said. Many in the crowd, who had never seen a
      computer or a movie before, were visibly enraged.

     Later, over a lunch provided by the cleric, Mr. Awlaki spoke ofthe need for Muslims to defend their
     brethren against the U.S. and other unjust forces, this person said.

      Mr. Awlaki had returned to Yemen in 2004 after spending nearly 14 years in the U.S. He served as
      an imam first in San Diego and later at the Dar al-Hijrah Islamic Center in Fairfax, Va. In the U.S., he
      was repeatedly questioned in connection with terror investigations, but never arrested or charged.

      Back in San'a, Mr. Awlaki began preaching regularly at a mosque in the Sunayna slums on the city's
      western periphery. He wrote a series of editorials in the English language Yemen Observer
      newspaper, which is considered pro government. He lectured at the city's Al Iman Univ ersity, whose
      founder, Abdel Majeed al-Zindani, was named in 2004 by the United Nations Security Council and
      the U.S. Department ofthe Treasury as an al Qaeda affiliate.

      A businessman in San'a said he met the cleric two years ago, while Mr. Awlaki was hunting for real
...wsj.com/...fNA_WSJ_PUB:SB1000142...                                                                           2/4
8/27/2010        Case 1:10-cv-01469-JDB     Document
                                     Yemen Seeks        3-2of Cleric
                                                 Surrender      Filed   08/30/10
                                                                     Linke...                                    Page 130 of 153
     estate in the capitaL The businessman said he was immediately struck by the charisma of the cleric.
     "It was like talking to [Bill] Clinton," he said. "You felt like he understood everything about you."

     Mr. Awlaki was arrested by the Yemeni authorities in mid-2006 and served 18 months in prison.
     Conflicting reasons have been given for the arrest.

     After his release in December 2007, Mr. Awlaki left San'a and relocated to the rugged mountains
     that connect the southernmost province of Abyan to the province of Shabwa. The central
     government has little presence there.

     The area is populated by Mr. Awlaki's native Awalek tribe, whose tribal anthem proclaims, "We are
     the sparks of Hell; whomever interferes with us will be burned."

     Write to Margaret Coker at margaret.coker@wsj.com and Charles Levinson at
     charles.levinson@wsj.com



                                     Copyright 2009 Dow Jones & Company, Inc. All Rights Reserved
      This copy is for your personai, non-cornrrercial use only. Distribution and use of this material are governed by our Subscriber
     Agreen-ent and by copyright law. For non-personal use or to order rrultlple copies, please contact Dow Jones Reprints at 1-800-
                                                             843-0008 or visit
                                                           www.djreprlnts.com




...wsj.corn/..,fNA_WSJ_PUB:SB1000142...                                                                                                 3/4
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 131 of 153




                   Exhibit Y
8/27/2010       Case 1:10-cv-01469-JDB                Document   3-2 Filed 08/30/10
                                                          Reuters.com                               Page 132 of 153


                  "J'irr-'
                  Ji .2
                   ......,../   .   ",_-1




   » Print

   This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to
   colleagues, clients or customers. use the Reprints tool at the top of any article or visit: www.reutersreprints.com.



   Yemen says seeks cleric, yet to get U.S.
   intelligence
   Sun, Apr 11 2010

   DUBAI (Reuters) - Yemen said on Sunday it is trying to detain a Muslim cleric wanted dead or alive byWashington, but
   has yet to receive intelligence from the United States on the U.S.-born militant's activities.
   U.S. officials said on Tuesday that the adm lnlstration of President Barack Obam a had authorized operations to capture
   or kill U.S.-born Anwar al-Awlaki -- a leading figure linked to at Qaeda's Yemen-based regional wing which claimed
   responsibility for a failed bombing of a U.S.-bound plane in Decem ber.
   "He (Awlaki) is wanted byYemeni justice for questioning, so that he can clear his name ... or face trial," Yemeni Foreign
   Minister Abubakr al-Qirbi told AI Jazeera television.
   Qirbi did not give details of any manhunt by Yem eni security forces to arrest Awalaki, but referred to an air raid on a
   sus pected al Qaeda gathering last Decem ber which the cleric reportedly had attended.
   Qirbi said Yemen had not received U.S. intelligence on Awlaki's contacts with a Nigerian suspect in the attem pted
   bombing of the transatlantic passenger plane and with a U.S. Army psychiatrist accused of shooting dead 13 people at
   a military base in Texas in November.
   "The detailed information ... and evidence gathered by U.S. agencies has not been given to Yemen," Qirbi said.
   Qirbi had been quoted by media reports as saying that Yemen saw Awlaki as a preacher and not a terrorist, but he told
   AI Jazeera thatthose remarks referred to the period just after Awlaki's return to Yemen when he was not suspected of
   wrongdoing by the United States.
   Born in New Mexico, Awlaki led prayers at U.S. mosques. He returned to Yemen in 2004 where he taught at a university
   before he was arrested and imprisoned in 2006 for suspected links to al Qaeda and involvement in attacks. Awlaki was
   released in Decem ber 2007 after he was said to have repented.
   Awlaki's tribe has denounced U.S. plans to target him, vowing it "will not stand by idly and watch."
   Heavily armed tribes in Yemen, the poorest Arab country, often try to protect their kin by seeking to gain their release or
   favorable treatment. At times, they have kidnapped foreign tourists to pressure the government.
   Western countries fear that al Qaeda's resurgent regional wing is exploiting instability in Yemen to launch attacks in the
   region and beyond.
   Yemen has carried out air strikes with U.S. assistance to target al Qaeda leaders, but there have been conflicting
   reports about whether Awlaki was present during any of those attacks.
   U.S. officials believe he remains in hiding in Yemen.
   (Reporting by Firouz Sedarat; Editing by Michael Roddy)


   © Thomson Reuters 2010. All rights reserved. Users may download and print extracts of content from this website for
   their own personal and non-commercial use only. Republication or redistribution ofThomson Reuters content, including
   by fram ing or sim ilar means, is express ly prohibited without the prior written consent ofThomson Reuters. Thomson
   Reuters and its logo are registered trademarks or trademarks of the Thomson Reuters group of companies around the
   world.
   Thomson Reuters journalists are subject to an Editorial Handbook which requires fair presentation and disclosure of
   relevant interests.
   This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to
   colleagues, clients or customers, use the Reprints tool at the top of any article or visit: www.reutersreprints.com .



http://www.reuters.com/assets/print?ai...                                                                                        1/1
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 133 of 153




                   Exhibit Z
8/27/2010        Case 1:10-cv-01469-JDB       Document 3-2 Filed 08/30/10
                                     http://arabnews,com/mlddleeast/artlcl.,.     Page 134 of 153




      American Al-Qaeda suspect to go on
      trial in Yemen
      By AHMED AL-HAJ I AP

      Published: Aug 24, 201023:20 Updated: Aug 24,201023:20

      SAN'A, Yemen: An American AI~Qaeda suspect will go on trial in Yemen next month over
      the killing of a Yemeni soldier and the wounding of another during a failed escape
      attempt, a security official said Tuesday.

      If convicted, Sharif Mobley of New Jersey could face the death penalty.

      The 26-year-old American of Somali descent was arrested on suspicion of having links to AI-Qaeda
      and attempted his escape in March while receiving treatment at a Yemeni hospital for a leg
      condition. Authorities say he fooled his hospital guards into unshackling him by asking to join them
      for prayers and then killed a guard who had laid down his weapon.

      The official spoke about his trial on condition of anonymity because he was not authorized to speak
      to the media.

      US officials say Mobley, who grew up in Buena, New Jersey, traveled to Yemen more than two years
      ago with the goal of joining a terror group and that the US government was aware of his potential
      extremist ties long before his arrest.

      While living in the United States, Mobley passed a criminal background check and worked as a
      laborer at several nuclear power plants, but there is no indication that his work had any connection
      to his alleged involvement with terror groups.

      Separately, a Yemeni counterterrorism official said Tuesday that authorities have since June
      deported 25 foreigners, including Americans, suspected of having links to AI-Qaeda.

      The official, who also spoke on condition of anonymity, said all 25 confessed to having made
      contact with American-Yemeni radical cleric Anwar AI-Awlaki and Omar Farouk Abdulmutallab, the
      Nigerian suspect in the failed attempt to blow up a Detroit-bound airliner on Christmas Day.

      The official did not say how many Americans were among those deported. The 25 included citizens
      of France, Britain and Asian nations, he said.

      A number of foreigners remain in detention because of suspected links to AI-Qaeda, said the
      official. He did not elaborate.

      In June, the US State Department said only three out of 12 Americans being held in Yemen have
      been detained on terror-related charges.

      Yemen's weak central government has struggled with a growing AI-Qaeda threat from militants who
      are increasing their operations in the impoverished and largely lawless country on the southern tip

arabnews.corn/, ./articlel12483,ece?se, ..                                                                   1/2
8/27/2010       Case 1:10-cv-01469-JDB       Document 3-2 Filed 08/30/10
                                    http://arabnews.com/middleeast/articl...     Page 135 of 153
      of the Arabian Peninsula.

      AI-Qaida's offshoot in Yemen amassed strength after key leaders escaped from a Yemeni jail in
      2006. In 2009, it was further bolstered by a merger with Saudi AI-Qaeda militants to form AI-Qaeda
      in the Arabian Peninsula.

      The US Embassy, which was attacked twice by AI-Qaeda in 2008, barred its personnel from
      nonessential travel outside Yemen's capital. Tuesday's decision was in response to "continuing
      threats from AI-Qaeda," an embassy statement said.

      © 2010Arab News




arabnews.corn/. ,fartlclel12483.ece?se...                                                                  2/2
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 136 of 153




                Exhibit AA
8/27/2010         Case 1:10-cv-01469-JDB     Document
                                      Anwar al-Awlaki      3-2
                                                      - From     Filed 08/30/10
                                                             Condemning T...                                       Page 137 of 153



 This copy is for your personal, noncommercial use only. You can order presentation-ready copies for
 distribution to your colleagues, clients or customers here or Lise the "Reprints" tool that appears next to any
 article. Visit www.nytreprints.com for samples and additional information. Order a reprint of this article now.



 May 8,2010



 Imam's Path Front Condemning Terror
 to Preaching Jihad
 By SCOTT SHANE and SOUAD MEKHENNET
 WASHINGTON - In the weeks after the Sept. 11 attacks, the eloquent 30-year-old imam of a
 mosque outside Washington became a go-to Muslim cleric for reporters scrambling to explain
 Islam. He condemned the mass murder, invited television crews to follow him around and
 patiently explained the rituals of his religion.

 "We came here to build, not to destroy," the cleric, Anwar al-Awlaki, said in a sermon. "We are
 the bridge between Americans and one billion Muslims worldwide."

 At first glance, it seemed plausible that this lanky, ambitious man, with the scholarly wire-rims
 and equal command of English and Arabic, could indeed be such a bridge. CD sets of his
 engaging lectures on the Prophet Muhammad were in thousands of Muslim homes. American-
 born, he had a sense of humor, loved deep-sea fishing, had dabbled in get-rich-quick
 investment schemes and dropped references to "Joe Sixpack" into his sermons. A few weeks
 before the attacks he had preached in the United States Capitol.

  Nine years later, from his hide-out in Yemen, Mr. Awlaki has declared war on the United
  States.

 "America as a whole has turned into a nation of evil," he said in a statement posted on extremist
 Web sites in March. Though he had spent 21 of his 39 years in the United States, he added, "I
 eventually came to the conclusion that jihad against America is binding upon myself, just as it is
 binding on every other able Muslim."

 His mix of scripture and vitriol has helped lure young Muslims into a dozen plots. He cheered on
 the Fort Hood gunman and had a role in prompting the attempted airliner bombing on Dec. 25,
 intelligence officials say. And last week, Faisal Shahzad, who is charged in the attempted
 bombing in Times Square, told investigators that Mr. Awlaki's prolific online lectures urging
 jihad as a religious duty helped inspire him to act.

  At a time of new concern about the attraction of Western Muslims to violent extremism, there

nytimes,com/2010/05/...j09awlaki.html...                                                                                             1/11
8/27/2010      Case 1:10-cv-01469-JDB     Document
                                   Anwar al-Awlakl      3-2
                                                   - From     Filed 08/30/10
                                                          Condemning T...      Page 138 of 153
 is no figure more central than Mr. Awlaki, who has harnessed the Internet for the goals of Al
 Qaeda. Counterterrorism officials are gravely concerned about his powerful appeal for many
 others who are following his path to radicalization.

 "He's a magnetic character," said Philip Mudd, a veteran of the C.I.A.'s Counterterrorism
 Center who just stepped down after nearly five years as a top F.B.I. intelligence adviser. "He's a
 powerful orator in a revolutionary movement."

 Convinced that he is a lethal threat, the United States government has responded in kind. This
 year Mr. Awlaki became the first American citizen on the C.I.A.'s list of terrorists approved as a
 target for killing, a designation that has only enhanced his status with admirers like Shahidur
 Rahman, 27, a British Muslim of Bangladeshi descent who studied with Mr. Awlaki in London in
  2003·

 Other clerics equivocated about whether terrorist violence could be reconciled with Islam, Mr.
 Rahman said, but even seven years ago Mr. Awlaki made clear that he had few such qualms.

 "He said suicide is not allowed in Islam," Mr. Rahman said in an interview, "but self-sacrifice is
 different."

  There are two conventional narratives of Mr. Awlaki's path to jihad. The first is his own: He was
  a nonviolent moderate until the United States attacked Muslims openly in Afghanistan and
  Iraq, covertly in Pakistan and Yemen, and even at home, by making targets of Muslims for
  raids and arrests. He merely followed the religious obligation to defend his faith, he said:

  "What am I accused of?" he asks in a recent video bearing the imprint of Al Qaeda in the
  Arabian Peninsula. "Of callingfor the truth? Of calling for jihad for the sake of Allah? Of calling
  to defend the causes of the Islamic nation?"

  A contrasting version of Mr. Awlaki's story, explored though never confirmed by the national
  Sept. 11 commission, maintains that he was a secret agent of Al Qaeda starting well before the
  attacks, when three of the hijackers turned up at his mosques. By this account, all that has
  changed since then is that Mr. Awlaki has stopped hiding his true views.

  The tale that emerges from visits to his mosques, and interviews with two dozen people who
  knew him, is more complex and elusive. A product both of Yemen's deeply conservative
  religious culture and freewheeling American ways, he hesitated to shake hands with women but
  patronized prostitutes. He was first enthralled with jihad as a teenager - but the cause he
  embraced, the defeat of Soviet troops in Afghanistan, was then America's cause too. After a
  summer visit to the land of the victorious mujahedeen, he brought back an Afghan hat and wore
  it proudly around the Colorado State campus in Fort Collins where he studied engineering.
nytimes.com/2010/05/...j09awlaki.html...                                                              2/11
8/27/2010
               Case 1:10-cv-01469-JDB     Document
                                   Anwar al-Awlaki      3-2
                                                   - From     Filed 08/30/10
                                                          Condemning T...      Page 139 of 153

 Later, Mr. Awlald seems to have tried out multiple personas: the representative of a tolerant
 Islam in a multicultural United States (starring in a WashingtonPost.com video explaining
 Ramadan); the fiery American activist talking about Muslims' constitutional rights (and citing
 both Malcolm X and H. Rap Brown); the conspiracy theorist who publicly doubted the Muslim
 role in the Sept. 11 attacks. (The F.B.I., he wrote a few days afterward, simply blamed
 passengers with Muslim names.)

 All along he remained a conservative, fundamentalist preacher who invariably started with a
 scriptural story from the seventh century and drew its personal or political lessons for today, a
 tradition called salafism, for the Salafs, or ancestors, the leaders of the earliest generations of
 Islam.

 Finally, after the Yemeni authorities, under American pressure, imprisoned him in 2006 and
 2007, Mr. Awlaki seems to have hardened into a fully committed ideologist of jihad, condemning
 non-Muslims and cheerleading for slaughter. His message has become indistinguishable from
 that of Osama bin Laden - except for his excellent English and his cultural familiarity with the
 United States and Britain. Those traits make him especially dangerous, counterterrorism
 officials fear, and he flaunts them.

 "Jihad," Mr. Awlaki said in a March statement, "is becoming as American as apple pie and as
 British as afternoon tea."

 'Skinny Teenager With Brains'

 Twenty years ago, long before the Sept. 11 attacks and the wars that followed, a shy freshman
 named Anwar turned up at the little mosque in a converted church a short walk from the
 Colorado State campus. His American accent was misleading: born in New Mexico in 1971, when
 his father was studying agriculture there, he had lived in the United States until the age of 7.

  But he had spent his adolescence in Yemen, where memorizing the Koran was a matter of
  course for an educated young man, and women were largely excluded from public life.

  His father, Nasser, was a prominent figure who would serve as agriculture minister and
  chancellor of two universities and who was close to President AliAbdullah Saleh, the country's
  authoritarian leader. Anwar was sent to Azal Modern School, among the country's most
  prestigious private schools.

  "I recall Anwar as a skinny teenager with brains," said Walid al-Saqaf, a neighbor in the 1980s
  in Sana, the Yemeni capital. For boys of their generation, Afghanistan and its fight to oust the
  godless Soviet Army was the greatest cause.
nytimes.com/201O/05/...j09awlaki,html...                                                               3/11
8/27/2010       Case 1:10-cv-01469-JDB     Document
                                    Anwar al-Awlakl      3-2
                                                    - From     Filed 08/30/10
                                                           Condemning T...      Page 140 of 153

 "There was constant talk of the heroes who were leaving Yemen to join the fight and become
 martyrs and go to paradise," recalled Mr. Saqaf, now a doctoral student in Sweden. In the
 Awlakis' neighborhood, families would gather to watch the latest videotapes of the mujahedeen,
 he said.

 But Nasser al-Awlaki had other ideas for his son, who studied civil engineering in Colorado in
 preparation for the kind of technocratic career his father had pursued. There was one odd note,
 given the family's relative wealth: just after arriving, Anwar applied for a SocialSecurity
 number and claimed falsely he had been born in Yemen, evidently to qualify for scholarship
 money reserved for foreign citizens.

 Yusuf Siddiqui, a fellow student who was active with Mr. Awlaki in the mosque and the Muslim
 Student Association, said there were regular reminders of his Yemeni upbringing.

 "If you made some pop culture reference, he might not recognize it," Mr. Siddiqui said. Once,
 Anwar astonished his Americanized friends by climbing a nearby mountain barefoot. "He just
 said, 'That's how we do it in Yemen,'" Mr. Siddiqui recalled.

 Accustomed to Yemeni mores, he was not comfortable interacting with women. Once, when a
 female American student stopped by the Muslim Student Association to ask for help with math
 homework, "He said to me in a low tone of voice, 'Why don't you do it?'" Mr. Siddiqui said.

 Still, Mr. Awlaki was neither among the most conservative Muslim students nor among the
 libertines who tossed aside religious restrictions on drinking and sex. He ran successfully for
 president of the Muslim Student Association against a Saudi student who was far stricter.

  "I remember Anwar saying, 'He would want your mom to cover her face. I'm not like that,'"
  Mr. Siddiqui said.

 His vacation trip to Afghanistan, around the time the Soviet- backed Communist government
 fell from power, appears to have brought a new interest in the nexus of politics and religion. He
 wore an Eritrean 'L-shirt and the Afghan hat and quoted Abdullah Azzam, a prominent
 Palestinian scholar who provided theological justification for the Afghan jihad and was later
 known as a mentor to Osama bin Laden.

  Meanwhile, at the Islamic Center of Fort Collins, the little mosque where volunteers took turns
  giving the Friday sermon, Mr. Awlaki discovered a knack for preaching. If he could boast of no
  deep scholarship, he knew the Koran and the sayings of the prophet, spoke fluent English and
  had a light touch.

  "He was very knowledgeable," said Mumtaz Hussain, 71, a Pakistani immigrant active in the
nytimes.com/2010/05/...j09awlaki.html...                                                           4/11
8/27/2010       Case 1:10-cv-01469-JDB     Document
                                    Anwar al-Awlakl      3-2
                                                    - From     Filed 08/30/10
                                                           Condemning T...      Page 141 of 153
 mosque for two decades. "He was an excellent person - very nice, dedicated to religion."

 He expressed no anti-American sentiments, said Mr. Hussain, whose son served in the National
 Guard. "This is our motherland now. People would not tolerate sermons of that kind," he said.

 Years later, on his blog, Mr. Awlaki would compare Thomas Gradgrind, Charles Dickens's
 notoriously utilitarian headmaster in "Hard Times," "to some Muslim parents who are
 programmed to think that only medicine or engineering are worthy professions for their
 children. "

 It sounds like a hint at his own experience, and some family acquaintances say there was
 tension between Anwar and his father over career choices. But in 1994, Mr. Awlaki married a
 cousin from Yemen - whom by custom he did not introduce to his male friends - left behind
 engineering, and took a part-time job as imam at the Denver Islamic Society.

 'He Had a Beautiful Tongue'

 Like many an evangelical Christian pastor, Mr. Awlaki preached against vice and sin, lauded
 family values and parsed the scripture, winning fans and rising to successively larger mosques.

 In Denver, however, there was an episode that might have been an omen. A Saudi student at
 the University of Denver told an elder that he had decided, with Mr. Awlaki's encouragement,
 to travel to Chechnya to join the jihad against the Russians. The elder, a Palestinian American in
 his 60S, thought it ill advised and confronted Mr. Awlaki in a loud argument.

  "He had a beautiful tongue," recalled the elder, who asked not to be named. "But I told him:
  'Don't talk to my people about jihad.' He left two weeks later."

 At 25, he landed for five years at Arribat al-Islami, a stucco building with blue-green tile under
 a towering palm tree at the edge of San Diego. "He lit up when he was with the youth," said
 Jamal Ali, 40, an airport driver. He played soccer with younger children and took teenagers
 paintballing. "I saw him evolving in trying to understand where he fit into Islam," Mr. Ali said.

  Lincoln W. Higgie III, 71, an art dealer who lived across quiet Saranac Street from the mosque
  and the small adjoining house where Mr. Awlaki lived with his wife and two toddlers, recalls an
  engaging neighbor who apologized about parking problems that came with the flood of Friday
  worshipers.

  On Thursdays, Mr. Higgie remembered, Mr. Awlaki liked to go fishing for albacore, and he
  would often bring over a sample of the catch, deliciously prepared by his wife. The Awlakis' son
  and daughter would play on Mr. Higgie's floor, chasing his pet macaw, while the men compared

nytlmes.com/2010/05/..';09awlaki.html ...                                                          5/11
8/27/2010
                Case 1:10-cv-01469-JDB     Document 3-2 Filed 08/30/10
                                    Anwar al-Awlaki - From Condemning T...
                                                                             Page 142 of 153
 notes on their travels.

 "I remember he was very partial to the Blue Mosque in Istanbul," Mr. Higgie said. He detected
 no hostility to non-Muslims, no simmering resentment against America.

 In his private life, he was not always puritanical. Even as he preached about the sanctity of
 marriage amid the temptations of American life ("especially in Western societies, every haram
 is available," he said, using the Arabic word for the forbidden), he was picked up twice by the
 San Diego police for soliciting prostitutes; he was given probation.

 He displayed a very American entrepreneurial streak, exploring a possible business importing
 Yemeni honey and attending seminars in Las Vegas focused on investing in gold and minerals
 (and once losing $20,000 lent by relatives). Eventually a regular at the mosque proposed a
 venture that would prove hugely successful: recording Mr. Awlaki's lectures on CD.

 Starting in 2000, Mr. Awlaki would record a series of highly popular boxed sets - three,
 totaling 53 CDs, devoted to the "Life of Muhammad" alone; others covering the lesser prophets
 of Islam (including Moses and Jesus), the companions of the prophet and an account of the
 hereafter.

 The recordings appear free of obvious radicalism. (IslamicBookstore.com has added a notice to
 its Web listings of Mr. Awlaki's work, saying the recording "has been reviewed and does not
 contain any extremist statements.")

  Shakir Muhammad, a Fort Collins engineer who is active in the mosque there, said he became a
  fan of the CDsets, finding them enthralling even on repeated listening. Only once did a passage
  give him pause; Mr. Awlaki discussed suicidal violence and did not quite condemn it.

  "I thought, 'This guy may be for it,'" Mr. Muhammad said. "It bothered me."

  A Mysterious Goodbye

  One day in August 2001, Mr. Awlaki knocked at the door of Mr. Higgie, his neighbor, to say
  goodbye. He had moved the previous year to Virginia, becoming imam at the far bigger Dar al-
  Hijrah mosque, and he had returned to pick up a few things he had left behind.

  As Mr. Higgie tells it, he told the imam to stop by if he was ever in the area - and got a strange
  response. "He said, 'I don't think you'll be seeing me. I won't be coming back to San Diego again.
  Later on you'll find out why,'" Mr. Higgie said.

  The next month, when Al Qaeda attacked New York and Washington, Mr. Higgie remembered
  the exchange and was shaken, convinced that his friendly neighbor had some advance warning
nytimes,com/2010/05j. ../09awlaki.html...                                                          6/11
8/27/2010       Case 1:10-cv-01469-JDB     Document
                                    Anwar al-Awlaki      3-2
                                                    - From     Filed 08/30/10
                                                           Condemning T...      Page 143 of 153
 of the Sept. 11 attacks.

 In fact, the F.B.I. had first taken an interest in Mr. Awlaki in 1999, concerned about brushes
 with militants that to this day remain difficult to interpret. In 1998 and 1999, he was a vice
 president of a small Islamic charity that an F.B.I. agent later testified was "a front organization
 to funnel money to terrorists." He had been visited by Ziyad Khaleel, a Qaeda operative who
 purchased a battery for Osama bin Laden's satellite phone, as well as by an associate of Omar
 Abdel Rahman, the so-called Blind Sheik, who was serving a life sentence for plotting to blow up
 New York landmarks.

 Still more disturbing was Mr. Awlaki's links to two future Sept. 11 hijackers, Khalid al-Midhar
 and NawaqAlhazmi. They prayed at his San Diego mosque and were seen in long conferences
 with the cleric. Mr. Alhazmi would follow the imam to his new mosque in Virginia, and 9/11
 investigators would call Mr. Awlaki Mr. Alhazmi's "spiritual adviser."

 The F.B.I., whose agents interviewed Mr. Awlaki four times in the days after the Sept. 11
 attacks, concluded that his contacts with the hijackers and other radicals were random, the
 inevitable consequence of living in the small world of Islam in America. But records of the 9/11
 commission at the National Archives make clear that not all investigators agreed.

 One detective, whose name has been redacted, told the commission he believed Mr. Awlaki
 "was at the center of the 9/11 story." An F.B.I. agent, also unidentified, said that "if anyone had
 knowledge of the plot, it would have been" the cleric, since "someone had to be in the U.S. and
 keep the hijackers spiritually focused."

 The 9/11 commission staff members themselves had sharp arguments about him. "Do I think
 he played a role in helping the hijackers here, knowing they were up to something?" said one
 staff member, who would speak only on condition of anonymity. "Yes. Do I think he was sent
 here for that purpose? I have no evidence for it."

  The separate Congressional Joint Inquiry into the attacks suspected that Mr. Awlaki might
  have been part of a support network for the hijackers, said Eleanor Hill, its director. "There's no
  smoking gun. But we thought somebody ought to investigate him," Ms. Hill said.

 Alarmed about Mr. Awlaki's possible Sept. 11 connections, a State Department investigator,
 Raymond Fournier, found a circuitous way to charge Mr. Awlaki with passport fraud, based on
 his false claim after entering the United States in 1990 that he had been born in Yemen.

  A warrant was issued, but prosecutors in Colorado rescinded it, concluding that no criminal case
  could be made. Mr. Awlaki returned from a trip abroad in October 2002 - an act some
  colleagues say was evidence for his innocence of any 9/11 role - for what would prove to be his
nytimes.com/2010/05/.../09awlaki.html...                                                            7/11
8/27/2010      Case 1:10-cv-01469-JDB     Document
                                   Anwar al-Awlaki      3-2
                                                   - From     Filed 08/30/10
                                                          Condemning T...      Page 144 of 153
 last stay in the United States.

 During that trip, he visited Ali al-Timimi, a Virginia cleric later convicted for encouraging
 Muslims to join the fight against American troops in Afghanistan. Mr. Awlaki "attempted to get
 al-Timimi to discuss issues related to the recruitment of young Muslims," according to a motion
 filed in his criminal case. Mr. Timimi wondered if Mr. Awlaki might be trying to entrap him at
 the F.B.I.'s instigation, his friends say.

 But if Mr. Awlaki was cooperating with the government, it would have astonished his associates.
 As the American authorities rounded up Muslim men after 9/11, he had grown furious.

 After raids in March 2002 on Muslim institutions and community leaders in Virginia, Mr.
 Awlaki led a chorus of outrage, noting that some of the targets were widely viewed as
 moderates.

 "So this is not now a war on terrorism, we need to all be clear about this, this is a war on
 Muslims!" Mr. Awlaki declared, his voice shaking with anger. "Not only is it happening
 worldwide, but it's happening right here in America that is claiming to be fighting this war for
 the sake of freedom."

 Around that time, Johari Abdul- Malik, a former Howard University chaplain who was joining
 the staff at Mr. Awlaki's Virginia mosque, met him at a cafe. Mr. Awlaki said he planned to leave
 the United States.

  "I tried to convince him that the atmosphere was not as bad as he thought, that it was a positive
  time for outreach," Mr. Abdul- Malik recalled. But Mr. Awlaki was shaken by what he saw as an
  anti-Muslim backlash. And always fond of the limelight, Mr. Abdul-Malik said, Mr. Awlaki was
  looking for a bigger platform.

  "He said he might have a TV show for the gulf," Mr. Abdul-Malik said. "He might run for
  Parliament in Yemen. Or he might teach."

  'Never Trust a Kuffar'

  In a bare lecture room in London, where Mr. Awlaki moved after leaving the United States, he
  addressed his rapt, young followers, urging them never to believe a non- Muslim, or kuffar in
  Arabic.

  "The important lesson to learn here is never, ever trust a kuffar," he said, chopping the air, his
  lecture caught on video. "Do not trust them!"

  The unbelievers are "plotting to kill this religion," he declared. "They're plotting night and day."
nytimes.com/2010/0S/.../09awlaki.html...                                                            8/11
8/27/2010
                Case 1:10-cv-01469-JDB     Document 3-2 Filed 08/30/10
                                    Anwar al-Awlaki - From Condemning T...
                                                                             Page 145 of 153


 If he had the same knowing tone and touches of humor as in earlier sermons, his message was
 more conspiratorial. You can't believe CNN, the United Nations, or Amnesty International, he
 told his students, because they, too, were part of the war on Islam.

 "We need to wisen up and not be duped," Mr. Awlaki said. "Malcolm X said, 'We've been
 bamboozled.'"

 Many of his young British Muslim listeners, accustomed to preachers with heavy accents and an
 otherworldly focus, were entranced by his mix of the ancient and the contemporary, his
 seamless transition from the 29 battles of the Prophet Muhammad to the wars in Afghanistan
 and Iraq. "He was the main man who translated the jihad into English," said Abu Yahiya, 27, a
 Bangladeshi- British student of Mr. Awlaki's lectures in 2003.

 At a personal level, said Mr. Rahman, one of the students who studied with Mr. Awlaki in 2003,
 Mr. Awlaki made it clear that they could no longer pretend to be Muslims while going clubbing
 at night.

 "I could not be Mohammed in the morning and 'Mo' in the evening," he said.

  Mr. Awlaki's demand that they make a choice, devoting themselves to a harsh, fundamentalist
  strain of Islam, offered clarity, he said.

  "It would hit the audience automatically in their hearts and minds," Mr. Rahman said. When
  others claimed the popular cleric was brainwashing them, Mr. Rahman said, "When you got a lot
  of dirt in your brain, you need a washing. I believe he did brainwash me."

  Mr. Awlaki's fame grew, his CDs kept selling, and he traveled around Britain lecturing. But he
  had a hard time supporting himself, according to people who knew him, and in 2004 he had
  moved to Yemen to preach and study.

  In mid-2006, after he intervened in a tribal dispute, Mr. Awlaki was imprisoned for 18 months
  by the Yemeni authorities. By his later account on his blog, he was in solitary confinement
  nearly the entire time and used it to study the Koran, to read literature (he enjoyed Dickens but
  disliked Shakespeare) and eventually, when it was permitted, to study Islamic scholarship.

  Notably, he was enraptured by the works of Sayyid Qutb, an Egyptian whose time in the United
  States helped make him the father of the modern anti-Westernjihadist movement in Islam.

  "Because of the flowing style of Sayyid I would read between 100 and 150 pages a day," Mr.
  Awlaki wrote. "I would be so immersed with the author I would feel Sayyid was with me in my
  cell speaking to me directly."
nytimes,com/2010/0S/ ...j09awlaki,html...                                                          9/11
8/27/2010
                Case 1:10-cv-01469-JDB     Document 3-2 Filed 08/30/10
                                    Anwar al-Awlaki - From Condemning T...
                                                                             Page 146 of 153


 Two F.B.I. agents questioned him in the Yemeni prison, and Mr. Awlaki blamed the United
 States for his prolonged incarceration. He was right; John D. Negroponte, then the director of
 national intelligence, told Yemeni officials that the United States did not object to his detention,
 according to American and Yemeni sources.

 But by the end of 2007, American officials, some of whom were disturbed at the imprisonment
 without charges of a United States citizen, signaled that they no longer insisted on Mr . Awlaki's
 incarceration, and he was released.

 "He was different after that - harder," said a Yemeni man who knows Mr. Awlaki well.

 Mr. Awlaki started his own Web site, reaching a larger audience than ever. But fmding that he
 was constantly followed by Yemeni security in Sana, the capital, he moved to the house of an
 uncle in Shabwa, the rugged southern province and his tribe's traditional turf.

 Last October, friends said, he heard the distant whine of a drone aircraft circling overhead.
 Worried that he was endangering his relatives, he fled to the mountains. While his role is
 unclear in Al Qaeda in the Arabian Peninsula, the terrorist network's Yemeni affiliate, American
 officials believe he has become" operational," plotting, not just inspiring, terrorism against the
 West.

 From his hide-out, Mr. Awlaki sends out the occasional video message. But his reported
 influence on the Times Square bombing suspect, Mr. Shahzad, suggests that no matter what
 happens to him, his electronic legacy is secure. His message will endure in hundreds of audio
 and video clips that his followers have posted to the Web, a mix of religious stories and
 incitement, awaiting the curious and the troubled.

 Mr. Awlaki's transformation has left a trail of bewilderment, apprehension and fury among
 many people who knew and worshiped with him in the United States. Mr. Siddiqui, his college
 friend, said he was "surprised and disappointed."

  "He's turning his back not only on the country where he was born but on his Muslim brothers
  and sisters in this country," he said.

  Mr. Abdul-Malik said that his former fellow imam at the Virginia mosque "is a terrorist, in my
  book" and that Mr. Awlaki and his like-thinkers were trying to reduce Islam to a "medieval
  narrative. It's the Hatfields and the McCoys: you hit me, I hit you."

  Some Muslim families have asked whether they should keep Mr. Awlaki's scriptural CDs, Mr.
  Abdul- Malik said. He tells them it is their decision, but he has advised shops not to carry even

nytimes.com/2010/0S/...j09awlaki.html...                                                            10/11
8/27/2010       Case 1:10-cv-01469-JDB     Document
                                    Anwar al-Awlaki      3-2
                                                    - From     Filed 08/30/10
                                                           Condemning T...      Page 147 of 153
 the earlier, benign Awlaki material.

 "It becomes," he said, "a gateway for the unsuspecting."

 Scott Shane reportedfrom Washington, and Souad Mekhennetfrom London. Robert F. Worth
 contributed reporting from Sana, Yemen.




nytimes.com/2010/05/..';09awlaki.html ...                                                         11/11
Case 1:10-cv-01469-JDB   Document 3-2   Filed 08/30/10   Page 148 of 153




                Exhibit AB
8/27/2010       Case 1:10-cv-01469-JDB      Document
                                   Tribe in Yemen       3-2 Anwar
                                                  Protecting  Filed   08/30/10
                                                                  al-Aw...           Page 149 of 153




 Tribe in Yemen Protecting U.S. Cleric Anwar al-
 Awlaki
 AP Enterprise: U.S. cleric accused of al-Oalda ties is in hiding in Yemen, protected by tribe

 By LEE KEATH

 The Associated Press

 SAN'A, Yemen

 A radical American-Yemeni Islamic cleric suspected of ties to al-Qaida is in hiding in the remote mountains of
 Yemen under the protection ofhis tribe as he seeks to elude a manhunt, relatives and tribesmen say.

 Anwar al-Awlaki's runfrom authorities is the culmination of what U.S. and Yemeni officials say is the charismatic
 cleric's slide towardterrorists.

 Theysay al-Awlaki, who once preached in mosques in California and northern Virginia and posted fiery English-
 language Internet sermons urging Muslims to fight injihad, is now an active participant in al-Qaida's offshoot in
 his turbulent ancestral homeland.

 AI-Awlaki has been connected with the alleged perpetrators of two recent attacks on American soil: the Nov. 5
 shooting rampage at the Fort Hood army base in Texas and the attempt to bomb a U.S, passenger jet as it
 landed in Detroit on Christmas Day.

 His family and many members ofhis powerful Awalik tribe deny the 38-year-old is a member of'al-Qaida,
 depicting him as a victim of Yemeni and U.S. persecution. The Yemeni government is negotiating with tribal
 leaders, trying to convince them to hand al-Awlaki overto authorities, two prominent Awalik sheiks told The
 Associated Press.

 One sheik said authorities have offered guarantees they would not turn al-Awlaki overto the United States or let
 American officials question him ifhe surrenders.

 "Anwar is ina safe place, and the tribe is standing behind him because he has nothing to do with al-Qaida," one
 of the sheiks told AP by telephone from Shabwa province, the rugged region of towering mountains and deep,
 nearly inaccessible valleys where al-Awlaki is hiding.

 The two sheiks spoke on condition of anonymity because of the sensitivity of the talks. Yemeni Foreign Minister
 Abu Bakr al-Qirbi last week denied anygovernment negotiations with the Awalik tribe.

 Al-Awlaki's direct role in al-Qaida - ifany - remains unclear.

http://abcnews,go,com/print7id =96055...                                                                           1/5
8/27/2010       Case 1:10-cv-01469-JDB      Document
                                   Tribe In Yemen       3-2 Anwar
                                                  Protecting  Filed  08/30/10
                                                                  al-Aw...             Page 150 of 153
 He rose to prominence as one of the few English-speaking radical clerics able to eloquently explain to young
 Muslims in America and other Western countries the philosophy of violent jihad and martyrdom against the West
 and its allied Muslim and Arab governments.

 But U.S. intelligence officials believe he has nowbecome an active operative inal-Qaida and has performed
 activities beyond those of a cleric, senior defense officials in Washington said. They declined to say what those
 activities were and spoke on condition of anonymity to discuss intelligence matters.

 Yemeni security officials said they suspect he is involved in recruiting newmembers and in dealings between al-
 Qaida fighters and Yemeni tribes.

 In the months before the Fort Hood attack, al-Awlaki exchanged up to 20 e-mails with the alleged shooter, U.S.
 Maj. NidalMalik Hasan. Hasaninitiated the contacts, drawn by al-Awlaki's Internet sermons, and approached
 him for religious advice.

 Al-Awlaki has said he did not tell Hasanto carryout the shootings, in which 13 people were killed, but later
 praised Hasan as a ''hero'' on his Web site for killing American soldiers who would be heading for Afghanistan or
 Iraq to fight Muslims.

 Yemen's government says al-Awlaki also is suspected of contacts with Umar Farouk Abdulmutallab, the
 accused would-be Christmas plane bomber, who was in Yemen late last year.

 Yemeni Deputy Prime Minister Rashad al-Alimi said the cleric may have met in Shabwa with the 23-year-old
 Nigerian, along with other al-Qaida leaders, in the weeks before the failed bombing. U.S. officials say
 Abdulmutallab has told FBI investigators that al-Qaida members in Yemen provided him with the explosives and
 trained him in how to use them.

 The deputy prime minister said Al-Awlaki was also believed to be at a gathering of senior al-Qaida figures in the
 mountains ofShabwa on Dec. 24 - a day before Abdulmutallab tried to blowup the airliner.

 Also inattendance were the leader of'al-Qaida in Yemen, Naser al- Wahishi, and his Saudi deputy, Saeed al-
 Shihri, he said.

 Before dawn, Yemeni warplanes, using U.S. intelligence help, struck the meeting site - a collection of tents near
 a farm and water pump tucked inthe Rafad valley. However, al-Awlaki, al- Wahishi and al-Shihri are believed to
 have left the site hours earlier in two vehicles, al-Alimi said. The government says 30 other militants were killed.

 The meeting would be the most concrete tie between al-Awlaki and al-Qaida militants.

 Awalik tribal leaders insist al-Awlaki was never at such a meeting and say Yemeni authorities have raised the
 allegations only to please the United States in their increasing security cooperation aimed at uprooting al-Qaida's
 offshoot here.

 'The Yemenis knowthey have nothing on him. It's the Americans who want him in jail," one ofthe most
 prominent Awalik chiefs, Sheik Saleh Farid, told AP.

 Since the airstrike, al-Awlaki has been on the runinthe region. A prominent Awalik sheik, Awad binWazir, told
 AP that local residents have reported sighting drone aircraft overthe area, apparently involved in the hunt for al-
http://abcnews.go.com/print?id=96055...                                                                              2/5
8/27/2010       Case 1:10-cv-01469-JDB      Document
                                   Tribe In Yemen       3-2 Anwar
                                                  Protecting  Filed  08/30/10
                                                                  al-Aw...            Page 151 of 153
 Awlaki or other fugitive al-Qaida suspects. u.s. military officials have refused to comment on whether American
 surveillance drones are operating in Yemen.

 Shabwa's governor, Ali al-Ahmadi, said forces in the area were looking for al-Awlaki - though the military
 presence here remains thin. Al-Awlaki is moving with a group of al-Qaida elements from Shabwa, including Fahd
 al-Quso, accused by the U.S. ofa role in the 2000 USS Cole bombing offYemen's coast, al-Ahmadi told the
 pan-Arab newspaper Sharq al-Awsat.

 AI- Wahishi and al-Shihri are with another group of militants, believed to be around the nearby JebelKour
 mountain, he said.

 The region - dominated by the Awalik tribe - is one of the most daunting in Yemen: A long, imposing
 mountain plateau of limestone peaks that rise more than 3,000 feet between the sand dunes of the Rub al-Khali
 desert to the north and the plains of Yemen's Arabian Sea coast to the south.

 The thick belt of mountains is inhospitable, with only occasional hamlets in the creases of valleys and nomads
 who live in tents. Roads are few, and the military or security forces hardly ever enter the region.

 It is a world away from the American suburbs where al-Awlaki first made his name as a radical preacher.

 Al-Awlaki was born in 1971 in New Mexico. His father, Nasser al-Awlaki, was inthe United States studying
 agriculture at the time and later returned with his family to Yemen to serve as agriculture minister. The father
 remains a prominent figure in Yemen, teaching at San'aUniversity.

 The younger al-Awlaki returned to the United States in 1991 to study civil engineering at Colorado State
 University, then education at San Diego State University, followed by doctoral work at George Washington
 University in Washington, D.C.

 While in San Diego, he preached at a local mosque, where in 2000 he met two of the 9/11 h1jackers, Khalid al-
 Midhar and Nawafal-Hazmi. The U.S. government's 9/11 Commission report says the men "respected al-
 Awlaki as a religious figure and developed a close relationship with him." They were aboard the plane that
 crashed into the Pentagon.

 He later became a preacher at Dar AlHijrah Islamic Center in Falls Church, Va. Imam Johari Abdul-Malik,
 outreach director for the center, has said al-Awlaki never exhibited signs of radicalism in his time there.

 'He had an allure. He was charming," Abdul-Malik told reporters soon after the Fort Hood shooting. 'To go
 from that individual to the personthat is projecting these words from Yemen is a shock."

 ''1 don't think we read him wrong. I think something happened to him."

 Al-Awlaki's recorded sermons are still sold at stores catering to Muslims in Falls Church - though not the ones
 focused onjihad or politics. At one supermarket, a 22-CD set ofhis speeches gave long dissertations on
 religious issues, including descriptions ofthe afterlife, stories about the ProphetMuhammad and his companions,
 and dream interpretations.

 But sermons posted on the Internet since al-Awlaki returned to the Yemeni capital, San'a, in 2004 have a more
 political tone.
http://abcnews.go.com/print?ld=96055...                                                                             3/5
8/27/2010      Case 1:10-cv-01469-JDB
                                   Tribe in Document    3-2 Anwar
                                            Yemen Protecting  Filed  08/30/10
                                                                  al-Aw...               Page 152 of 153
 Yemeni authorities arrested him in 2006 with a group offive Yemenis suspected of kidnapping a Shiite teenager
 for ransom. AI-Awlaki was accused of being the group's spiritual leader and issuing a religious decree permitting
 themto kidnap foreigners and rich Yemenis. He was released without trial after a year in prison following the
 intercession ofhis tribe.

 In a long sermon first posted on YouTube inearly 2007 titled "Allah is preparing us for victory," al-Awlaki
 painted a history of the conflict between Islam and the West- and accused the United States of waging war
 against Muslims. He described the evolution ofjihad by Palestinian militants and suicide bombers as well as in
 Iraq, Pakistan and Iraq.

 ''Palestine is what gave to shahada (martyrdom) the importance that it has today. The concept of shahada and
 istishhad (seeking martyrdom in jihad) started in Palestine," he said.

 He dismissed Muslims who say 'the way forward for the Umma (Islamic world) is to distance themselves from
 terrorism" and make progress in business and technology.

 'The Rasoul (prophet Muhammad) says that it is false". and Allah will dishonor us ifwe do that. The Rasoul
 says there is no way out for you unless you go back to your deen (religion)," he said. "Going back to your deen
 means going back to jihad specifically. So this is the solution."

 Canadian Muslims arrested in 2006 for allegedly forming a training camp and plotting bombing attacks in
 Toronto listened to al-Awlaki's online calls for jihad, according to the case against them in court. An al-Awlaki
 sermon onjihad was also among the materials - including videos ofbeheadings - found on the computers of
 five men convicted in December of plotting attacks on the Fort Dix military base in New Jersey.

 In January 2009, al-Awlakiposted on his Web site a tract entitled "44 ways to defend jihad," urging Muslims
 around the world to support Islamic fighters by raising money or helping their families - and he said those who
 are able should jointhe battle.

 "Asking Allah to die as a shaheed (martyr) pleases Allah because itshows him thatyou are willing to give your
 life for him. Butyou need to be careful not to be merely paying lip service. A personwho truly asks for shahada
 (martyrdom) would respond to the call ofjihadwhenever he hears it and would eagerly searchfor death in the
 path of Allah," he said.

 After his release from prison in San'a, al-Awlaki moved to the Awalik tribal heartland in Shabwa, settling in his
 family home in Saeed, a tiny hamlet that is little more than a string of houses and fields high in the mountains, said
 Sheik Farid, the senior Awalik chief who is a cousin of Anwar al-Awlaki's father.

 There he lived quietly, preaching in the local mosque at times, Farid said.

 'He is very active as a preacher, including on the Internet," he said. ''But he has nothing to do with al-Qaida, I
 know him very well. He's like one of my own sons."

 Farid said authorities contacted him soon after the Fort Hood attack and asked him to persuade al-Awlaki to
 return to San'a, where the government could keep a closer eye on him.

 ''I called Anwar and told him, please do it, go to Santa or Aden. Buthe said, 'I'm not going to let the government
 tell me where to live,'" Farid said.
http://abcnew5.go.com/print7Id=96055...                                                                               4/5
8/27/2010      Case 1:10-cv-01469-JDB
                                   Tribe in Document    3-2 Anwar
                                            Yemen Protecting  Filed  08/30/10
                                                                  al-Aw.,              Page 153 of 153

 The sheik said al-Awlaki fled into the mountains soon afterward, fearing he would be arrested. Farid said he did
 not know ifal-Awlaki was traveling with al-Qaida militants. ''But anyone who is scared, who is forced to, will go
 with the devil ifhe has to," he said.

 Farid said that ifthe authorities promise not to tryto arrestAnwar, ' 1 can convince him to come live with me."

 Nasser al-Awlaki, al-Awlaki's father, told CNN lastweek that "our tribe is protecting him now," and insisted his
 son is not associated with al-Qaida. ' 1 am now afraid of whatthey will do to my son. He is not Osamabin
 Laden, they want to make something out ofhimthathe's not," he said.

 ''He's been wrongly accused, it's unbelievable. He lived his life in America, he's an all-American boy," he said.
 ''Now he's hiding in the mountains, he doesn't even have safe waterto drink."



 Associated Press writers Pauline Jelinek inWashington and Matthew BarakatinMcLean, Va., contributed to
 this report.

 Copyright 2010 The Associated Press. All rights reserved. This material may not be published, broadcast,
 rewritten, or redistributed.

 Copyright © 2010 ABC News Internet Ventures




http://abcnews.go.com/print?id=96055,,.                                                                              5/5
